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  STATE OF SOUTH CAROLINA                            IN THE COURT OF COMMON PLEAS

  COUNTY OF CHARLESTON                               FOR THE NINTH JUDICIAL CIRCUIT

  Elizabeth De’Anna Scannell,                                    Case No.:
                                    Plaintiff,
                                                                SUMMONS
  v.

  South Carolina Department of Social
  Services (SCDSS), Medical University of
  South Carolina, Cynthia Bradford,
  Mosetta Clark, Louchetia Simmons-
  Robinson, Jane Bell, Michael Leach,
  Donna Johnson, Michelle Irene Amaya,
  Kelly Finke, MUSC Administrator 1,
  MUSC Administrator 2, MUSC
  Administrator 3, and MUSC Public Safety
  Supervisor,

                                 Defendants.

 TO: DEFENDANT’S ABOVE-NAMED

        YOU ARE HEREBY SUMMONED and required to answer the Complaint in this

 matter, a copy of which is herewith served upon you, and to serve a copy of your Answer

 to the said Complaint on the subscribers at, Post Office Box 610, Camden, South

 Carolina 29021, within thirty (30) days after the service hereof, exclusive of the day of

 such service, and if you fail to answer the Complaint within the time aforesaid, judgment

 by default will be rendered against you for the relief demanded in the Complaint.

                                                 Respectfully Submitted,




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                                                Attorneys for Plaintiff
 Camden, South Carolina
 July 13, 2020




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  STATE OF SOUTH CAROLINA                             IN THE COURT OF COMMON PLEAS

  COUNTY OF CHARLESTON                                FOR THE NINTH JUDICIAL CIRCUIT

  Elizabeth De’Anna Scannell,                                     Case No.:
                                     Plaintiff,
                                                               COMPLAINT
  v.                                                        (JURY REQUESTED)

  South Carolina Department of Social
  Services (SCDSS), Medical University of
  South Carolina, Cynthia Bradford,
  Mosetta Clark, Louchetia Simmons-
  Robinson, Jane Bell, Michael Leach,
  Donna Johnson, Michelle Irene Amaya,
  Kelly Finke, MUSC Administrator 1,
  MUSC Administrator 2, MUSC
  Administrator 3, and MUSC Public Safety
  Supervisor,

                                 Defendants.


 The Plaintiff, complaining of the Defendants, would respectfully show the following:

                        I.      PARTIES AND JURISIDICTION

        1.      Plaintiff Elizabeth De’Anna Scannell is a citizen and resident of the

 County of Charleston, State of South Carolina. Plaintiff Scannell is the Biological Mother

 of A.D.S. a minor under the age of eighteen.


               South Carolina Department of Social Services Defendants

        2.      Defendant South Carolina Department of Social Services [SCDSS] is

 an agency of the State of South Carolina created by the General Assembly of the State of

 South Carolina. Defendant SCDSS is responsible for investigating cases of abuse and

 neglect of vulnerable adults or self-neglect of vulnerable adults and ensuring there is

 probable cause before taking a vulnerable adult into its custody. Defendant SCDSS is


                                                  3
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 also responsible for investigating cases of child abuse and neglect and ensuring there is

 probable cause before taking a child into its custody. Once probable cause for the custody

 of an abused or neglected child or vulnerable adult is no longer present, SCDSS has a

 duty to relinquish custody of that vulnerable adult or child.


        3.      Upon information and belief, Defendant Cynthia Bradford is a citizen

 and resident of the County of Charleston, State of South Carolina. During the times

 alleged herein, Defendant Cynthia Bradford was employed by SCDSS as a caseworker.

 Defendant Cynthia Bradford was responsible for the investigation and continued seizure

 of the minor child A.D.S. Cynthia Bradford is being sued in her individual capacity.


        4.      Upon information and belief, Defendant Mosetta Clark is a citizen and

 resident of the County of Charleston, State of South Carolina. During the times alleged

 herein, Defendant Mosetta Clark was employed by SCDSS as a caseworker supervisor

 and Defendant Cynthia Bradford directly reported to her. Defendant Mosetta Clark was

 responsible for the investigation and continued seizure of the minor child A.D.S. Mosetta

 Clark is being sued in her individual capacity.


        5.      Upon information and belief, Defendant Louchetia Simmons-Robinson

 is a citizen and resident of the County of Charleston, State of South Carolina. During the

 times alleged herein, Defendant Louchetia Simmons-Robinson was employed by SCDSS

 as a caseworker. Defendant Louchetia Simmons-Robinson was responsible for the case of

 the minor child A.D.S. Louchetia Simmons-Robinson is being sued in her individual

 capacity.




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        6.      Upon information and belief, Defendant Jane Bell is a citizen and resident

 of the County of Charleston, State of South Carolina. During the times alleged herein,

 Defendant Jane Bell was employed by SCDSS as a caseworker supervisor and Defendant

 Louchetia Simmons-Robinson directly reported to her. Defendant Jane Bell was

 responsible for the case of the minor child A.D.S. Jane Bell is being sued in her

 individual capacity.


        7.      Michael Leach is the State Director of the South Carolina Department of

 Social Services during the times of the matters complained of herein. Michael Leach was

 in charge of making sure that policies and procedures were carried out, were not abused,

 and at all times South Carolina citizens were afforded due process. He is being sued in

 his official capacity and at all times was acting under the color of state law.


                    Medical University of South Carolina Defendants

        8.      Defendant Medical University of South Carolina [MUSC] is a state

 agency located in the County of Charleston, State of South Carolina. S.C. Code Ann. §

 59-123-60(E). It operates numerous hospitals and medical facilities through the State of

 South Carolina, including the hospital where the Plaintiff gave birth to A.D.S.


        9.      Upon information and belief, Defendant Donna Johnson, M.D. is a

 citizen and resident of the County of Charleston, State of South Carolina. Defendant

 Donna Johnson, M.D. is a physician and Professor employed by the Medical University

 of South Carolina. Donna Johnson is being sued in her individual capacity.


        10.     Upon information and belief, Defendant Michelle Irene Amaya, M.D. is

 a citizen and resident of the County of Charleston, State of South Carolina. Defendant



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 Michelle Irene Amaya, M.D. is a physician and Associate Professor employed by the

 Medical University of South Carolina. Michelle Irene Amaya is being sued in her

 individual capacity.


        11.     Upon information and belief, Defendant Kelly Finke, MSW, is a citizen

 and resident of the County of Charleston, State of South Carolina. Defendant Kelly

 Finke, MSW, is a Licensed Master Social Worker employed by the Medical University of

 South Carolina. Kelly Finke is being sued in her individual capacity.


        12.     Upon information and belief, MUSC Administrator 1, MUSC

 Administrator 2, and MUSC Administrator 3 are citizens and residents of the County

 of Charleston, State of South Carolina and are employees of the Medical University of

 South Carolina. Their names are unknown. It is believed that these Defendants ordered

 Dr. Johnson to place Elizabeth Scannell into emergency protective custody (EPC)

 without cause. They also ordered, allowed, and approved of Michelle Ireme Amaya’s and

 Kelly Finke’s actions in taking A.P.S. into emergency protective custody without cause.

 MUSC Administrator 1, MUSC Administrator 2, and MUSC Administrator 3 are being

 sued in their individual capacities.


        13.     Upon information and belief, MUSC Public Safety Supervisor is a

 citizen and resident of the County of Charleston, State of South Carolina and an

 employee of the Medical University of South Carolina. MUSC Public Safety Supervisor

 is being sued in her individual capacity. Her name is unknown.


                                        Jurisdiction




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        14.     That this Court has jurisdiction over the subject matter of this action under

 Article V Section 11 of the Constitution of South Carolina; Sections 14-1-80, 15-78-100,

 and 33-56-180 of the Code of Laws of South Carolina 1976, as amended; and the

 Common Law of South Carolina. This Court has subject matter jurisdiction pursuant to

 S.C. Const. art. V, § 11, S.C. Code Ann. § 15-78-100(b), and 42 U.S.C. § 1983.


        15.     That because the acts and omissions alleged herein occurred in Charleston

 County, South Carolina venue is proper in this Court under Sections 15-78-100 and 15-7-

 30 of the Code of Laws of South Carolina 1976, as amended.


                            II.      Chronology of Events.



    A. Preamble.


        16.     At no time during the facts asserted below did any physician determine

 Plaintiff Elizabeth De’Anna Scannell was actively causing harm to herself or to her

 unborn child, nor did Elizabeth or her child fit the requirements for emergency protection

 by the state. All violations of Elizabeth’s individual liberties, rights, and constitutional

 rights by the Defendants were a result of the practice of defensive medicine and pure

 speculation by MUSC’s administrators, physicians, and legal counsel and complete

 disregard of the law, due process, and medical ethics.


    B. Mental health history.


        17.     Plaintiff Elizabeth De’Anna Scannell was involuntarily committed to the

 Medical University of South Carolina (MUSC) Institute of Psychiatry (IOP) on January

 4, 2008 for the following reasons:


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                 Patient is a 39-year-old white female with a remote history of depression
                 NOS, and personality disorder NOS, who was brought in by police after
                 found tearful on the Ravenel Bridge with questionable suicidal ideation.
                 She had an argument with her parents prior to that and stormed out of the
                 house.1

         18.     Christopher C. Pelic, M.D. noted in Elizabeth’s discharge summary,

 “Significant for urine drug screen that was negative. Blood alcohol level was negative.”2

 Under Mental Status Examination, Dr. Pelic wrote:

                 She was alert and oriented x3. She was well-groomed and appropriate in
                 appearance with cooperative and good eye contact. Speech was normal
                 rate, volume, and prosody with normal motor function. Mood was angry.
                 Affect was congruent with mood with full range of affect. Concentration
                 and memory were intact. Insight and judgment were mildly impaired.3

         19.     In describing Elizabeth’s treatment, Dr. Pelic wrote:

                 Ms. Scannell was admitted to 3 North and placed on appropriate
                 precautions after alleged suicidal ideation. She adamantly denied that she
                 was suicidal, stated that she just wanted to get some air and take a walk on
                 the bridge which is a common place she likes to go to when she is upset.
                 Father confirmed that she stormed out of the house after a heated
                 argument. She has a prior IOP admission which she did not initially report.
                 She denied significant depressive symptoms but instead felt “stressed”
                 because of her relationship with her mother and having to move.

                 The patient remained on topamax which she took qod for migraine
                 headaches. The patient denied SI, but did report some new stressors such
                 as moving to a new house, arguments with parents. She agreed that she
                 was crying on the bridge but was misunderstood and did not need to be
                 shackled and detained. Through the weekend, she continued to deny SI
                 and only complained of poor sleep. Antidepressant medication was offered
                 but patient refused. She did, however, agree that she could use the help of
                 a therapist to get through current stressors and work on her coping
                 mechanisms. On discharge, she continues to deny SI, was still irritable
                 about being here. It seems that she has chronic dysthymia which is
                 possibly secondary to personality pathology. Court was petitioned for
                 commitment to be dropped and the judge agreed, so on discharge, patient
                 was in stable condition, denied suicidal ideation. Of note, her father
                 initially voiced some concerns about her need to stay in the hospital but

 1
   FCA Bates No. 001961.
 2
   FCA Bates No. 001961.
 3
   FCA Bates No. 001961.


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                   later changed his mind, citing no concern. In fact, he demanded her release
                   and limited benefit to further stay. He did outline his plans to help ensure
                   close follow up and monitor for a decline in her condition.4 (Emphasis
                   added)

           20.     Despite the limited time Dr. Pelic spent with Elizabeth and the limited

 conversations Elizabeth had with MUSC IOP mental health practitioners and staff, Dr.

 Pelic diagnosed Elizabeth with Depression, not otherwise specified, and personality

 disorder with cluster B traits. Given the amount of time Dr. Pelic spent with Elizabeth,

 the diagnosis is suspect, at best.5

           21.     Despite the doubtfulness of this diagnosis, MUSC physicians would

 eleven years later rely upon the dubious diagnosis to justify stripping Elizabeth of her

 human rights, seizing Elizabeth and placing her in protective custody without cause, and

 seizing her newborn daughter without cause.



       C. Antepartum history at MUSC.


           22.     Plaintiff Elizabeth De’Anna Scannell was 49 and 50 years of age during

 the relevant times complained of in this matter.

           23.     Elizabeth taught elementary school from 1998 through 2001. She then

 opened a small business providing education services for children with learning

 difficulties which she ran for about seven years. On or about 2008 Elizabeth sold the

 business, Education Success Learning Center, LLC and bought investment properties.

           24.     Elizabeth moved to Mexico in 2012. Although Elizabeth was unmarried,

 she desired to be a mother.


 4
     FCA Bates No. 001961-001962.
 5
     FCA Bates No. 001962.


                                                 9
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         25.      Because of her advanced age, Elizabeth arranged for artificial

  insemination through in-vitro fertilization [IVF] at a clinic in Mexico where health care

  costs are lower. Even though the costs were lower, they were substantial and required

  Elizabeth to spend a great deal of time in Mexico receiving treatment before and after the

  IVF procedure.

         26.      Elizabeth saved her money and began the procedure in 2014. The

  procedure failed.

         27.      Elizabeth returned to the United States in 2016. She saved her money for

  another IVF procedure at the clinic in Mexico in October of 2017. During the time

  leading up to the procedure Elizabeth worked out, lifted weights, and maintained a

  healthy diet in order to facilitate the IVF procedure. Elizabeth followed a course of

  medication that included shots several times a week and towards the end, daily. The side

  effects of the medication include physical pain and erratic emotions.

         28.      On October 17, 2017 the embryo transfer was successful and Elizabeth

  was pregnant.

         29.      Elizabeth returned to Charleston and sought care at a child birth center in

  Charleston.

         30.      On December 12, 2017 Elizabeth was in Indiana when she experienced

  spotting, or bleeding. She sought treatment from R. Eric Seward, M.D., a physician at

  Woodlawn Medical Professionals in Rochester, Indiana. Dr. Seward referred Elizabeth

  for lab work and an ultrasound at Bon Secours St. Francis Hospital in Charleston, South

  Carolina.




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           31.      On December 19, 2017 Elizabeth was diagnosed with placenta previa6 at

  St. Francis and she was referred to the Medical University of South Carolina for

  assessment and monitoring. Upon receiving this diagnosis, Elizabeth immediately began

  to educate herself on the subject. She read journal articles and more colloquial blogs

  written by nurses and experienced mothers. She also learned that physicians practice

  defensive medicine when faced with placenta previa and often seek to deliver the baby

  early when there is no real danger to the baby or the mother. Elizabeth also learned that it

  was best for the baby’s development to wait until 40 weeks unless the placenta previa

  created conditions that endangered the life of the baby or the mother. Elizabeth continued

  to research and educate herself on the conditions and diagnoses she received through the

  duration of her pregnancy.

           32.      Because of this diagnosis, her IVF pregnancy, and advanced age, she was

  extra-cautious about any symptoms. On December 24, 2017 Elizabeth went to the Trident

  Hospital with concerns of spotting (minor bleeding).7 The bleeding continued and she

  sought medical care, speaking with Melanie Blohm, M.D. on December 27, 2017.8 Early

  on, there were concerns of a miscarriage.9

           33.      Elizabeth presented for her initial obstetrician visit on December 28, 2017.

  The notes state that Elizabeth was “seen a few days ago at an [outside hospital] with

  concern for a 2 cm subchorionic hematoma and reports several days of light bleeding.




  6
    Placenta Previa is a condition where the placenta lies low in the uterus and partially or completely covers
  the cervix. The placenta may separate from the uterine wall as the cervix begins to dilate (open) during
  labor. American Pregnancy Association, https://americanpregnancy.org/pregnancy-complications/placenta-
  previa/, last accessed January 9, 2020 at 1433.
  7
    FCA Bates No. 001976.
  8
    FCA Bates No. 001976.
  9
    FCA Bates No. 001976.


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  Finally, she has frequent nausea, no vomiting. She is adamant about avoiding

  medication.” 10

          34.       Krista Teresa Wagoner, M.D. performed a dating summary December 28,

  2017 based upon the embryo transfer conducted on October 17, 2017.11 The working

  expected delivery date was set by Dr. Wagoner at July 6, 2018.12 Dr. Wagoner also noted

  that Elizabeth’s pregnancy was high risk.13 During this visit, Elizabeth communicated her

  strong desire to have a natural childbirth.

          35.       Elizabeth returned to the clinic on January 10, 2018 to speak with Dr.

  Wagoner about her pregnancy.14 Elizabeth was very engaged with her care.

          36.       On January 24, 2018 Elizabeth attended another appointment with Dr.

  Wagoner.15 Elizabeth, “reports that she desires a delivery with minimal intervention and

  as “natural” as possible.” Dr. Wagoner reported that Elizabeth had “pages” of questions

  prepared for the visit. Dr. Wagoner referred Elizabeth to “Centering in Pregnancy,”

  which is “designed for low-risk pregnancies and is available to any woman with no

  anticipated pregnancy problems.”16

          37.       Elizabeth saw Allison Sizemore Nissen, CNM, MSN on February 1, 2018.

  Plaintiff was concerned that she would not have a choice of nurse-midwife at the time of

  labour and delivery. Elizabeth also discussed prenatal testing, nutrition and diet during




  10
     FCA Bates No. 001981.
  11
     FCA Bates No. 001016.
  12
     FCA Bates No. 001016.
  13
     FCA Bates No. 001013-001014.
  14
     FCA Bates No. 001984.
  15
     FCA Bates No. 001985.
  16
     FCA Bates No. 001985 and “Centering Pregnancy Groups, MUSC Health,
  https://muschealth.org/medical-services/womens/pregnancy/centering, last accessed January 11, 2019 at
  1752.


                                                    12
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  pregnancy, weight gain, mood changes during pregnancy, pregnancy physiology and

  lifestyle choices.

          38.      Elizabeth was referred to Barbara B. Head, M.D., with MUSC Maternal-

  Fetal Medicine on February 6, 2018. Dr. Head discussed with Elizabeth diagnosis of

  elderly primigravida, aneuploidy risk, and increased risk of late pregnancy stillbirth.17 Dr.

  Head recommended delivery at 38 to 39 weeks of gestation and antenatal surveillance.

  Dr. Head noted that Elizabeth was reluctant to receive these services because it could

  cause early delivery, labor induction, and potentially cesarean delivery and warned her

  that it was against medical advice and could lead to intrauterine fetal demise. Dr. Head

  also noted the “increased risk of preeclampsia associated with nulliparity and AMA” and

  Elizabeth’s continued regimen of aspirin to prevent preeclampsia.18

          39.      On February 8, 2018 Dr. Head diagnosed Elizabeth with placenta previa

  antepartum in the second trimester, recording, “[t]he placenta is at the internal cervical

  os.”19 Dr. Head informed Elizabeth that if the placenta previa did not resolve, “cesarean

  delivery would be indicated at 36-37 weeks.”20 Dr. Head also noted that Elizabeth has

  seizures and that women with seizure disorder were at increased risk of fetal structural

  abnormalities.21

          40.      Dr. Head wrote Elizabeth was “very concerned about having a relationship

  with a provider throughout her pregnancy and ensuring that provider will be present at

  her delivery.”




  17
     FCA Bates No. 001996.
  18
     FCA Bates No. 001015.
  19
     FCA Bates No. 001997.
  20
     FCA Bates No. 001997.
  21
     FCA Bates No. 001997.


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          41.      Elizabeth met with Dr. Head and Mary Sterrett, M.D. on March 6, 2018 to

  discuss placenta previa.22 Dr. Head noted that there was no evidence of vasa previa, a

  condition that “occurs when fetal blood vessel(s) from the placenta or umbilical cord

  cross the entrance to the birth canal, beneath the baby. Vasa previa can result in rapid

  fetal hemorrhage (occurs from the vessels tearing when the cervix dilates or membranes

  rupture) or lack of oxygen (if the vessels become pinched off as they are compressed

  between the baby and the walls of the birth canal).”23

          42.      Dr. Head nonetheless recommended Cesarean section at 36-37 weeks. Drs.

  Head and Sterrett could not guarantee consistent medical providers and recommended

  that Elizabeth find a “doula to be a constant patient advocate and support throughout her

  pregnancy”.24

          43.      A fetal echocardiogram was performed by Dr. Head on March 6, 2018 and

  the results were normal.25

          44.      The Charleston Birth Center informed Elizabeth that the delivery would be

  too high risk for a birth center.

          45.      Sometime before April 11, 2018 Plaintiff was seen at Trident Hospital “for

  decreased fetal movement.”26 She had an appointment with Dr. Head on April 11, 2018.

  Dr. Head noted that Elizabeth became upset when Dr. Head informed her that a cesarean

  delivery would be needed. Dr. Head noted that she still wanted a natural birth.27 Dr. Head

  performed an ultrasound and the results were normal.


  22
     FCA Bates No. 002003.
  23
     FCA Bates No. 002003 and “Vasa Previa Fact Sheet”, International Vasa Previa Foundation,
  http://vasaprevia.com/Vasa-Previa-Fact-Sheet, last accessed January 11, 2019 at 1932.
  24
     FCA Bates No. 002004.
  25
     FCA Bates No. 000258-000264.
  26
     FCA Bates No. 002008.
  27
     FCA Bates No. 002008.


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          46.     Elizabeth also met with her nurse-midwife, Allison Sizemore Nissen.

  Elizabeth again stated her preference to have a natural birth and not deliver by cesarean

  before full term unless the baby or the mother is endangered.

          47.     Elizabeth met with Dr. Head on May 8, 2018 and again expressed her

  concerns with an unnecessary cesarean delivery and the consequences with neonatal care

  due to the baby not having enough time to develop in the womb.

          48.     On May 8, 2018 an ultrasound was performed by Dr. Head and the

  physician noted “a posterior placenta previa that completely covers the internal os of the

  cervix and an anterior succinterate lobe. There appear to be vessels bridging the anterior

  and posterior portions of the placenta.”28

          49.     Dr. Head continued to recommend delivery by cesarean section at 36-37

  weeks and increased monitoring at 35-36 weeks.29 Elizabeth inquired about the risks of

  delivery prior to 39 weeks, which she learned about in her research. Elizabeth again

  voiced her preference for a natural childbirth, skin-to-skin contact between the mother

  and child after the birth, delayed cord clamping, and delayed bathing. Dr. Head

  recommended that Elizabeth present a written birth plan to place in her chart. Dr. Head

  also recommended increasing antenatal fetal surveillance to a weekly basis beginning at

  32 weeks.

          50.     Elizabeth attended another appointment on May 22, 2018 with Dr. Head.

  Dr. Head again discussed recommendations for delivery by cesarean at 36-37 weeks.30

  Elizabeth continued to express her desire to have a natural birth for the benefits it would



  28
     FCA Bates No. 002010.
  29
     FCA Bates No. 002010.
  30
     FCA Bates No. 002022.


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  confer to her and the baby.31 Elizabeth also presented a statement to Dr. Head asking that

  no fellows, residents, or students participate in the delivery.32 Elizabeth also expressed

  requests after delivery to include skin to skin contact, delayed cord clamping, immediate

  breastfeeding, and delayed bathing all based on optimizing the newborn’s health.33

         51.     Dr. Head recommended that Elizabeth meet with Dr. Johnson.34

         52.     On May 24, 2018 Elizabeth attended Centering Pregnancy Group at

  MUSC and met with Allison Sizemore Nissen.35 Elizabeth reported abdominal cramping

  and concerns that she was having contractions.36 Elizabeth was given a fetal non-stress

  test which was reviewed by Dr. Head.37 The fetal non-stress test was reactive and the

  fetal surveillance was reassuring.38

         53.     Elizabeth was brought to MUSC by ambulance on May 26, 2018 due to

  vaginal bleeding, bright red and moderate in amount, that began in the morning.39 Scott

  A. Sullivan M.D. attended. Dr. Sullivan informed Elizabeth that the hemorrhaging could

  be managed on an outpatient basis but upon a second incident of hemorrhaging, he would

  recommend inpatient management until delivery.40

         54.     Dr. Sullivan and Elizabeth discussed delivery by cesarean and the risks

  involved. Plaintiff asserted her preference for a natural delivery and Dr. Sullivan noted,

  “we had a frank discussion about patient autonomy and I have had patients accept injury



  31
     FCA Bates No. 002022.
  32
     FCA Bates No. 002287-002288
  33
     FCA Bates No. 002025.
  34
     FCA Bates No. 002025.
  35
     FCA Bates No. 002028.
  36
     FCA Bates No. 002028.
  37
     FCA Bates No. 002028.
  38
     FCA Bates No. 002030.
  39
     FCA Bates No. 001049.
  40
     FCA Bates No. 001049.


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  or death in the past over recommended treatment. We always respect patient's rights,

  even when the outcome is difficult or sad. She clearly has capacity and can make these

  decisions. We have notified Risk Management, the Ethics Committee and our chair Dr.

  Johnson. We hope that she will change her mind and I made clear that we will keep the

  door open for this.”41

          55.       An ultrasound was performed by Dr. Sullivan and the results were

  normal.42 Elizabeth was discharged after a period of observation and a discussion with

  Dr. Sullivan.43

          56.       Elizabeth met with Dr. Head on May 29, 2018 for a follow-up

  evaluation.44 Dr. Head performed an ultrasound which was normal. Both Dr. Head and

  Dr. Johnson reviewed the risks of “hemorrhage with potential for severe morbidity and

  mortality in the patient and fetus, and recommendations for scheduled cesarean delivery

  at 36-37 weeks. The patient agreed to cesarean delivery at 39 weeks and is aware of the

  80-85% risk of hemorrhage prior to 39 weeks.”45

          57.       Later during the visit, Elizabeth complained of back and neck pain.46 She

  was transferred to Labor and Delivery. 47 Eugene Y. Chang, M.D. examined Elizabeth

  and conducted an ultrasound which was normal and showed no change in the placenta

  previa from previous ultrasounds.48 Dr. Chang discussed cesarean delivery with

  Elizabeth.



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     FCA Bates No. 001049.
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     FCA Bates No. 001020.
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     FCA Bates No. 001049.
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     FCA Bates No. 002032.
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     FCA Bates No. 002032.
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     FCA Bates No. 002044.
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     FCA Bates No. 002044.
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     FCA Bates No. 001053.


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          58.     Dr. Head noted in her report irregular uterine tightening.49 She also

  reported blood tinged mucus earlier that day.50 Dr. Head again spoke with Elizabeth

  about a cesarean delivery at 36-37 weeks, which was about 6 weeks away.51 Elizabeth

  expressed her desire for a natural childbirth and allowing the baby to develop in the

  womb for as long as possible.52

          59.     Dr. Chang noted on June 8, 2018 that an ethics consultation was ordered.53

          60.     Dr. Chang also conducted another ultrasound and noted that the placenta

  previa was more likely a partial previa than a complete previa.54 Dr. Chang noted that

  Elizabeth, “…plans to refuse scheduled cesarean section with hopes that the placenta

  continues to migrate away from the cervix” 55

          61.     Dr. Head wrote the following plan for Elizabeth’s treatment:

           a. Notify MFM Attending on call of admission.
           b. Notify Deb Brown of admission (803-622-XXXX)
           c. Notify Ethics on call of admission. Request they contact legal based on
              patient's willingness to consent to cesarean delivery.
           d. Ask patient if she has advance directive and obtain a copy.
           e. Ask patient if she has an Emergency Contact and obtain information.
           f. If patient is bleeding or has other non-reassuring maternal or fetal
              surveillance, consent for cesarean delivery.
                   i. Place IV
                  ii. Contact Anesthesia Attending
                 iii. CBC, Type and Cross for 4 units PRBC
           g. If patient will not consent for cesarean delivery, have her sign a DNR.
           h. If patient refuses cesarean delivery, emergent Psychiatry consultation to
              determine capacity. Ethics and Legal may need to be involved if Psychiatry
              is not immediately available.56



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     FCA Bates No. 002040.
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          62.      Elizabeth was not aware of this plan.

          63.      Elizabeth was seen by Charles S. Rittenberg, M.D. on June 14, 2018.57 Dr.

  Rittenberg spoke with Dr. Head about the case. Dr. Head asked Dr. Rittenberg to obtain

  consent for cesarean delivery or else convey to Elizabeth that the MUSC ethics

  committee had determined if Elizabeth presented with vaginal bleeding or nonreassuring

  fetal status, “we should be able to perform a cesarean even if she refuses to consent.”58

          64.      Elizabeth is not aware of when or if the ethics committee made such a

  determination.

          65.      Dr. Head recorded the following: “After the patient’s visit with Dr.

  Rittenburg and her request to meet with me, I spoke to Drs. Guille, Johnson, Sullivan. We

  all feel that it would be advantageous to meet with the patient to discuss her ongoing

  unwillingness to consent to cesarean delivery in the face of a placenta previa.”59

          66.      Dr. Head saw Elizabeth on June 19, 2018 for a routine prenatal visit. The

  ultrasound showed, “a posterior placenta previa with the edge of the placenta

  immediately adjacent but not covering the internal os. The maternal cervix is very

  vascular. There are large vessels behind the chorioamnion that appear to be venous. It is

  difficult to determine whether these are fetal or maternal vessels. The possibility of a vasa

  previa cannot be completely excluded.”60

          67.      Dr. Head noted that Elizabeth had agreed to cesarean delivery on June 22,

  2018 but Elizabeth did not want to proceed because the baby would only be at 38




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  weeks.61 In discussing the scenarios between bleeding and hemorrhaging, Dr. Head

  “reiterated the hospital’s position regarding our responsibility to rescue her and the baby

  if she were not to consent to cesarean, which she found to be alarming.”62

          68.     Dr. Head did not review the standards for adult emergency protective

  custody with Elizabeth at this time, nor did anyone from MUSC ever explain this process

  or take note that Elizabeth did not qualify as an at-risk-adult since there was no indication

  that she was abused or neglected.

          69.     Dr. Head also wrote, “I informed her that if she were not to consent to

  cesarean delivery in the face of a persistent placenta previa and labor with or without

  bleeding, it would be necessary to evaluate her capacity to make these decisions. She was

  very upset and asked if we thought she was “crazy”. I informed her that in that situation,

  the provider(s) would need to merely understand her reasoning for such a decision and

  her capacity to make such a decision.”63

          70.     Dr. Head asked Elizabeth to consent to the cesarean delivery on June 27,

  2018.64 Plaintiff tentatively scheduled the cesarean delivery for that date when she would

  be 39 weeks (full term gestation is considered to be from 39 weeks 0 days and 40 weeks

  6 days).65 Elizabeth also inquired about scheduling the cesarean on July 5, 2018 when she

  would be 40 weeks. 66

          71.     Dr. Johnson called Elizabeth and spoke with her for an hour and a half on

  June 20, 2018. Dr. Johnson noted that Elizabeth, “does not wish to give up her notion that



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  she can have a vaginal delivery. However, she does not have a death wish either. She

  hopes the longer she waits the better her child may do and the higher the chance of a

  vaginal delivery.”67

          72.     In fact, Elizabeth did not wish to die in childbirth and did not want her

  baby to die, she wanted to make health care decisions to the best of her ability for the

  long-term benefit of herself and her child and with the help of trusted providers.

          73.     Dr. Johnson wrote a new birth plan:

           a. She will schedule her c/s when and if she wants it.
           b. If she has vaginal bleeding and soaks a pad in less than 30 minutes she will
              agree to a c/s.
           c. If she is just dribbling blood, she will have a c/s after she has soaked 6
              pads.68

          74.     Dr. Johnson also recorded, “[s]he has a clear understanding that any

  delays may increase her risk of a blood transfusion and she is fine with this.”69 Dr.

  Johnson also addressed specific symptoms:

           a. If she comes in laboring, she agrees to a cervical check if she feels the urge
              to push or if she wants pain control.
           b. I would recommend that her first cervical check would be in the OR and if
              she starts to bleed, then we convert to the pad counts above.
           c. I tried to get her to agree to a cervical exam after she has been contracting 48
              hours and she would not agree.
           d. If she is contracting irregularly she still wants to be admitted because of the
              risk of bleeding. She understands she may go to antepartum if she is not
              contracting very much.70




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          75.     Elizabeth met with Dr. Head and Dr. Johnson on June 25, 2018 regarding

  delivery plans. She also spoke alone with Dr. Johnson regarding the birth plans.71 She

  was in agreement with the plan.

          76.     Elizabeth was brought to the Emergency Department by ambulance on

  June 29, 2018 and reported that her boyfriend had shaken her.72 She was then transferred

  to Labour and Delivery for observation.73

          77.     Gweneth Lazenby, M.D. contacted Dr. Johnson, Deb Brown, and Ethics

  representatives at the hospital of her admission.74 Elizabeth was not aware that ethics

  representatives had been contacted.

          78.     Elizabeth was observed with fetal monitoring, assessed, and discharged

  with no new concerns.75

          79.     Elizabeth returned to the MUSC on July 2, 3018 at 5:53 p.m. for an

  antepartum non-stress test which was reactive and the fetal surveillance was reassuring.76

  Elizabeth was always consistent in attending appointments and getting information that

  would support her care and as her estimated due date arrived she was even more diligent.

          80.     Elizabeth returned to MUSC on July 7, 2018 at 7:53 p.m. with concerns of

  decreased fetal movement.77 Alexandra Mainiero Rowin, M.D. recorded in her notes,

  “[g]iven patient’s known placenta previa, I recommended that she be admitted for

  cesarean delivery. She declines this recommendation. I did review with her the risk of

  both maternal and fetal morbidity and mortality by refusing cesarean delivery prior to


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     FCA Bates No. 001161.
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     FCA Bates No. 001180.


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  labor.”78 Dr. Rowin also noted, “Return precautions given to return tomorrow if she

  continues to appreciate decreased fetal movement, or with any bleeding or signs of

  labor.”79 Elizabeth was discharged at 8:56 p.m.80

          81.     Hours later, Elizabeth returned to MUSC at 1:54 a.m. on July 8, 2018 by

  ambulance due to bleeding.81 By her estimate she was at 40 weeks and two days, within

  the window of full-term gestation. She informed Dr. Rowin that she passed a golfball

  sized clot and she was feeling irregular, but not painful, contractions.82 Dr. Rowin

  recommended continuous electronic fetal monitoring in the Labor and Delivery

  department and noted that the fetal status was currently reassuring.83

          82.     Elizabeth was reassured by the electronic fetal monitoring noting that her

  fetus was not in distress.

          83.     Dr. Choi transferred Elizabeth from Labor & Delivery to Antepartum at

  10:08 a.m. on July 8, 2018 for, “further management”.84Dr. Choi wrote in the transfer

  note:

                  Patient has been extensively counseled about the recommendation for
                  delivery at 36-37 weeks and declined. She has been counseled extensively
                  about the recommendation for delivery via cesarean given her placenta
                  previa and declines. She has agreed several times to cesarean and has been
                  posted on the OR schedule, but has cancelled. Patient ultimately remains
                  hopeful for a vaginal delivery with minimal interventions.85 (Emphasis
                  added).




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     FCA Bates No. 001181.
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     FCA Bates No. 001172
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     FCA Bates No. 001198, 001189
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     FCA Bates No. 001199.
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     FCA Bates No. 001201.
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     FCA Bates No. 001205, 001206.
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  Dr. Choi noted, “She was counseled by both Dr. Rowin on admission and by Dr. Choi

  prior to transfer regarding the recommendation for delivery via cesarean section and

  declined. She has, therefore, not been consented for cesarean.”86

          84.     Elizabeth was seen by Angela Rank Choi, M.D. at 11:40 a.m. Dr. Choi

  discussed Elizabeth’s care with Dr. Rowin and she also made Dr. Johnson aware that

  Elizabeth was admitted.87 Dr. Choi noted of Elizabeth, “[s]he denies bleeding and

  endorses good F[etal] M[ovement]”.88 Dr. Choi wrote in her notes:

                  I outright recommended and offered a c/s for delivery in the setting of 40+
                  weeks gestational age with bleeding and a placenta previa. DeAnna
                  refuses. Given bleeding in the setting of a previa, I recommended
                  admission for frequent NST (we discussed TID or with clinical changes)
                  and monitoring of her bleeding. I continued to recommend c/s and
                  explained that we are ready to do a c/s when she will consent to the
                  procedure. I spent a long time reviewing goals (healthy mom and baby)
                  risks (AMA, IVF, placenta previa), etc.89

          85.     Dr. Choi ordered and Elizabeth consented to a fetal non-stress test which

  was conducted at 1:11 p.m on July 8, 2020. The fetal non-stress test was reactive and the

  fetal surveillance was reassuring.90 Elizabeth was further reassured that her fetus was not

  in distress.

          86.     Dannielle O. Wright, M.D. performed an antepartum non-stress test at

  5:28 p.m. on July 8, 2018 and the fetal non-stress test was reactive and the fetal

  surveillance was reassuring.91




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          87.     At 7:26 p.m., Dr. Choi discussed the fetal non-stress test results with

  Elizabeth and again offered a cesarean delivery, which Elizabeth declined since neither

  she nor her fetus were in distress.92 Another test was conducted at 11:34 p.m. and the

  results of the fetal non-stress test was reactive and the fetal surveillance was reassuring.93

  Fetal monitoring the next morning on July 9, 2018 at 10:00 a.m. showed “reactive and

  reassuring” with contractions at eight minutes apart.94

          88.     Elizabeth had now been admitted to the hospital in accordance with the

  plan Dr. Johnson established on June 20, 2020, and she was following the plan.

          89.     More fetal non-stress tests were conducted on July 9, 2018 when Elizabeth

  was 40 weeks an 3 days, within the window of full term. Katherine A. Bebeau, M.D.

  noted that the antepartum non-stress test was reactive and the fetal surveillance was

  reassuring at 12:32 p.m.95 Dr. Bebeau performed a second test at 3:10 p.m. and again, the

  results were reactive and reassuring.96

          90.     Roger B. Newman, M.D. saw Elizabeth at 4:31 p.m. Elizabeth asked Dr.

  Newman if labor could be induced, which, he refused. Dr. Newman noted, “she again

  declines [cesarean delivery] preferring a trial of labor.”97 Dr. Newman also documented,

  “[i]n subsequent conversation with Dr. Johnson she has now agreed to a [cesarean

  delivery] on Friday [July 13, 2018 at the end of the full-term window] if she does not

  labor before then or hemorrhage. That has been scheduled”98




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          91.     Dr. Newman also noted Elizabeth preferred to stay in the hospital due to

  “risk of bleeding (she states she lives alone) and we agree that staying in hospital is

  best.”99 He further document, “[i]f patient labors, Dr. Johnson has outlined a decision tree

  based on amount of vaginal bleeding. Patient has agreed with this plan. Currently patient

  is hemodynamically stable and w/o bleeding.”100

          92.     Later that evening, Sara Askins, RN met with Elizabeth and reviewed,

  “notes about birth wishes on patient's chart and discussed plan with patient. Patient states

  that she wants to go by exactly what is in the notes and would like to retain the ability to

  change her mind, and verbalize those wishes, if the situation becomes emergent.”101

  Nurse Askins also documented, “Patient in a very agreeable mood and reinforces that she

  “would like the opportunity for as normal and natural a birth experience as possible.”102

          93.     On July 9, 2018 at 8:35 p.m. Nurse Askins reported that Elizabeth’s

  mood/behavior was, “anxious; calm; cooperative; behavior appropriate to situation”.103

          94.     L. Mackenzie Harbin, M.D. recorded the results of the 6:19 a.m. July 10,

  2020 antepartum non-stress test as reactive and reassuring.104 Elizabeth continued to feel

  reassured her fetus was not in distress.

          95.     Dr. Newman visited Elizabeth in the morning of July 10, 2018 when she

  was 40 weeks and 4 days, within the window of full term. Both the ultrasound and the




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  antepartum non-stress test were reactive and reassuring.105 Again, Dr. Newman

  documented that Elizabeth had agreed to cesarean delivery on Friday, July 13, 2018. 106

          96.      The next afternoon, on July 10, 2018, Ashley L. Navarro, M.D. recorded

  the results of the antepartum non-stress test as reactive and reassuring.

          97.      Dr. Rowin responded to a call to Elizabeth’s room 7:55 p.m. regarding

  bleeding.107 An antepartum non-stress test was reactive and reassuring.108

          98.      Dr. Rowin recorded in her progress notes at 2:03 a.m. on July 11, 2018

  that she reviewed the results of the earlier antepartum non-stress test was reactive and

  reassuring.109

          99.      Elizabeth did not have any indication that her fetus was in distress and

  continued to feel reassured.

          100.     At 9:23 a.m. on July 11, 2018, when she was 40 weeks and 5 days, within

  the window of full term, Elizabeth reported increased bleeding and thought her water

  broke during the night.110 Rebecca Jane Wineland, M.D. met with Elizabeth and advised

  her to have a cesarean section at that time, which she declined.111 Dr. Wineland wrote in

  her progress notes, “Reviewed that my recommendation is for a c-section now, prior to

  fetal or maternal compromise. Indications for c-section are placenta previa, vaginal

  bleeding, PROM, AMA at age 49, IVF pregnancy. Ms. Scannell declines at this time.”112




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      FCA Bates No. 001221.
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  112
      FCA Bates No. 001226.


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          101.     At about 12:00 p.m. on July 11, 2018, Dr. Wineland advised Elizabeth,

  “…I think you need to have a c-section today.”113 Plaintiff declined knowing she had not

  yet completed the window of full term gestation.

          102.     Dr. Wineland spoke with Dr. Johnson by phone who then spoke with

  Elizabeth. Upon speaking with Dr. Johnson, Elizabeth agreed to the following: “Plan of

  care per Dr. Johnson is for an [ultrasound] for AFI. If less than 5cm, then assume ROM.

  If >5cm, pt will agree to spec exam but is undecided what she will do if rupture

  confirmed,…”114

          103.     Kara Ellison, RN, noted at 11:17 a.m. on July 11, 2018, “[b]aby is

  confirmed Cephalic at this time.”115

          104.     Dr. Bebeau recorded the results of an antepartum non-stress test as

  reactive and reassuring at 3:00 p.m. and 5:00 p.m. on July 11, 2018.116

          105.     Ryan D. Cuff, M.D. recorded he agreed with Dr. Harbin’s results of an

  antepartum non-stress test as reactive and reassuring at 7:04 a.m. on July 12, 2018.117

          106.     Dr. Newman saw Elizabeth at 11:18 a.m. on July 12, 2018 and recorded

  the following:

                   Currently 40 w 6 d. She reports that she has not bleed since yesterday am
                   and is no longer leaking fluid. She believes that she has not experienced
                   ROM. She reports diminished FM this am but FHR monitor shows a
                   reactive Cat I strip…She was asked if she intended to follow thru with
                   plan for CD tomorrow am. She declined to answer. I asked her to notify us
                   if she decided the decline the CD tomorrow so we can open that OR slot
                   for other patients. She says she will. Patient ordered NPO after midnight in
                   anticipation of possible delivery.118

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      FCA Bates No. 001226.
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      FCA Bates No. 001227-001228.
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      FCA Bates No. 001231-001232.
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      FCA Bates No. 001232.


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             107.   Dr. Navarro recorded the results of an antepartum non-stress test as

  reactive and reassuring at 2:57 p.m. on July 12, 2018.119

             108.   Dr. Johnson recorded extensive progress notes on July 12, 2018 after a

  visit with Elizabeth beginning at 3:15 p.m. Dr. Johnson wrote, in part:

                    I have been involved in Ms. Scannell's inpatient admission. I have talked
                    with her probably 8-10 hours since Monday. I have also been in contact
                    with our hospital administration. The patient came in bleeding and was
                    scared. She did not soak a pad in 30 minutes after arrival so she refused a
                    c/s. To me she admitted that at home she bled enough that blood got into
                    her shoes. I had told her we call this the positive previa sign.

                    On Monday, she wanted to wait until Friday (tomorrow) for her c/s. She
                    will be 41 weeks at the time and there is no benefit to staying pregnant any
                    longer and the mortality and morbidity simply goes up after 41 weeks. She
                    agreed to the c/s if she remained stable.

                    I have spent time trying to explain to the patient why a vaginal delivery is
                    out of the question. She was confused as to why she did not labor at 40
                    weeks because she knows the minute she conceived. She told both me and
                    Dr. Newman that this always happens on TV.

                    I talked with her about ROM. She could not understand why we did not
                    discuss this earlier. A conversation with her takes an hour or more. She
                    asks questions in a circle. Usually bleeding and contractions are more
                    common with previas. With ROM we would recommend delivery,
                    especially since we do not know her GBS status. We could not prove she
                    had ruptured membranes so we went back to pad counts. Last night she
                    was trying to hide her pads from the nurses. I explained to her that if she
                    did not cooperate with medical advice for her baby, then she may not have
                    a chance to have input about the care of her baby. She does not think
                    MUSC has any authority over her baby and to some extent she is right but
                    the state certainly does and we will follow what the state recommends.

                    Yesterday I spent time talking with her about a c/s and what to expect. I
                    went over a spinal anesthesia and the sensations she will feel. The
                    different things she will feel in a cs and the expected recovery. We went
                    over her fears and I suggested that she may take ativan to help calm her.
                    She refuses. I do not think she has taken any birthing classes because her
                    basic understanding of labor is absent. She does not know the cervix has to
                    fully dilate to have a baby.

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                  Today I talked with her again and now she does not want a c/s tomorrow.
                  She initially committed to a c/s at 38 weeks and canceled because she was
                  not bleeding and her placenta had moved some. Then she promised me if
                  she would get her c/s at 40 weeks and then she canceled that. Now she is
                  at 41 weeks, I have told her it is detrimental to the baby to stay pregnant
                  longer, especially since we cannot say 100% that she is not ruptured. We
                  just can’t prove it due to the bleeding. I have asked her when she would
                  like her c/s and she does not give an answer.

                  The patient up to this point has made arguments that waiting is the best for
                  the baby. While other physicians do not think she is primarily interest in
                  the best for her baby, I felt she would be reasonable and she would come
                  in if she bled. However, now I think her sole purpose of her decision
                  making process is her birth experience. She truly wants a vaginal delivery
                  even if it costs her child its life. Given she is 49 years old the chance of
                  her getting a vaginal delivery now is almost zero given she has a previa
                  still, may have ROM and is 41 weeks. Even when I ask her when does she
                  want her c/s if not tomorrow, she will not answer because she does not
                  want a c/s

                  I have notified administration and we will have a conference on her again
                  at 5 today with the key team members. We will make a plan. We have
                  consulted psych to interview the patient. She discusses things in circles
                  and I want to make sure they think she is capable of making a decision.
                  The pediatric team has notified DSS.120

          109.    Brittany A. Austin, M.D. asked David Robert Beckert, M.D., to perform a

  psychiatric consult to evaluate Elizabeth’s competence at 1:47 p.m. on July 12, 2018.121 It

  is not clear whether Dr. Austin coordinated with the doctors providing Elizabeth’s care

  about this. Elizabeth was not aware that a psychiatric consult had been requested.

          110.    Dr. Beckert met with Elizabeth at 4:35 p.m. that same day and

  documented the results at 4:49 p.m.122 Dr. Backert wrote:

                  I was asked to consult on this patient by the primary team (Ob service) due
                  to the complexities involved during this hospitalization at a variety of
                  levels. When approached, the patient was lying in bed, talking on her cell
                  phone. She asked who I was and I introduced myself. The patient

  120
      FCA Bates No. 001233-001234
  121
      FCA Bates No. 001234.
  122
      FCA Bates No. 001234-001235.


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                    immediately became upset and defensive. She ended her phone
                    conversation and I again introduced myself and attempted to explain my
                    role as supportive and wishing to simply talk with her. She told me that
                    she declines psychiatric services at this time, and that she did not ask for
                    me to visit with her. She then asked me who wanted me to come speak
                    with her. I told her that I (or my service in general) am often called by
                    treatment teams including various medical and surgical services all across
                    our hospital system to assist patients for a variety of reasons, and I
                    attempted to reassure her when she stated “I am not crazy, but I guess my
                    doctors are trying to say that I am. This is unbelieveable”. She then
                    politely asked me to leave her room, which I did, after once again offering
                    to simply chat with her. During the brief encounter she did mention that
                    “this is supposed to be such a happy time for me, but MUSC is trying to
                    make it unhappy”. She then stopped talking further and I left the room,
                    and I reiterated to her that I would be available if she changed her mind
                    and wished to have someone neutral and supportive to talk to.123

             111.   Sometime in the afternoon, a meeting was held by the Medical University

  of South Carolina Ethics Committee along with Dr. Johnson and Dr. Michelle Irene

  Amaya. Upon information and belief, Dr. Johnson was ordered to place Elizabeth

  Scannell in Emergency Protective Custody to force her to submit to a caesarean section.

             112.   On July 12, 2018 at 5:03 p.m., Kelly Finke, MSW, was ordered by

  Michelle Irene Amaya, M.D., Director of Level I Nursery to make “…a DSS report to

  Charleston DSS based on threat of harm to the unborn baby. SW will remain in contact

  with DSS for discharge placement plans for the baby if needed.”124

             113.   Previously, Dr. Johnson had told Dr. Amaya not to report Elizabeth until

  they observed the mother’s interactions with the baby. Upon information and belief Dr.

  Amaya ignored Dr. Johnson’s advice.




  123
        FCA Bates No. 001234-001235.
  124
        FCA Bates No. 001235.


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          114.       At 5:38 p.m., Dr. Navarro recorded the results of an antepartum non-stress

  test as reactive and reassuring.125Elizabeth continued to feel reassured that her fetus was

  not in distress.

          115.       That evening, Thursday, July 12, Elizabeth noticed a security guard

  outside her bedroom. When she went out of the room and into the hall, she overheard the

  security guard on his phone inquiring how to restrain a pregnant woman.126 Elizabeth

  asked Nurse Richardson about her rights and whether she could check out.127

          116.       Taiwana D. Richardson, RN, recorded that she made Dr. Newman “aware

  of pts questions concerning “checking out”. No new orders but pt is to be made aware

  that it would be against medical advice.”128

          117.       Some time that evening, Elizabeth went to the nurse’s station and inquired

  about the security. She was physically moved back into her room by the MUSC Public

  Safety Supervisor.

          118.       Dr. Johnson met with Elizabeth at 9:27 p.m. on July 12, 2018 to inform

  her that she was placed in protective custody. No one from Adult Protective Services met

  with Elizabeth and no determination was ever made that she was at risk by reason of

  abuse or neglect. Dr. Johnson documented the following:

                     Discussed with the patient the EPIC. She cannot leave her room and if she
                     tries she can be restrained. She is obviously upset but I had tried to tell her
                     she needs to follow our advice and she would not listen. She understands
                     the issues have escalated now and she has less options. She asked me what
                     I recommended and I still recommend a c/s in am. She now agrees to this.
                     I told her me and Dr. Hebbar will see her at 6:15 in the morning. Literally
                     everything is an issue with her. I explained how we would get her friend in


  125
      FCA Bates No. 001235-001236.
  126
      FCA Bates No. 001266.
  127
      FCA Bates No. 001266.
  128
      FCA Bates No. 001236.


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                  the room and she was upset that she would not be there the entire time. I
                  have not discussed any of the newborn issues with her.129

          119.    Stavia Gaston, RN recorded that she was called to Elizabeth’s bedside by

  Dr. Johnson to discuss the updated plan of care at 9:30 p.m.130 She recorded that

  Elizabeth appeared to be agitated. Nurse Gaston recorded:

                  Dr. Johnson spent 1.5 hours at the bedside discussing the EPC and
                  requirements of the pt. Pt did not like having to have Public Safety
                  present. Pt wishes to be treated with respect. Pt does not see how her
                  desire for a vaginal delivery places the baby at harm.

                  Pt is very defensive and argumentative. Pt’s POC reviewed including
                  restraints if the situation escalates.

                  After having her questions answered multiple times, pt has agreed to the
                  c/s in the AM. Pt agreed to have an IV placed, labs drawn, an epidural,
                  and medications administered.

                  -Pt wishes for her friend Tamara to be present. Pt does not want friend to
                  know her age or that she had IVF.
                  -Pt would like to do skin to skin.

                  Pt wishes to eat and shower. Pt informed of NPO status at midnight. Pt
                  had no other needs at this time. Will continue to monitor.131

          120.    Nurse Gaston supplemented her notes at 11:45 p.m. and wrote:

                  PCT observed pt crying in the bathroom after shower. Pt states that she
                  has had time to think about the c/s. Pt feels forced and is wondering about
                  the next steps. Pt is scared of having “a major surgery”. Pt stated that it
                  seems like DSS will take her baby due to the State getting involved.

                  Pt “vented” for an hour. Reassurances given. POC for c/s reviewed. Pt
                  seemed overwhelmed but handled it well. Pt desires to go to the
                  mother/baby unit once delivered. All questions answered. Pt had no other
                  needs at this time. Will continue to monitor.132

          121.    Nurse Gaston supplemented additional notes at 9:45 p.m. and wrote:


  129
      FCA Bates No. 001236.
  130
      FCA Bates No. 001236.
  131
      FCA Bates No. 001236-001237.
  132
      FCA Bates No. 001237


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                  After Dr. Johnson left the bedside, I spent 45 minutes talking to pt about
                  her initial birth plan after going through IVF and the current changes to
                  her POC. Pt discussed her feelings and how “it is a lot to deal with”. Pt has
                  periods of being upset and then accepting the new updated POC. Pt still
                  agrees to the c/s. Surgical scrub given to pt. Pt instructed on how to use.
                  Will bring dinner to pt and continue to monitor.133

           122.   At 2:15 a.m. on July 13, 2018, Nurse Gaston noted that Elizabeth’s

  observed emotional state was, “anxious; apprehensive; frustrated; hopeful; irritable” and

  Elizabeth verbalized emotional state was, “anger; anxiety; frustration; hopefulness;

  powerlessness”. 134 Under Mood/Behavior, Nurse Gaston wrote, “anxious; uncooperative;

  behavior appropriate to situation”.135 Nurse Gaston also recorded that Elizabeth was not

  an elopement risk.136

           123.   Nurse Gaston spoke with Elizabeth at 2:45 a.m. on July 13, 2018 and

  recorded the following:

                  Assessment completed and all questions answered. Pt endorses positive
                  fetal movement and occasional contractions in the form of “stomach
                  tightening”. Denies any VB, LOF, vision changes, or SOB. Pt stated that
                  she has not had any VB for 2 days. Pt appears to be more calm. Pt able to
                  discuss new topics such as the growing of Charleston. Pt is ready for her
                  NST. Will continue to monitor.137

           124.   Before proceeding to give Elizabeth the surgery, Dr. Harbin recorded the

  results of an antepartum non-stress test as reactive and reassuring at 6:23 a.m. on July 13,

  2018.138



        D. Postpartum history at MUSC.



  133
      FCA Bates No. 001238.
  134
      FCA Bates No. 001410.
  135
      FCA Bates No. 001411; 001477.
  136
      FCA Bates No. 001414.
  137
      FCA Bates No. 001238.
  138
      FCA Bates No. 001239.


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             125.   A cesarean section was performed by Dr. Head and Dr. Johnson between

  7:25 a.m. and 8:40 a.m. on July 13, 2018.139 It should be noted that although MUSC took

  Elizabeth into protective custody, the procedure was not determined to be emergent and

  was done with Elizabeth’s consent.140

             126.   Elizabeth was fully expecting to hold and care for her newborn

  immediately after birth and pursuant to her request for immediate skin-to-skin contact

  and initiation of breastfeeding. She was conscious following the procedure. Her baby was

  healthy upon delivery.

             127.   Cynthia Bradford, a SCDSS caseworker, arrived at MUSC Children’s

  hospital on July 13, 2018 and met with Kelly Finke, MSW to discuss the placement of the

  baby in emergency protective custody. Cynthia Bradford recorded the following

  conversation:

                    Kelly Finke informed CW Ms. Scannell was refusing to have a C-section
                    since she was diagnosed with Placenta Privea at l8 weeks gestation. Ms.
                    Finke informed CW not having a C-section is contrary to the doctor’s
                    opinion in order to lower the chances of the infant dying. According to
                    Ms. Finke this diagnosis in combination with Ms. Scannell's age (49)
                    increased the risk of infant death the longer the baby stayed in Ms.
                    Scannell’s womb. Ms. Finke told CW she and the Pediatrician Dr. Amaya
                    summarized notes from Ms. Scannell’s doctor visits and summarized their
                    concerns and sent them to Supervisor Telly Palm who can forward them to
                    CW. Ms. Finke informed CW Baby Girl Scannell will be ready to
                    discharge by tomorrow 7/14/18 at 5:00pm at the earliest, but Ms. Scannell
                    will probably stay in the hospital until Monday 7/16/18 because her
                    condition is worse than expected and is expected to need a hysterectomy.
                    Ms. Finke told CW that if the child is released to Ms. Scannell, the baby
                    will be placed in danger due to Ms. Scannell’s decision making process
                    prior to having the baby. Ms. Finke informed CW that Ms. Scannell’s
                    bleeding was so bad last night to the point where Ms. Scannell's OBGYN,
                    Doctor Johnson, was covered in blood from her hips down into her shoes.
                    Doctor Johnson stated Ms. Scannell needed the C-section but Ms. Scannell
                    was not accepting this request and that is why Ms. Scannell was placed in

  139
        FCA Bates No. 001240-001242.
  140
        FCA Bates No. 001758.


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             EPC. In the room Ms. Finke, CW and Officer Shoem were in, CW got to
             sec Baby Girl Scannell. Doctors stated Baby Girl Scannell is in good
             health and no health concerns arc present at this time.

             CW and Ms. Finke were informed that Ms. Scannell is awake and
             speaking. Officer Shoem and CW walked into Ms. Scannell’s room and
             Officer Shoem informed Ms. Scannell that her child was placed in EPC
             and Ms. Scannell was crying and did not understand why. CW introduced
             herself and asked if we could speak about what is happening. CW
             informed Ms. Scannell is information is confidential and CW can speak to
             Ms. Scannell alone, but Ms. Scannell requested for people to stay and it
             was fine for CW to speak about the report. Two nurses, Ms. Finke, Baby
             Girl Scannell’s pediatrician Dr. Amaya and Ms. Scannell’s friend Tamara
             Neal were present. CW read through half of the allegations and Ms.
             Scannell became hysterical, crying and unable to speak. Dr, Amaya
             attempted to explain what was happening and MUSC’s position for their
             reasoning to EPC. Ms. Scannell was still crying and hysterical. CW
             stepped out of the room to give Ms. Scannell time to calm down and Ms.
             Scannell wanted to call Dr. Johnson and attempted to call Dr. Johnson on
             her personal cell phone.

             CW stepped back into the room with Dr. Johnson. CW asked for
             permission to speak of the allegations in front of Dr. Johnson and CW
             received permission from Ms. Scannell. CW read the rest of the
             allegations to Ms. Scannell. Ms. Scannell was still crying and asking Dr.
             Johnson what was happening. For about 30 minutes Dr. Johnson was
             describing to CW the events that led to the EPC and talking about each
             allegation.

             Ms. Scannell stated she was unaware she was placed in EPC, and Dr.
             Johnson confirmed she did not fully tell Ms. Scannell that she was placed
             in EPC but informed Ms. Scannell that Dr. Johnson became worried when
             Ms. Scannell told Dr. Johnson she wanted to check out of the hospital last
             night after the bleeding episode, Ms. Scannell stated she was not serious
             about leaving, that Ms. Scannell was just asking out of curiosity. Dr.
             Johnson informed CW on Wednesday, 7/11/18 at 4:00 am Ms. Scannell’s
             water broke, but Doctors were unsure if she had ruptured and doctors
             could not confirm with 100% certainty but Ms. Scannell still refused a C-
             Section. Dr. Johnson described the bleeding episode that occurred last
             night (already discussed with Ms. Finke).

             CW asked about the domestic violence incident and asked Ms. Scannell
             why she had refused treatment, according to CW’s report Ms. Scannell
             stated she did not refuse treatment; she stayed at the hospital for about
             hours. CW asked Dr. Johnson if that was true, and Dr. Johnson stated
             “yes.”



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                    CW asked about mental health diagnosis, depression and personality
                    disorder with cluster b symptoms along with the suicidal ideations, Ms.
                    Scannell denied having these diagnosis and these issues happened many
                    years ago. CW report states 2008. Dr. Johnson told CW she does not know
                    why that is on there, Ms. Finke stated when someone makes a report to
                    DSS, intake will ask for that kind of history.

                    Dr. Johnson continued to talk with Ms. Scannell about what MUSC’s
                    grounds were for the EPC and what doctors were concerned about prior to
                    the birth of Baby Girl Scannell. Dr. Johnson discussed Ms. Scannell’s
                    continued refusal to have a C-section forced Dr. Johnson to create a
                    secondary care plan to help Ms. Scannell identify when it is the right time
                    to have a C-Section and for MUSC to have a plan for when a C-section
                    can be done. CW stepped out of Ms. Scannell’s room and spoke to
                    Supervisor Telly Palm over the telephone. Confirmed DSS is asking for
                    the child to have supervised contact at this time. Hospital requested a
                    confidential form to be signed by CW so family could not locate Baby
                    Girl Scannell. A security officer informed medical staff that Ms.
                    Scannell’s friend, Ms. Tamara, was asking hospital staff where the nursery
                    wings are in the hospital and was on the phone speaking to someone and
                    that security officer heard Ms. Tamara state “we’re going to get out of
                    here” then started to speak in another language. CW signed confidential
                    form.

                    Ms. Scannell refused to sign the notice of EPC and MUSC release of
                    medical information, CW left brochure and booklet with CW’s contact
                    information. The hard copy of the EPC notice was left with Ms. Scannell
                    and a copy was made for CW.

             128.   Afterwards, MUSC placed a sitter in her room at 7:00 because of its

  decision to place Elizabeth in protective custody and its claims of a risk of elopement.141

             129.   At 9:37 a.m. on July 13, 2018, Kelly Finke, MSW, noted the following:

                    SW was paged to come to Level 1 Nursery. SW arrived to the nursery and
                    found Public Safety, Security, pt’s nurse, and SE Manager, Katy Decker,
                    present. Per Public Safety, Officer Brett Schoem, Public Safety took
                    custody of pt last night and has now taken custody of the baby as of time
                    of birth this AM. Officer Schoem asked that DSS be called so they can
                    respond. SW contacted Telly Palm at Charleston DSS and requested DSS
                    presence for an EPC. Per Ms. Palm, she is sending Cynthia Bradford, 843-
                    953-8479 (office) to MUSC immediately. Per Public Safety Officer Brett
                    Schoem and Lt. Layne Thompson, since they have EPC’d the baby and

  141
        FCA Bates No. 001723-001743.


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                 placed the baby in the custody of the state, they have authorized the
                 MUSC PEDS medical team to provide the appropriate medical care for the
                 baby without pt’s permission, to include Vitamin K, Azithromycin, and
                 Hep B vaccine. Public Safety Lt. Lane Thompson then asked SW to speak
                 with Donna Cunningham, APS with Charleston DSS, who he had on the
                 phone. SW spoke with Ms. Cunningham and explained the situation. Ms.
                 Cunningham stated since Public Safety EPC’d pt, she will begin to prepare
                 court paperwork for the mandatory 72 hour hearing and DSS will probably
                 have a court hearing on Monday for the EPC of pt. SW will remain in
                 contact with DSS and for discharge placement plans for the baby as
                 needed.142

          130.   Laura Herman, RN, noted at 10:28 a.m. on July 13, 2018 that Elizabeth

  declined medications after surgery.143 Elizabeth did not want to pass her medications on

  to her daughter through her breastmilk. Nurse Herman also documented that Elizabeth

  made “multiple requests to see her baby…” and patient “…has threatened to get up [out

  of bed] if her baby is not brought to her. Elizabeth was not supposed to walk unassisted at

  this time.

          131.   Dr. Head noted at 2:05 p.m. that Elizabeth complained of “…significant

  pain that she feels is like cramping contractions. Very tearful.”144 Dr. Head also noted

  that it was unknown if the newborn was breastfeeding.145 Dr. Head recorded under

  impression:

                 POD0 s/p LTCD due to placenta previa with focal placenta accreta and
                 postpartum hemorrhage s/p 5 u PRBC and 5 u FFP. Patient strongly
                 desires to retain her fertility and the area of accrete was oversewn and a
                 Bakri balloon was placed. Approximately 300 cc blood from Bakri since
                 delivery.

                 US concerning for ongoing postpartum hemorrhage with the uterine
                 fundus at the level of the diaphragm and an endometrial stripe of 9 cm.



  142
      FCA Bates No. 001239-001240
  143
      FCA Bates No. 001240.
  144
      FCA Bates No. 001242.
  145
      FCA Bates No. 001242.


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                  Options include attempt at uterine artery embolization in Interventional
                  Radiology which may decrease the uterine perfusion or definitive therapy
                  with hysterectomy. CBC, coagulation studies performed. Patient clinically
                  stable at this time. Will discuss with patient further.146

          132.    At 3:12 p.m. on July 13, 2018 Robert W. Grammer, M.D., wrote,

  Elizabeth “underwent a c-section this am secondary to placenta previa with focal accreta

  requiring 5u PRBC’s and 5u FFp. VIR consulted for possible embolization.”147 Dr.

  Grammer added, “The patient will be scheduled today, 7/13/2018, time to be determined,

  for Fluoroscopic Guided embolization with Moderate Sedation. Consent obtained, labs

  reviewed, anticoagulation held, patient is NPO.”148

          133.    Dr. Head noted that Elizabeth did not want a hysterectomy.149

          134.    Dr. Johnson documented the following progress notes on July 13, 2018 at

  4:01 p.m.:

                  I have been been involved in her care since 0615 this morning.Drs. Head,
                  Hebbar and I went in her room this morning to get her ready for the c/s.
                  She willing came to the c/s room without any difficulty. Drs. Head and I
                  did her surgery with the assistance of Dr. Earhart. Her placenta was very
                  difficult to remove and in fact we could not remove it all. We then
                  oversewed the back of her uterus in the area of the placental bed. The
                  bleeding decreased and with pressure it would stop. So we put in a bakri
                  balloon. I talked with her during the cs that we may have to do a
                  hysterectomy. And she said she came here with a uterus and she was
                  leaving with one. Although she is perimenopausal age, she does have 2
                  more embryos in Mexico. So I could see why she would want to try to
                  save her uterus. So we did this to try to see if we could stop the bleeding.
                  She received 5 units of prbcs and 5 units of FFP and was sent to the
                  PACU. She was stable until about 2 this pm when her fundal height was
                  increased. Dr. Head looked at her uterus and it is filled with blood. The
                  patient was told that the hysterectomy is the definitive treatment and is the
                  safest course for her. But she would like to try to save her uterus. So we
                  called IR and she consented to uterine artery embolization. I strongly
                  suspect she will need a hysterectomy in the next 24 hours after the

  146
      FCA Bates No. 001243-001244, 001251-001252.
  147
      FCA Bates No. 001248.
  148
      FCA Bates No. 001248.
  149
      FCA Bates No. 001249.


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                  embolization. She knows she is likely to end up in the ICU and she has 49
                  year old blood vessels. She has already lost about 50 to 60% of her blood
                  volume and continued ongoing blood loss will make her risk of morbidity
                  and mortality higher.150

          135.    Megan Welch, RN, noted at 7:30 p.m. Elizabeth’s observed emotional

  state as “agitated; anxious; calm”; her verbalized emotional state as “frustration;

  powerlessness”; and her mood/behavior as “anxious/calm”.151 Nurse Welch also marked

  Elizabeth as an elopement risk noting the following factors: “Court appointed guard;

  Danger self/others; legally committed; lack cognitive decision-making; physical/mental

  impairments that increase risk of harm to self or others”.152

          136.    Dr. Johnson documented discussions with MUSC legal and administrative

  officials on July 13, 2018 at 7:58 p.m. Dr. Johnson wrote:

                  Ms. Scanell is still under an EPC and has a case pending in adult
                  protective service. So all of her medical decisions now can be made by the
                  medical team.

                  She went to IR because she still had bleeding. Her uterus enlarged from
                  her umbilicus to her xyphoid over about 30 minutes. While we told her
                  that a hysterectomy was the best treatment and the definitive treatment,
                  she can have IR. It may delay a hysterectomy/increased her blood loss as
                  well as her risk of going to the ICU, needing more blood products, and
                  having more complications and mortality. She strongly desires her uterus.
                  And wants us to everything to save it.

                  She went to IR and I have reviewed the films with Dr. Grammar. She has
                  a large blush compatible with retained placenta/placental bed on the right
                  side in the area the placenta was most adherent. In this area there are also
                  surgical clips. We did not use any clips today. I strongly suspect she has
                  had a prior uterine surgery to remove a fibroid and clips were used in the
                  bed to control bleeding. Prior to surgery she told us her only surgery was
                  an appendectomy. They embolized her and the blush went away. The
                  question is will it last?



  150
      FCA Bates No. 001251.
  151
      FCA Bates No. 001423-001424; 001495.
  152
      FCA Bates No. 001426-001427.


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                  So when she returned to the floor I started talking with her about the
                  clinical parameters we would use to determine if she is still bleeding.
                  Clinical parameters that we plan to use are to determine if she is still
                  bleeding:

                          1. Pulse> 120. Her current pulse is 65
                          2. BP 90/50 currently 120/70 when she came back
                          3. Respiratory embarrassment from an enlarging uterus.
                          4. Falling hemoglobin
                          5. Oliguria

                  If she is still bleeding, then our only option left is a hysterectomy. She told
                  me she will not consent. So I explained to her that she is in adult
                  protective services and we have to make her medical decisions if her
                  decisions are not medical sound.153

          137.    Nurse Welch observed the conversation with Dr. Johnson and Elizabeth

  and wrote,

                  Pt is alert and orientated Pt still refuses hysterectomy. DR Johnson
                  explaining that she is in adult protective custody. Pt then becomes very
                  angry and frustrated. Pt agreeable to have labs, vitals, bleeding monitored,
                  states she will not agree to hysterectomy unless she feels there is a change
                  in her vitals, labs, and/or bleeding.154

          138.    Having just given birth Elizabeth was physiologically compelled and

  anxious to hold and care for her newborn. No one told her when or how she would get to

  do this, when or how the emergency protective custody would be lifted. Elizabeth

  endured grievous mental and emotional suffering then, and over the next few months.

          139.    Elizabeth asked Nurse Welch for Ativan to help her sleep, with Nurse

  Welch documenting, “…states she knows she will need something as she is sure she will

  be overwhelmed emotionally and have difficulty falling asleep when her friends at the

  bedside leave for the night.”155



  153
      FCA Bates No. 001252-001253.
  154
      FCA Bates No. 001253.
  155
      FCA Bates No. 001254.


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          140.     Nurse Welch observed Elizabeth’s anguish at 12:14 a.m. and documented

  the following:

                   Pt is very tearful after friends left. States her doesn’t know what she will
                   do without her baby. She states she cant stand the thought of not having
                   her infant with her and how long the process will be to try to get her back.
                   Emotional support and reassurance provided. Hospital sitter at bedside. Dr
                   wagoner notified and aware.156

          141.     On July 14, 2018 at 12:15 a.m., Nurse Welch reported Elizabeth’s

  observed emotional state as “anxious, frustrated; grieving; hopeless; tearful/crying” and

  her verbalized emotional state as “hopelessness; powerlessness”. 157 Nurse Welch later

  observed Elizabeth to be withdrawn at 1:00 a.m.158

          142.     Nurse Welch offered Elizabeth pain medication at 1:21 a.m. on July 14,

  2018 and Elizabeth refused for three reasons, (1) she was breastfeeding, (2) she wanted to

  remain alert because MUSC had violated her trust, and (3) Elizabeth wanted to be

  coherent when she spoke with her attorney.159

          143.     Elizabeth appeared distraught at 1:11 a.m. on July 14, 2018. Nurse Welch

  wrote, “Pt moved to room from PACU, this RN asking pt if she has thought of harming

  herself. Pt states no that she just feels overwhelmed when she doesn't have her support

  people with her.”160

          144.     By 8:00 a.m. on July 14, 2018 Laura Herman, RN, noted that Elizabeth’s

  mood/behavior was “anxious; sad”. 161




  156
      FCA Bates No. 001254.
  157
      FCA Bates No. 001428-
  158
      FCA Bates No. 001248.
  159
      FCA Bates No. 001254.
  160
      FCA Bates No. 001253.
  161
      FCA Bates No. 001429; 001503.


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          145.      Dr. Johnson noted that Elizabeth was, “working on breast pumping to give

  milk for her baby,” on July 14, 2018 at 9:59 a.m.162

          146.      Nurse Herman noted at 11:20 a.m. on July 14, 2018:

                    Breast pumping was initiated and the colostrum was hand delivered to the
                    nurse caring for the baby and was able to inform patient about the baby's
                    well-being. Pt continues to voice that she only wants the baby to receive
                    her milk. Explained that I was not caring for the infant, but that this RN
                    had let the RN caring for her baby her wishes.163

          147.      At this point more than 36 hours of critical physiologic bonding time

  elapsed without Elizabeth or her newborn having any physical contact. Elizabeth

  continued to endure grievous mental and emotional suffering.

          148.      On July 14, 2018 at 8:00 p.m., Kaitlyn Marie Mitchell, RN documented

  the Elizabeth’s observed emotional state was, “sad; hopeful; anxious; apprehensive;

  withdrawn”; her verbalized emotional state was, “hopefulness; sadness”; and her

  mood/behavior was, “anxious; labile; sad; withdrawn”.164 Under interactions, Nurse

  Mitchell recorded, “mistrustful; suspicious; cooperative; eye contact appropriate”.165

  Nurse Mitchell classified Elizabeth as an elopement risk and marked the following

  categories, “Court appointed guard; Danger self/others; Legally committed; Lack

  cognitive decision making; Physical/mental impairments that increase risk of harm to self

  and others”.166

          149.      Nurse Mitchell noted at 11:07 p.m. on July 14, 2018, “Pt complaining of

  pain with ambulation but still refusing pain medications at this time.”167



  162
      FCA Bates No. 001262.
  163
      FCA Bates No. 001256-001257.
  164
      FCA Bates No. 001434-001435; 001508.
  165
      FCA Bates No. 001435.
  166
      FCA Bates No. 001440.
  167
      FCA Bates No. 001259.


                                                43
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          150.     Nearing 48 hours after giving birth, Elizabeth asked Nurse Mitchell about

  her protective custody status and paperwork at 12:10 a.m. on July 15, 2018 and the nurse

  was unable to provide any information or paperwork.168

          151.     Elizabeth took some medication for pain at 2:17 a.m. on July 15, 2018.169

          152.     It was now two days since her baby was born, on July 15, 2018 at 10:00

  a.m., Paulina Solis, RN, noted Elizabeth’s observed emotional state was, “calm; sad” and

  her mood/behavior was, “anxious; sad”.170 Nurse Solis also noted Elizabeth’s interactions

  as, “mistrustful; uncooperative; demanding”.171 Nurse Mitchell classified Elizabeth as an

  elopement risk and marked the following categories, “Court appointed guard; Danger

  self/others; Legally committed; Lack cognitive decision making; Physical/mental

  impairments that increase risk of harm to self and others”.172

          153.     Elizabeth and her baby were both clinically stable, and were both

  physically capable and needing physical bonding time together. Elizabeth continued to

  endure grievous mental and emotional suffering.

          154.     Nurse Solis noted that Elizabeth was able to pump 11 cc of breast milk for

  her daughter at 1:56 p.m. on July 15, 2018. Nurse Solis documented that the milk was

  taken to the nursery freezer.173

          155.     Dr. Johnson recorded in her progress notes on July 15, 2018 at 6:33 p.m.

  the following:

                   I saw Ms. Scannell tonight. I reviewed her care. Dr. Head will see her. I
                   will need another CBC probably Tuesday am. I anticipate discharge

  168
      FCA Bates No. 001260.
  169
      FCA Bates No. 001260.
  170
      FCA Bates No. 001434-001435; 001511.
  171
      FCA Bates No. 001435.
  172
      FCA Bates No. 001440.
  173
      FCA Bates No. 001261.


                                                44
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                  Wednesday or Thursday if she remains stable with no bleeding. I have
                  talked with her about her clinical course. Currently she is doing fine. Two
                  things would cause us to need to do a hysterectomy: infection or more
                  significant bleeding. She may go home and have to return. I asked her to
                  return to MUSC because we know her case. Also I explained to her she is
                  at risk for sepsis.

                  I do not feel she is medically stable enough to go to the hearing tomorrow.
                  I will send a letter for her.

                  I will talk with her during the week.

                  Addendum:
                  I talked with George G. Her lawyer and Ms. Scannell for about an hour. I
                  am again happy to write her a letter and get it notarized because I do not
                  feel I can let her go to the hearing without medical supervision. Ms.
                  Scannell understands this. I again reviewed with her lawyer, I have no
                  concerns about her taking care of herself or the baby. She has pumped her
                  breast a lot because she feels breast milk is best for her baby. She has also
                  not taken pain medication because she does not want narcotics in her
                  breast milk. So I believe I can send her home and if she gets the baby or
                  sees the baby she will not harm the baby and will take care of the baby. I
                  again reviewed her medical decision making. This is our area of concern.
                  She is intelligent and reads a lot but she cannot believe all she hears and
                  must put it in medical context. She also needs to listen to the doctor. We
                  do not make recommendations that we do not feel are the standard of care.
                  If she does not believe one physician or is concerned about the advice, she
                  is entitled to a second opinion. But if the second doctor says the same as
                  the first she should follow medical advice.174

          156.    On July 15, 2018 at 8:07 p.m. Jenna Jones MacLennan, M.D. issued an

  order for a psychiatric consult for Elizabeth.175

          157.    At 11:00 p.m. on July 15, 2018, Margaret G. Darr, RN noted Elizabeth’s

  mood/behavior as “sad; tearful”.176

          158.    At 9:59 a.m. on July 16, 2018, more than seventy-two hours after giving

  birth, Dr. Head noted Elizabeth’s request for a lactation consultant.177


  174
      FCA Bates No. 001263.
  175
      FCA Bates No. 001798-001799.
  176
      FCA Bates No. 001442; 001511.
  177
      FCA Bates No. 001263-001265


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         159.    Both the South Carolina Department of Social Services and Dr. Johnson

  made a referral to Constance Guille, M.D., for a psychiatric evaluation at 9:40 a.m. on

  July 16, 2018. Dr. Guille documented the following:

                 Elizabeth DeAnna Scannell is a 49 y.o. female who is currently on labor
                 and delivery following a c/s 7/13 which was complicated by placenta
                 accreta. DSS became involved in her case due to concerns that she may be
                 a potential harm to her child because she was not following
                 recommendations to have a c/s and as a result increasing the risk of harm
                 to this child.

                 Patient reports she was in her usual state of health until 7/6 when she
                 experienced vaginal bleeding and consistent with her treatment agreement
                 with Dr. Johnson she presented to MUSC and was admitted for inpatient
                 monitoring. She states that she wanted to have her pregnancy go to at least
                 40 weeks because her understanding was that this was best for the baby’s
                 developing brain and felt that the risk of remaining pregnant was less than
                 the risks of a c/s/delivery for her baby. Her bleeding had decreased, again
                 reassuring her that her baby was not at risk of harm and baby continued to
                 be monitored and findings were reassuring. During her hx on -7/11-12,
                 there was inconclusive evidence of her water breaking so again she was
                 reassured that the baby was not being harmed in anyway by continuing
                 this pregnancy. On Thursday 7/12 patient reports seeing a security guard
                 outside her bedroom and when she went out in the hall states she overhead
                 him on his phone asking about restraining a pregnant woman- pt states she
                 was frightened and wanted to know what her rights were and if she was
                 able to leave the hospital. She stayed at the hospital with the plan to have a
                 c/s on Friday when Dr. Head returned. She states that she delayed her c/s
                 until Dr. Head's return because it was important to her to have Dr. Head,
                 the Ob that she had worked most closely with throughout her pregnancy,
                 do the c/s 7/13 given that she was not bleeding, her water had not broken
                 and monitoring of baby had been reassuring.

                 When explaining to the patient why DSS had been called, she stated that
                 she would of had the c/s immediately if she had thought that she was
                 putting the baby in harms way. She understood that Dr. Johnson and Dr.
                 Head and others had explained to her the risks of continuing the pregnancy
                 many times and not having a c/s, and she did consider these risk factors,
                 but she felt reassured by all that she had read and what other mothers have
                 told her about pregnancy and L&D. She was able to consider what the
                 physicians recommendations were, as well as contemplate what she has
                 read and understands about pregnancy, and ultimately felt that her
                 decision to continue this pregnancy was in the best interest of the child
                 and in line with her beliefs.



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              The patient states that she would do anything to protect her child and
              would never harm her in anyway. She has no intent, desire or plan to harm
              herself or newborn in any way- and never has. She has wanted to be a
              mother her whole life and has gone to great lengths to make this happen.
              She is appropriately distressed by the separation of her and her newborn.
              She lives alone but is very active in her church and has a number of
              supports and friends through this community. Her community/friends have
              already made a schedule for being at home with her to help caring for the
              child if she had/has a c/s and have created a ‘meal train’ for her. Partner is
              not involved and his role has been consistent with a ‘sperm donor.’

              She denies current symptoms consistent with a depressive or hypomanic
              episode. She denies symptoms consistent with anxiety disorder, including
              panic disorder, GAD or OCD. She views the separation from her daughter
              as a traumatic experience. She has one prior trauma in her 20’s (sexual
              assault) but denies symptoms consistent with PTSD. She denies symptoms
              consistent with AH/VH, or suicidal ideation.

              Past Psychiatric History:
              Previous psychiatric hospitalizations: 2008 at MUSC: depression in the
              context of multiple stressors. She did not have a suicide attempt. She may
              of had thoughts of harming herself, but never attempted suicide, or had a
              plan, intent or desire to end her life.
              Previous suicide attempts: None
              Previous episodes of self-harm: None
              History of violence: None
              Previous psychiatric treatment including therapy, medication trials and
              effect: In 2008 experienced a depressive episode in the context of many
              stressors. Was on an antidepressant for 2-3 years and engaged in
              counseling. She states that the antidepressant was not helpful and her
              symptoms and life improved after stopping this medication. Counseling
              was beneficial
              Previous diagnoses: Depression

              Substance Abuse History:
              Illicit or prescription drug use/abuse: None
              Use of alcohol: None
              Tobacco use: None
              Legal consequences of chemical use: None
              Medical consequences of chemical use: None
              History of complicated withdrawal: None

       160.   Under “Mental Status Evaluation”, Dr. Guille wrote:

              Appearance: no acute distress, appears well nourished and well-developed



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              Musculoskeletal: normal gait and station
              Behavior: appropriate, cooperative
              Speech: normal rate, volume and prosody
              Motor: no PMR or PMA no tremor
              Mood: ‘ I’m okay’
              Affect: Full range
              Thought Process: Linear, logical, appropriate throughout entire interview
              Thought Content: No evidence of hallucinations, delusions, suicidal or
              homicidal ideation, or obsessions
              Perceptions: no abnormal perceptions
              Memory: intact to recent and remote events
              Attention and Concentration: attends and follows interview
              Orientation: to person, place, time and person.
              Memory: recent and remote memory intact.
              Language: fluent, appropriate
              Fund of Knowledge: Average
              Insight: fair
              Judgment: fair

       161.   Under “Assessment – Diagnosis – Plan”, Dr. Guille wrote:

              Elizabeth DeAnna Scannell is a 49 y.o. female with a remote history of a
              depressive episode treated with therapy and medication with a good
              response and no other psychiatric illness. She carries a diagnosis of
              ‘Cluster B’ likely referring to Borderline Personality Disorder. While it is
              not accurate to diagnosis a personality disorder based on an initial
              meeting, if she does have Borderline Personality Disorder this would not
              impair her ability to safely care for her child. Further her history of
              depression also does not impact her ability to care for her child. Her
              history and presentation is consistent with someone whose past
              experiences have led to a mistrust of the medical system and a cognitive
              structure that is inflexible, however, she is aware that her
              experiences/beliefs/behaviors have resulted in others concerns that she
              could potentially harm her child, and understands her need to be
              cognitively more flexible and work with medicine more collaboratively,
              especially around newborn care including well-baby visits etc.
              Diagnosis: Remote History of Major Depression in full remission; Rio
              Borderline Personality Disorder
              Plan:
              1) H/o Major Depression: Past history of depression increases the risk of
              postpartum depression. Patient to be provided with information about PPD
              and her individual risk as well as resources for treatment. Please refer to
              psych women's services walk in clinic 1-2 weeks after discharge to check
              in and monitor of signs/symptoms of postpartum depression/anxiety etc.
              Walk in Clinic now Mondays and Wednesdays at 8:30am-10:30am.




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                  2) Maternal-Infant Separation: Please refer to psych women's services
                  walk in clinic to get therapy started in attempt to prevent PTSD like
                  symptoms.

                  3) Newborn Care: would recommend immediate reunion of mom and baby
                  to foster bonding and breastfeeding while in hospital. Once DSS valuation
                  is complete recommend return of custody with above plan of care as well
                  as patient bringing identified friend to all pediatrician visits.

          162.    On July 16, 2018 at 11:00 a.m. Nurse Bethea documented that Elizabeth’s

  observed emotional state was, “accepting; calm; cooperative” and her verbalized

  emotional state was, “acceptance”.178 Although Nurse Bethea marked most of the

  elopement factors as no, under “Lack of cognitive decision making”, she wrote, “Yes per

  court decision deemed legally incompetent…”179

          163.    Herman Harris, a Chaplin at MUSC noted at 11:46 a.m. that a SCDSS

  caseworker was in Elizabeth’s room.180

          164.    On July 16, 2018 at 12:25 p.m. Kathryn Bethea, RN noted that a SCDSS

  caseworker was in Elizabeth’s room speaking with her.181

          165.    Kelly Finke, MSW documented on July 16, 2018 at 2:13 p.m. that she

  “received a consult for “depression screening”. Pt had a Psych consult ordered and

  completed as well. SW will defer to the Psych Consult as depression was addressed in the

  consult.”182

          166.    At 2:00 p.m. on July 16, 2020 a probable cause hearing was held at the

  Charleston County Family Court. Elizabeth remained in the hospital and was represented

  by counsel. SCDSS stated that it wished to “relinquish custody [of Elizabeth Scannell]


  178
      FCA Bates No. 001443.
  179
      FCA Bates No. 001448.
  180
      FCA Bates No. 001269-001270.
  181
      FCA Bates No. 001270.
  182
      FCA Bates No. 001271.


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  and would like to dismiss the adult protective services case.” SCDSS recommended,

  “return of custody of the infant to Ms. Scannell. However, in that case, DSS is asking to

  keep the case open for an investigation phase.”

         167.    Vivian Fairbairn, an attorney for MUSC attended the hearing. Ms.

  Fairbairn informed the Family Court:

                 our concern was given her condition before the c-section, it had been
                 recommended that the fear was if she went into delivery -- started to
                 deliver, we had a four minute window to be able to perform the procedure
                 to save her life. We went ahead and got the emergency protective custody
                 to be able to save both, but in the interim before we shared that
                 information with her, she consented to the c-section on her own.

         168.    At the hearing, Caseworker Cynthia Bradford learned from the SCDSS

  attorney the following:

                 Ms. Scannell took a Psychiatric exam this morning and nothing was
                 flagged and MUSC attorney is here to state that MUSC believes Baby Girl
                 Scannell needs to be returned to Ms. Scannell and that would be in
                 everyone’s best interest.

         169.    The Family Court Judge ruled from bench and ordered the return of

  newborn child to her mother’s custody, approximately seventy-eight hours after the baby

  was born, and dismissed the Adult Protective Services case against Elizabeth. The filed

  interim custody order and the filed Probable Cause order both return the child to

  Elizabeth’s custody without any limitations except that she “should cooperate fully with

  SCDSS investigation, to include signing all necessary releases.” Elizabeth continued to

  endure grievous mental and emotional suffering.

         170.    SCDSS continued the unlawful seizure and kept the baby in foster care

  overnight. Despite the Family Court’s orders, SCDSS insisted in violation of her rights

  that Elizabeth have another adult supervise her around her child.




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          171.    After the hearing, at 3:00 p.m. on July 16, 2018 Nurse Bethea changed the

  elopement risk for “Lack of cognitive decision making” to “No per court ordered pc

  deemed competent for self and baby”.183 No changes in Elizabeth’s cognitive decision

  making was recorded.

          172.    Kelly Finke, MSW received a telephone call from Donna Cunningham, an

  adult protective services caseworker at SCDSS, on July 16, 2018 at 3:41 p.m. and

  documented the following:

                  Donna Cunningham, APS worker, who stated she is currently still at court
                  for pt and the baby, but the judge has ordered that pt’s rights be returned to
                  her and ordered that physical and legal custody of the baby be returned to
                  pt as well. SW verified this with pt’s CPS worker, Cindy Bradford. SW
                  informed the medical team of the above information. SW will remain
                  available as needed.184

          173.    Teresa Del Prince, RN received the report regarding the restoration of

  Elizabeth’s individual rights and her parental rights at 3:41 p.m. and wrote that she

  “[w]ill speak with charge about plan and have a witness for all encounters with patient

  before taking her to AP.”185 At 7:22 p.m., Nurse Del Prince noted:

                  I entered room with Jessica Simmons RN and wheel chair to take patient
                  to antepartum. Patient requests 10 more minutes to say good bye to her
                  lawyer.

                  I spoke with Kathi Teske RN regarding her care. We will not be doing a
                  patient assessment as to not irritate her; additionally, she will have one
                  done when she gets to antepartum shortly.186

          174.    It should be noted that MUSC did not initiate any mental health care plans

  until July 16, 2018, four days after it claimed Elizabeth was incompetent.187 These


  183
      FCA Bates No. 001448.
  184
      FCA Bates No. 001271.
  185
      FCA Bates No. 001271.
  186
      FCA Bates No. 001271
  187
      FCA Bates No. 001881-001895.


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  include issues with anxiety,188 attachment,189 breastfeeding,190 positive maternal

  experience (seriously),191 depression,192 and thought process alteration.193

          175.    Despite the Family Court returning Elizabeth’s parental rights, and before

  any further investigation, SCDSS negligently insisted that she enter into a safety plan and

  have another adult supervise her with her own child.

          176.    SCDSS informed Elizabeth that it would not return her child and it would

  not let Elizabeth be discharged from the hospital if she did not sign a safety plan.

          177.    More than four days after giving birth, and still without her newborn, on

  July 17, 2018 SCDSS, Cynthia Bradford, and Mosetta Clark forced Elizabeth to sign a

  safety plan and move into her friend’s home instead of returning to her own home. They

  told Elizabeth that the Court ordered her to have a supervisor. Fearful of never being able

  to care for her baby, Elizabeth signed the safety plan and succumbed to their demands

  that she be supervised with her child. Cynthia Bradford, Mosetta Clark, and SCDSS

  required these supervisors to undergo criminal background checks and supervise

  Elizabeth 24-hours a day.

          178.    Dr. Chang met with Elizabeth on July 17, 2018 at 11:22 a.m. Dr. Chang

  noted, “Yesterday, the court determination was that she is capable of caring for herself

  and her baby. She is waiting to receive the baby from the Foster parents. She has not

  required narcotics…DSS has planned re-evaluation after discharge. Appreciate Social

  Work’s help/involvement.”194


  188
      FCA Bates No. 001881.
  189
      FCA Bates No. 001882.
  190
      FCA Bates No. 001883.
  191
      FCA Bates No. 001884.
  192
      FCA Bates No. 001892.
  193
      FCA Bates No. 001894-001895.
  194
      FCA Bates No. 001281-001282


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          179.    Elizabeth was discharged from MUSC by Dr. Chang at 12:22 p.m. on July

  17, 2018.195 Dr. Chang noted the following in his discharge notes:

                  Pt was admitted with a diagnosis of marginal previa. Delivery was
                  recommended and she continued to refuse. Plan was made to proceed with
                  Lap counts and fetal testing. She agreed to a plan of care outlined by
                  MFM with respect to her bleeding/fetal monitoring. She was monitored on
                  the Antepartum unit Pt requested induction but this was not done because
                  of her placenta previa.

                  Despite multiple attempts due to her bleeding and previa, she continued to
                  refuse definitive treatment with C/S. Psychiatry was consulted to evaluate
                  the patient. The patient refused to talk to the Psychiatry team, see their
                  note for details.

                  The patient finally agreed to a planned C/S on 7/13.
                  …
                  With respect to her psychosocial situation, she was granted custody of her
                  child and was found to be competent to make her own medical decisions
                  on 7/16/18. Social work and DSS are involved and aware of the situation
                  and we were cleared to discharge her. She will be seen in our office in one
                  week and will follow-up with psychiatry as well.196

          180.    Lucile D. Eidson, RN noted her observations of Elizabeth in her

  antepartum room at 1:00 p.m. on July 17, 2018, over one hundred hours after birth,

  “Baby returned to mom from DSS, lactation called to assist mom.”197

          181.    At 4:00 p.m. on July 17, 2018, Lucile D. Eidson documented Elizabeth’s

  observed emotional state as, “anxious; apprehensive; cooperative” and her

  mood/behavior as “anxious”.198

          182.    On July 17, 2018 Elizabeth left the hospital with her baby and entered

  twenty-four hour a day supervision at her own home. Because she was forced to have 24-

  hour a day supervision by SCDSS, she relied on friends and church members, over ten


  195
      FCA Bates No. 001278-001281.
  196
      FCA Bates No. 001278-001281.
  197
      FCA Bates No. 001286.
  198
      FCA Bates No. 001451-001452; 001516.


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  different women, to come to her home and spend the night. When no one was available,

  she had to pay someone to stay with her. SCDSS required each supervisor to provide

  their personal information, undergo criminal background checks, and child protective

  services background checks.

         183.   After spending over $500.00 for supervision, Elizabeth realized she could

  not afford this situation and she moved into the home of Henry and Susan Brown.

         184.   On July 30, 2018 Cynthia Bradford learned that Elizabeth had seen

  psychiatrist Connie Guille, M.D., for an assessment. SCDSS learned Dr. Guille

  determined Elizabeth was mentally fit to take care of the baby. Dr. Johnson informed

  Cynthia Bradford, “I am comfortable to tell you she is not depressed.” Dr. Johnson also

  told Cynthia Bradford, “70% of people who take babies home are more incapable than

  Elizabeth.” Dr. Johnson also informed Cynthia Bradford:

                the Ethics committee told us we need to C-section this lady against her
                will. We are taught not to do that. There is a law in South Carolina if you
                don’t protect viable unborn child that you can be prosecuted, so I created
                that plan for her so the faculty and Ms. Scannell would feel comfortable
                because I wasn’t always available to let them know when she would be
                willing to do a C-section so we didn't feel like she had to do anything
                against her will. I am the chair of this department, I managed this because
                there was so much controversy among my faculty.

                …the issue was the pediatrician was overzealous. First of all, pediatricians
                think much differently than obstetricians do. The pediatrician (Dr. Amaya)
                never met the woman. Elizabeth is competent. Dr. Amaya was upset
                because the lady didn’t get a C-section. We have to be careful as
                healthcare providers to make sure we don't put our values onto others.
                Every time she (Ms. Scannell) bled, she came to the hospital. Elizabeth
                did what she said she would do. l was disappointed on Thursday (7/ I 2/
                18) when Elizabeth said she didn't want the C-section. When she was
                thinking about something, she usually meant she didn't get it.

         185.   On August 2, 2018 Cynthia Bradford and Mosetta Clark made a home

  visit to the home of Henry and Susan Brown, where Elizabeth was forced to stay by



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  SCDSS. The SCDSS caseworkers did not note any safety or health hazards and there

  were no marks or bruises on the baby.

         186.    On August 7, 2018 SCDSS, Cynthia Bradford and Mosetta Clark, ended

  their investigation and determined Elizabeth had physically abused the minor child due to

  an incident of alleged domestic violence on June 29, 2018, two weeks before the child

  was even born.

         187.    On August 8, 2018, Dr. Johnson testified, under oath, regarding

  Elizabeth’s delay in having a caesarean section and stated the following:

                 …she understood that from 35 weeks to 40 weeks there were brain
                 development that was useful to the baby, that's why she wanted to delay
                 her treatment.

                 …her intentions were to be a good mother. I don't know exactly what kind
                 of research she did. I know she visited the March of Dimes website.

                 …her decisions were consistent with that with the exception that they're
                 talking about low risk patients and that was where we differed…

                 …when I talked with her about -- there was no -- the only thing after 41
                 weeks was risk. She agreed with the c-section.

                 In her sight, she was only doing what she felt like was very safe and the
                 best for her child.

                 So she was very conscientious… she had very justified reason and I
                 understood that. But, most people when I tell them to be delivered by 37
                 weeks, they will be, okay. But, she had what she felt was reasonable and I
                 didn't -- when I challenged it medically, I didn't challenge it by EPC, you
                 know, a Judge's order or anything like that.

                 So as a patient, I feel like she advocated for her child, okay.

  Dr. Johnson also agreed, that, “…when push came to shove, [Elizabeth] agreed to a c-
  section.”

         188.    On August 10, 2018 the SCDSS transferred case management of the CPS

  case from Cynthia Bradford to Louchetia Simmons-Robinson.



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           189.   On August 14, 2018 Emilio Macedonio signed an affidavit stating that the

  physical altercations in June 2018 that SCDSS complained about were not Elizabeth’s

  fault.

           190.   On August 22, 2018 SCDSS determined that Title IV-E of the Social

  Security Act would not pay for the baby’s stay in foster care due to the failure to meet

  deprivation standards.

           191.   On August 23, 2018 Louchetia Robinson-Simmons conducted a home

  visit at the Brown’s home. Elizabeth informed the SCDSS caseworker that she wanted to

  go to her own home with her baby. SCDSS told Elizabeth she needed to be assessed for

  “Paternal Fitness” and a domestic violence assessment and she would have to pay for

  these assessments. Elizabeth also stated that she was having to pay people to provide

  supervision for her.

           192.   On August 23, 2018 Elizabeth filed a motion to dismiss the Child

  Protective Services Case against her.

           193.   On August 31, 2018 MUSC responded to several interrogatories from the

  Charleston County Legislative Delegations regarding the seizure of Elizabeth and her

  baby. MUSC stated:

                  DSS was contacted because the patient was 41 weeks pregnant and Dr.
                  Johnson felt that with placenta previa and an age of 49 years, that the
                  patient required a c-section. The patient had previously agreed to undergo
                  a c-section on multiple dates, but withdrew her consent when each date
                  arrived stating that that she wanted to afford the baby more development
                  time and wished to have natural delivery. At 41 weeks, Dr. Johnson was of
                  the opinion that the baby would not benefit from remaining in utero and
                  could be harmed. The EPC was put in place as MUSC needed to be
                  prepared to proceed with the c-section to prevent harm to the mother and
                  the full term baby if the patient failed to consent to the c-section of her
                  own accord.




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         194.    On August 31, 2018 SCDSS finalized a Family Assessment which

  required Elizabeth to participate in a parental fitness assessment, parenting classes, and

  she was required to have supervised contact with her child.

         195.    On September 10, 2018 Ms. Scannell informed Ms. Louchetia Simmons-

  Robinson that she did not have the $2,000 to pay for the parental fitness assessment.

         196.    By September 24, 2018 Rubin Aujla, M.D. wrote a memorandum stating:

                 Ms. Scannell ' s mental health diagnosis is that she has a remote history of
                 major depression, which means that she has experienced depression
                 symptoms in the past. She does not currently have any depression
                 symptoms, and has not had any symptoms since working with me. She has
                 not displayed any symptoms relating to any other psychiatric disorders
                 since working with me. I am not prescribing any medications to Ms.
                 Scannell, as she does not require any mental health medications currently.
                 She has attended all of her appointments and has fully engaged in
                 treatment. I would have no concerns at this time if Ms. Scannell were to
                 discontinue therapy.

                 On August 28th Ms. Scannell brought her baby to her appointment with
                 me, which allowed me to observe her interaction and relationship with her
                 baby. Patient interaction with baby very appropriate, no distress when
                 baby cried, able to sooth baby appropriately and meet baby's immediate
                 needs. During my time working with Ms. Scannell, and while observing
                 her with her baby, I have not had any concerns regarding her baby's safety.
                 I do not have any concerns that Ms. Scannell is a danger to herself or
                 anyone else.

         197.    SCDSS completely disregarded Dr. Aujla’s memorandum.

         198.    On September 25, 2018 Louchetia Simmons-Robinson and Jane Bell

  conducted another home visit at the Brown’s home where Elizabeth and her baby were

  trapped. Even though she was represented by an attorney, the two caseworkers attempted

  to force Elizabeth to sign a treatment plan that included a “Paternal Fitness assessment”

  and a psychological examination and pay $650 for the assessment.




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         199.    On October 16, 2018 SCDSS, more than three months after the

  Elizabeth’s cesarean surgery and 24/7 supervision, Louchetia Simmons-Robinson, and

  Jane Bell recommended to the Family Court that Elizabeth complete a psychological

  evaluation with a parental fitness component, participate in individual counseling, and

  complete a domestic violence batterer’s assessment.

         200.    That same day, the Family Court dismissed the case for lack of

  jurisdiction as the allegations of domestic violence did not even allege the child was

  harmed and the Agency lacked any evidence regarding medical neglect as Elizabeth

  complied with the caesarean section procedure.

         201.    Elizabeth Scannell suffered physical, mental, and emotional injuries from

  (1) wrongful seizure, (2) having her newborn daughter wrongfully seized, (3) from being

  forced to live outside her home and under supervision of third parties. She suffered

  physical pain after her daughter was seized. She was not allowed to physically and

  emotionally bond with her daughter or breastfeed her daughter. She no longer trusts

  medical professionals and service providers. She is fearful of law enforcement, social

  workers, physicians, and nurses. She panics when her doorbell is rung. She has

  nightmares that SCDSS or law enforcement will take her child. She is fearful of leaving

  her daughter with others. She is fearful when her daughter receives a cut, scrape, or

  bruise from playing. Elizabeth Scannell’s life will never be the same.

                                   III.   Causes of Action

                         FOR A FIRST CAUSE OF ACTION
   (Gross Negligence – South Carolina Tort Claims Act – South Carolina Department
                                  of Social Services)

         202.    Plaintiff incorporates paragraphs 1 – 201 as if stated herein verbatim.




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         203.    That under the South Carolina Tort Claims Act, § 15-78-10 et seq. of the

  Code of Laws of South Carolina 1976, as amended, and the Common Law of South

  Carolina, Defendant SCDSS is liable for its tortious acts and the tortious acts of its

  employees and agents performed in the scope of their employment.

         204.    That Plaintiff alleges Defendant SCDSS owed a duty of care to Elizabeth

  Scannell because it is statutorily charged by the General Assembly to provide social

  services to Elizabeth Scannell as a client.

         205.    That SCDSS and its employees and agents, acting within the scope of their

  employment, were willful, wanton, careless, grossly negligent, and failed to exercise even

  slight care using threats, intimidation, false statements, suppression of evidence, and

  abuse of its authority to extrajudicially limit Elizabeth Scannell’s custody and

  relationship with her daughter during a critical period of human development and need

  for attachment, force her into a safety plan, telling her the Family Court ordered her to

  have a supervisor, forcing her to live outside of her home, and requiring she be

  supervised 24 hours a day, seven days a week, with her new born daughter for three

  months, until October 16, 2018. This was made upon threats of seizing her child again

  just after she got to hold her newborn for the first time after her newborn was taken

  immediately after birth, all without cause or justification.

         206.    That Plaintiff further alleges that Defendant SCDSS’s breach of its duty

  was the proximate cause of Plaintiff Elizabeth Scannell’s damages.

         207.    That as a result of the actions of Defendant SCDSS, Plaintiff Elizabeth

  Scannell suffered damages, financial loss, mental and emotional harm and suffering,




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  physical harm, harm to her relationship with her daughter, loss of enjoyment of life, and

  future damages as the direct and proximate result of SCDSS’s tortious conduct.

          208.    That Plaintiff asks the Court to award damages and costs of this action.


                            FOR A SECOND CAUSE OF ACTION
             (42 U.S.C. §1983 against Cynthia Bradford, Mosetta Clark, Louchetia
           Simmons-Robinson, and Jane Bell for violation of Amendments IV, V, and
                             XIV of the United States Constitution)


          209.    Plaintiff incorporates paragraphs 1 – 208 as if stated herein verbatim.

          210.    That Plaintiff Elizabeth Scannell asserts Defendants Cynthia Bradford,

  Mosetta Clark, Louchetia Simmons-Robinson, and Jane Bell, acting under color of law,

  violated her constitutional rights under the Fourth, Fifth, and the Fourteenth Amendment

  of the United States Constitution.

          211.    That the Fifth and Fourteenth Amendment to the United States

  Constitution guarantees the right to due process under the law and freedom from

  unlawful seizure under the Fourth Amendment of the United States Constitution.

          212.    That under 42 U.S.C. § 1983, persons acting under color of state law are

  liable for violating constitutional rights.

          213.    That SCDSS has a long history of allowing its caseworkers, to include

  Cynthia Bradford, Mosetta Clark, Louchetia Simmons-Robinson, and Jane Bell to

  remove children under the guise of safety plans by using threats, intimidation, false

  statements, suppression of evidence, and abusing their authority as caseworkers to detain

  children and family members under the guise of providing services for the South Carolina

  Department of Social Services, which is a violation of the Fourth, Fifth, and Fourteenth

  Amendment of the United States Constitution.



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         214.    Michael Leach, as the Director of the South Carolina Department of Social

  Services is responsible for implementing policies and procedures related to the use,

  implementation, and due process protections for safety plans and kinship care plans – the

  shadow foster care system. Michael Leach has failed to provide any post-deprivation

  process for parents whose children are wrongfully seized, hidden from oversight by the

  Family Courts. Michael Leach is aware of the due process violations of safety plan and

  kinship care plans through (1) nationwide public policy discussions through the United

  States Department of Health and Human Services and other State, County, Municipal,

  and Tribal social services agencies, (2) social work policy discussions through

  professional trainings and peer-reviewed academic works, and (3) specific cases here in

  South Carolina and through his former employment in Tennessee. With this knowledge,

  SCDSS has refused to offer due process protections for families and children who are

  wrongfully seized.

         215.    That despite the Family Court issuing an order restoring Elizabeth

  Scannell’s parental rights, Cynthia Bradford, Mosetta Clark, Louchetia Simmons-

  Robinson, and Jane Bell used threats, intimidation, false statements, suppression of

  evidence, and abuse of their authority to extrajudicially limit Elizabeth Scannell’s

  custody and relationship with her daughter and force her into a safety plan, telling her the

  Family Court ordered her to have a supervisor, forcing her to live outside of her home,

  and requiring she be supervised with her new born daughter for three months, until

  October 16, 2018. This was made upon threats of seizing her child again, all without

  cause or justification, in violation of Elizabeth Scannell’s Fourth, Fifth, and Fourteenth

  Amendment Rights under the United States Constitution




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         216.    That Cynthia Bradford, Mosetta Clark, Louchetia Simmons-Robinson, and

  Jane Bell refused to allow Elizabeth Scannell to resume sole custody of her child despite

  a court order and physicians opining she did not present a threat of harm to herself or her

  daughter.

         217.    That these actions by Cynthia Bradford, Mosetta Clark, Louchetia

  Simmons-Robinson, and Jane Bell are part of Defendant SCDSS’s policy, custom,

  pattern, or practice of violating the constitutional rights of children, parents, and families.

         218.    That Elizabeth Scannell suffered damages, financial loss, mental and

  emotional harm and suffering, physical harm, harm to her relationship with her daughter,

  loss of enjoyment of life, and future damages as the direct and proximate result of the

  constitutional violations by Defendants Cynthia Bradford, Mosetta Clark, Louchetia

  Simmons-Robinson, and Jane Bell.

         219.    That Plaintiff Elizabeth Scannell asks the Court to award her damages,

  punitive damages, and attorney’s fees and costs for this action.

         220.    That Plaintiff Elizabeth Scannell asks the Court to provide injunctive relief

  and attorney’s fees and costs against Michael Leach, as the director of South Carolina

  Department of Social Services.



                         FOR A THIRD CAUSE OF ACTION
   (Gross Negligence – South Carolina Tort Claims Act – Medical University of South
                                      Carolina)

         221.    Plaintiff incorporates paragraphs 1 – 220 as if stated herein verbatim.

         222.    That Plaintiff alleges that a duty of care was owed Elizabeth Scannell by

  Defendant Medical University of South Carolina to:




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                 (a) Not place a patient in emergency protective custody unless they
                     presented an actual threat of harm to themselves or others;
                 (b) Not place a patient in prophylactic emergency protective custody
                     because they might not agree to a procedure;
                 (c) Not place a patient in prophylactic emergency protective custody
                     because they might present a threat of harm to their fetus in the
                     uncertain future;
                 (d) Not place a patient in emergency protective custody when a
                     psychiatric examination demonstrated the patient was not a threat of
                     harm to herself or others;
                 (e) Not place a child into emergency protective custody unless the
                     evidence showed the child was being harmed or there was an actual
                     threat of herm to the child;
                 (f) Violate rules of medical ethics in placing a patient in emergency
                     protective custody to force a mother to submit to a caesarean section
                     when there is no actual harm to the fetus;
                 (g) Violate rules of medical ethics in placing a patient in emergency
                     protective custody for a surgery thirteen hours before it is scheduled;
                 (h) Violate rules of medical ethics in placing a patient in emergency
                     protective custody when a psychiatric examination demonstrated the
                     patient was not a threat of harm to herself or others;
                 (i) Violate rules of medical ethics in restraining a patient and not allowing
                     her to seek another medical opinion;
                 (j) Violate rules of medical ethics by placing a child in emergency
                     protective custody when the child was not harmed and there was no
                     actual threat of harm to the child;


         223.    That Defendant Medical University of South Carolina breached all of the

  above listed duties in the provision of medical treatment and provision of services to

  Elizabeth Scannell and after the birth of her daughter.

         224.    That Plaintiff further alleges Defendant Medical University of South

  Carolina breached its duty and it was the proximate cause of Plaintiff’s damages.

         225.    That as a result of Defendant Medical University of South Carolina’s

  breach of its duty, Elizabeth Scannell suffered damages, financial loss, mental and

  emotional harm and suffering, physical harm, harm to her relationship with her daughter,

  loss of enjoyment of life, and future damages as the direct and proximate result.




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          226.    That Plaintiff Elizabeth Scannell asks the Court to award her damages and

  costs of this action.



                         FOR A FOURTH CAUSE OF ACTION
             (42 U.S.C. §1983 against Donna Johnson, Michelle Irene Amaya, Kelly
              Finke, MUSC Administrator 1, MUSC Administrator 2, and MUSC
             Administrator 3 for violation of Amendments IV and XIV of the United
                                       States Constitution)


          227.    Plaintiff incorporates paragraphs 1 – 226 as if stated herein verbatim.

          228.    That Plaintiff Elizabeth Scannell asserts Defendants Donna Johnson,

  Michelle Irene Amaya, Kelly Finke, MUSC Administrator 1, MUSC Administrator 2,

  and MUSC Administrator 3, acting under color of law, violated her constitutional rights

  under the Fourth Amendment and the Fourteenth Amendment of the United States

  Constitution.

          229.    That the Fourteenth Amendment to the United States Constitution

  guarantees the right to due process under the law and freedom from unlawful seizure

  under the Fourth Amendment of the United States Constitution.

          230.    That under 42 U.S.C. § 1983, persons acting under color of state law are

  liable for violating constitutional rights.

          231.    That on July 12, 2018, Defendant Donna Johnson unlawfully seized

  Elizabeth Scannell, even though she was not a threat to herself or others nor a victim of

  abuse or neglect, by placing her in emergency protective custody, so that she could

  perform a caesarean section thirteen hours later, in violation of Elizabeth Scannell’s

  Fourth and Fourteenth Amendment Rights.




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         232.   That upon information and belief, MUSC Administrator 1, MUSC

  Administrator 2, and MUSC Administrator 3, ordered Dr. Johnson to place Elizabeth

  Scannell into emergency protective custody, in violation of Elizabeth Scannell’s Fourth

  and Fourteenth Amendment Rights.

         233.   That on July 12, 2018, Michelle Irene Amaya, who had never met with

  Elizabeth Scannell or spoken with her, ordered Kelly Finke to report Elizabeth Scannell

  to SCDSS for harming her unborn child despite the fact that no harm had been done and

  there was no threat of harm and the hospital had scheduled the caesarean section fourteen

  hours from the time she made the complaint. This was in violation of Elizabeth

  Scannell’s Fourth and Fourteenth Amendment Rights.

         234.   That upon information and belief, MUSC Administrator 1, MUSC

  Administrator 2, and MUSC Administrator 3, allowed Michelle Irene Amaya and Kelly

  Finke to place A.D.S. into emergency protective custody, in violation of Elizabeth

  Scannell’s Fourth and Fourteenth Amendment Rights.

         235.   That on July 13, 2018 Michelle Irene Amaya and Kelly Finke placed ADS

  in emergency protective custody despite the fact that Elizabeth Scannell followed

  medical advice and underwent the scheduled caesarean section, there was no harm to

  A.D.S., and there was no threat of herm to A.D.S.

         236.   That on July 13, 2018 Michelle Irene Amaya and Kelly Finke placed ADS

  in emergency protective custody despite the fact that Elizabeth Scannell followed

  medical advice and underwent the scheduled caesarean section, there was no harm to

  A.D.S., and there was no threat of herm to A.D.S.




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         237.    That these acts by Defendants Donna Johnson, Michelle Irene Amaya,

  Kelly Finke, MUSC Administrator 1, MUSC Administrator 2, and MUSC Administrator

  3 were the proximate cause of Elizabeth Scannell’s damages.

         238.    That Elizabeth Scannell suffered damages, financial loss, mental and

  emotional harm and suffering, physical harm, harm to her relationship with her daughter,

  loss of enjoyment of life, and future damages as the direct and proximate result of the

  constitutional violations by Defendants Donna Johnson, Michelle Irene Amaya, Kelly

  Finke, MUSC Administrator 1, MUSC Administrator 2, and MUSC Administrator 3.

         239.    That Plaintiff Elizabeth Scannell asks the Court to award her damages,

  punitive damages, and attorney’s fees and costs for this action.




                         FOR A FIFTH CAUSE OF ACTION
       (Negligence/Gross Negligence – South Carolina Tort Claims Act – Medical
                            University of South Carolina)

         240.    Plaintiff incorporates paragraphs 1 – 237 as if stated herein verbatim.

         241.    That Plaintiff alleges that a duty of care was owed Elizabeth Scannell by

  Defendant Medical University of South Carolina to:

                 (a) Not place a patient in emergency protective custody unless they
                     presented an actual threat of harm to themselves or others;
                 (b) Not place a patient in prophylactic emergency protective custody
                     because they might not agree to a procedure;
                 (c) Not place a patient in prophylactic emergency protective custody
                     because they might present a threat of harm to their fetus in the
                     uncertain future;
                 (d) Not place a patient in emergency protective custody when a
                     psychiatric examination demonstrated the patient was not a threat of
                     harm to herself or others;
                 (e) Not place a child into emergency protective custody unless the
                     evidence showed the child was being harmed or there was an actual
                     threat of herm to the child;



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                  (f) Violate the rules of social work ethics in placing a patient in
                      emergency protective custody to force a mother to submit to a
                      caesarean section when there is no actual harm to the fetus;
                  (g) Violate rules of social work ethics in placing a patient in emergency
                      protective custody for a surgery thirteen hours before it is scheduled;
                  (h) Violate rules of social work ethics in placing a patient in emergency
                      protective custody when a psychiatric examination demonstrated the
                      patient was not a threat of harm to herself or others;
                  (i) Violate rules of social work ethics in restraining a patient and not
                      allowing her to seek another medical opinion;
                  (j) Violate rules of social work ethics by placing a child in emergency
                      protective custody when the child was not harmed and there was no
                      actual threat of harm to the child;


          242.    That Defendant Medical University of South Carolina breached all of the

  above listed duties in the provision of social work services to Elizabeth Scannell and after

  the birth of her daughter.

          243.    That Plaintiff further alleges Defendant Medical University of South

  Carolina breached its duty and it was the proximate cause of Plaintiff’s damages.

          244.    That as a result of Defendant Medical University of South Carolina’s

  breach of its duty, Elizabeth Scannell suffered damages, financial loss, mental and

  emotional harm and suffering, physical harm, harm to her relationship with her daughter,

  loss of enjoyment of life, and future damages as the direct and proximate result.

          245.    That Plaintiff Elizabeth Scannell asks the Court to award her damages and

  costs of this action.



                          FOR A SIXTH CAUSE OF ACTION
       (Violation of the Americans with Disabilities Act, 42 U.S.C. §12102 et seq.)
                                  (Alternative Claim)

          246.    Plaintiff incorporates paragraphs 1 – 245 as if stated herein verbatim.

          247.    A “disability” means”



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                 (A) A physical or mental impairment that substantially limits one or more
                     major life activities of such individual;
                 (B) A record of such impairment;
                 (C) Being regarded as having such an impairment.


  42 U.S.C. §12102(1).

         248.    An individual meets the requirements of “being regarded as having such a

  impairment” if the individual establishes that he or she has been subjected to an action

  prohibited under this Act because of an actual or perceived physical or mental

  impairment whether or not the impairment limits or is perceived to limit a major life

  activity. 42 U.S.C. §12102(3)(A).

         249.    42 U.S.C. §12203 states, “It shall be unlawful to coerce, intimidate,

  threaten, or interfere with any individual in the exercise or enjoyment of, or on account of

  his or her having exercised or enjoyed, or on account of his or her having aided or

  encouraged any other individual in the exercise or enjoyment of, any right granted or

  protected by this Act.”

         250.    In giving the Plaintiff proper treatment, the Defendant Medical University

  of South Carolinan would have realized she was not mentally incompetent.

         251.    Defendant Medical University of South Carolina is a “department, agency,

  special purpose district, or other instrumentality of” the State of South Carolina and is

  defined as a “public entity” under the Americans with Disabilities Act.

         252.    Plaintiff is a qualified individual under the Americans with Disabilities

  Act in that she was perceived to have a disability and was denied reasonable services by

  the Defendant Medical University of South Carolina.

         253.    Defendant Medical University of South Carolina violated the American

  with Disabilities Act by claiming and perceiving she was mentally incompetent but it


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  refused to provide her with services and treatment when she was seized and placed into

  the care of Defendant Medical University of South Carolina.

          254.    As a direct cause of Defendant Medical University of South Carolina’s

  violation of the American’s with Disabilities Act, Plaintiff suffered damages and special

  damages.

          255.    Plaintiff asks the Court to award damages, special damages, punitive

  damages, and attorney’s fees and costs.



                       FOR A SEVENTH CAUSE OF ACTION
  (Civil Conspiracy as to Donna Johnson, Michelle Irene Amaya, Kelly Finke, MUSC
         Administrator 1, MUSC Administrator 2, and MUSC Administrator 3)

          256.    Plaintiff incorporates paragraphs 1 – 255 as if stated herein verbatim.

          257.    For the purposes of this cause of action, Defendants Donna Johnson,

  Michelle Irene Amaya, Kelly Finke, MUSC Administrator 1, MUSC Administrator 2,

  and MUSC Administrator 3 are sued in their individual capacities.

          258.    Defendants Donna Johnson, Michelle Irene Amaya, Kelly Finke, MUSC

  Administrator 1, MUSC Administrator 2, and MUSC Administrator 3 entered into a

  conspiracy for the purposes of injuring the Plaintiff.

          259.    Defendants Donna Johnson, Michelle Irene Amaya, Kelly Finke, MUSC

  Administrator 1, MUSC Administrator 2, and MUSC Administrator 3 demonstrated

  actual malice in their acts.

          260.    As a direct result of this conspiracy, Plaintiff suffered damages and special

  damages.




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         261.    Plaintiff asks the Court to award damages, special damages, and punitive

  damages.



                       FOR AN EIGHTH CAUSE OF ACTION
   (Abuse of Process – as to MUSC under the South Carolina Tort Claims Act and as
    to Donna Johnson, Michelle Irene Amaya, Kelly Finke, MUSC Administrator 1,
                MUSC Administrator 2, and MUSC Administrator 3)

         262.    Plaintiff incorporates paragraphs 1 – 258 as if stated herein verbatim.

         263.    Defendant Medical University of South Carolina used process not proper

  in the regular conduct of proceedings, in that it placed Plaintiff in Emergency Protective

  Custody even though Plaintiff was competent and the Plaintiff and her unborn child were

  in no immediate harm, for an ulterior purpose, so that MUSC could perform a Caesarian

  section upon Plaintiff thirteen hours later to relieve their liability concerns and without

  regard to the fiduciary duty they owed this patient,.

         264.    For the purposes of this cause of action, Defendants Donna Johnson,

  Michelle Irene Amaya, Kelly Finke, MUSC Administrator 1, MUSC Administrator 2,

  and MUSC Administrator 3 are sued in their individual capacities.

         265.    Defendants Donna Johnson, Michelle Irene Amaya, Kelly Finke, MUSC

  Administrator 1, MUSC Administrator 2, and MUSC Administrator 3 used process not

  proper in the regular conduct of proceedings, abusing their fiduciary duty, in that they

  placed Plaintiff in Emergency Protective Custody even though Plaintiff was competent

  and the Plaintiff and her unborn child were in no immediate harm, for an ulterior purpose,

  so that MUSC physicians could perform a Caesarian section upon Plaintiff thirteen hours

  later, when it was convenient for the physicians to do so.




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          266.    Defendants Donna Johnson, Michelle Irene Amaya, Kelly Finke, MUSC

  Administrator 1, MUSC Administrator 2, and MUSC Administrator 3 demonstrated

  actual malice in their acts.

          267.    As a direct result of this abuse of process by the Defendants, Plaintiff

  suffered damages and special damages.

          268.    Plaintiff asks the Court to award damages, special damages, and punitive

  damages (when allowed by statute or common law).



                           FOR A NINTH CAUSE OF ACTION
                       (Assault as to MUSC Public Safety Supervisor)

          269.    Plaintiff incorporates paragraphs 1 – 268 as if stated herein verbatim.

          270.    For the purposes of this cause of action, Defendant MUSC Public Safety

  Supervisor is sued in her individual capacity.

          271.    Defendant MUSC Public Safety Supervisor inflicted forcible contact on

  the person of the Plaintiff.

          272.    As a direct result of this assault, Plaintiff suffered damages and special

  damages.

          273.    Plaintiff asks the Court to award damages and special damages.



                      FOR A TENTH CAUSE OF ACTION
  (Fraud and Misrepresentation – as to Donna Johnson, Michelle Irene Amaya, Kelly
  Finke, MUSC Administrator 1, MUSC Administrator 2, and MUSC Administrator
                                         3)

          274.    Plaintiff incorporates paragraphs 1 – 273 as if stated herein verbatim.




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         275.    For the purposes of this cause of action, Defendants Donna Johnson,

  Michelle Irene Amaya, Kelly Finke, MUSC Administrator 1, MUSC Administrator 2,

  and MUSC Administrator 3 are sued in their individual capacities.

         276.    Defendants Donna Johnson, Michelle Irene Amaya, Kelly Finke, MUSC

  Administrator 1, MUSC Administrator 2, and MUSC Administrator 3 made a false

  representation to MUSC Public Safety that Plaintiff was incompetent when they knew

  this was not true and that Plaintiff and her unborn child were being harmed when they

  knew the assertion was not true and a Caesarian section surgery was scheduled thirteen

  hours later.

         277.    They had knowledge of the falsity of these representations as a

  psychiatrist had evaluated Plaintiff previously and not declared Plaintiff incompetent and

  the surgery was scheduled for the next day.

         278.    Defendants Donna Johnson, Michelle Irene Amaya, Kelly Finke, MUSC

  Administrator 1, MUSC Administrator 2, and MUSC Administrator 3 intended that

  MUSC Public Safety act upon this information, place Plaintiff in emergency protective

  custody, and provide the same false information to the Family Court in further

  proceedings.

         279.    Defendants Donna Johnson, Michelle Irene Amaya, Kelly Finke, MUSC

  Administrator 1, MUSC Administrator 2, and MUSC Administrator 3 relied upon their

  positions and authority as physicians and social worker in asserting these falsities.

         280.    MUSC Public Safety Officers relied upon the truth of these false

  statements.




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         281.    MUSC Public Safety Officers had the right to rely upon the truth of these

  false statements.

         282.    MUSC Public Safety Officers placed Plaintiff and her child in emergency

  protective custody as a consequence of these false statements.

         283.    Plaintiff suffered injury as a direct and proximate result of these falsities

  and she suffered damages and special damages.

         284.    Plaintiff asks the Court to award damages, special damages, and punitive

  damages.



                    FOR AN ELEVENTH CAUSE OF ACTION
    (Intentional Infliction of Emotional Distress/Outrage – as to Donna Johnson,
  Michelle Irene Amaya, Kelly Finke, MUSC Administrator 1, MUSC Administrator
                            2, and MUSC Administrator 3)

         285.    Plaintiff incorporates paragraphs 1 – 284 as if stated herein verbatim.

         286.    For the purposes of this cause of action, Defendants Donna Johnson,

  Michelle Irene Amaya, Kelly Finke, MUSC Administrator 1, MUSC Administrator 2,

  and MUSC Administrator 3 are sued in their individual capacities.

         287.    Defendants Donna Johnson, Michelle Irene Amaya, Kelly Finke, MUSC

  Administrator 1, MUSC Administrator 2, and MUSC Administrator 3 intentionally and

  recklessly inflicted severe emotional distress or they were certain that such distress would

  result from their conduct.

         288.    The conduct of Defendants Donna Johnson, Michelle Irene Amaya, Kelly

  Finke, MUSC Administrator 1, MUSC Administrator 2, and MUSC Administrator 3 was

  so extreme and outrageous as to exceed all possible bounds of decency and must be

  regarded as atrocious, and utterly intolerable in a civilized community.



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          289.    The actions of Defendants Donna Johnson, Michelle Irene Amaya, Kelly

  Finke, MUSC Administrator 1, MUSC Administrator 2, and MUSC Administrator 3

  caused Plaintiff’s emotional distress.

          290.    The emotional distress suffered by Plaintiff was severe so that no

  reasonable man could be expected to endure it.

          291.    Plaintiff asks the Court to award damages, special damages, and punitive

  damages.



                    FOR AN TWELFTH CAUSE OF ACTION
   (False Imprisonment – as to Donna Johnson, Michelle Irene Amaya, Kelly Finke,
    MUSC Administrator 1, MUSC Administrator 2, and MUSC Administrator 3)

          292.    Plaintiff incorporates paragraphs 1 – 291 as if stated herein verbatim.

          293.    For the purposes of this cause of action, Defendants Donna Johnson,

  Michelle Irene Amaya, Kelly Finke, MUSC Administrator 1, MUSC Administrator 2,

  and MUSC Administrator 3 are sued in their individual capacities.

          294.    Defendants Donna Johnson, Michelle Irene Amaya, Kelly Finke, MUSC

  Administrator 1, MUSC Administrator 2, and MUSC Administrator 3 intentionally and

  recklessly restrained Plaintiff.

          295.    The restraint was intentional.

          296.    The restraint was unlawful.

          297.    Plaintiff suffered damages and special damages as a result of the false

  imprisonment.

          298.    Plaintiff asks the Court to award damages, special damages, and punitive

  damages.




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                  FOR AN THIRTEENTH CAUSE OF ACTION
  (False Imprisonment – as to Cynthia Bradford, Mosetta Clark, Louchetia Simmons-
                                Robinson, Jane Bell)

          299.     Plaintiff incorporates paragraphs 1 – 298 as if stated herein verbatim.

          300.     For the purposes of this cause of action, Defendants Cynthia Bradford,

  Mosetta Clark, Louchetia Simmons-Robinson, Jane Bell are sued in their individual

  capacities.

          301.     Defendants Cynthia Bradford, Mosetta Clark, Louchetia Simmons-

  Robinson, Jane Bell intentionally and recklessly restrained Plaintiff by threatening to take

  her child if she did not live with a third party.

          302.     The restraint was intentional.

          303.     The restraint was unlawful.

          304.     Plaintiff suffered damages and special damages as a result of the false

  imprisonment.

          305.     Plaintiff asks the Court to award damages, special damages, and punitive

  damages.

                        FOR A FOURTEENTH CAUSE OF ACTION
                (42 U.S.C. §1985 against Donna Johnson, Michelle Irene Amaya, Kelly
                 Finke, MUSC Administrator 1, MUSC Administrator 2, and MUSC
                Administrator 3 for violation of Amendments IV and XIV of the United
                                          States Constitution)


          306.     Plaintiff incorporates paragraphs 1 – 305 as if stated herein verbatim.

          307.     That Plaintiff Elizabeth Scannell asserts Defendants Donna Johnson,

  Michelle Irene Amaya, Kelly Finke, MUSC Administrator 1, MUSC Administrator 2,

  and MUSC Administrator 3, acting under color of law, violated her constitutional rights




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  under the Fourth Amendment and the Fourteenth Amendment of the United States

  Constitution.

         308.     That the Fourteenth Amendment to the United States Constitution

  guarantees the right to due process under the law and freedom from unlawful seizure

  under the Fourth Amendment of the United States Constitution.

         309.     That under 42 U.S.C. § 1985, two or more persons conspired to directly

  and indirectly deprive Plaintiff of equal protection, due process, and equal privileges

  under the law in that Defendants Donna Johnson, Michelle Irene Amaya, Kelly Finke,

  MUSC Administrator 1, MUSC Administrator 2, and MUSC Administrator 3 conspired

  to place Plaintiff into Emergency Protective Custody when no emergency existed and

  there was no threat that Elizabeth would harm herself or her child.

         310.     That under 42 U.S.C. § 1985, two or more persons conspired to directly

  and indirectly deprive Plaintiff of equal protection, due process, and equal privileges

  under the law in that Defendants Michelle Irene Amaya, Kelly Finke, MUSC

  Administrator 1, MUSC Administrator 2, and MUSC Administrator 3 conspired to place

  A.D.S. into Emergency Protective Custody when no emergency existed and there was no

  threat Elizabeth would harm herself or her child.

         311.     That these acts by Defendants Donna Johnson, Michelle Irene Amaya,

  Kelly Finke, MUSC Administrator 1, MUSC Administrator 2, and MUSC Administrator

  3 were the proximate cause of Elizabeth Scannell’s damages.

         312.     That Elizabeth Scannell suffered damages, financial loss, mental and

  emotional harm and suffering, physical harm, harm to her relationship with her daughter,

  loss of enjoyment of life, and future damages as the direct and proximate result of the




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  constitutional violations by Defendants Donna Johnson, Michelle Irene Amaya, Kelly

  Finke, MUSC Administrator 1, MUSC Administrator 2, and MUSC Administrator 3.

         313.    That Plaintiff Elizabeth Scannell asks the Court to award her damages,

  punitive damages, and attorney’s fees and costs for this action.



         WHEREFORE, Plaintiff demands a trial by jury and requests judgment against

  Defendants, jointly and severally, for damages, compensatory damages, punitive damages,

  when allowed by statute or the common law injunctive relief, attorneys’ fees and costs,

  when allowed by statute or the common law, for interest allowed by law, and all other

  compensation this Court deems just, equitable and proper.

                                               Respectfully Submitted,


                                                   By: s/Robert J. Butcher
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                                                       Fed. Bar No. 10731
                                                       Robert J. Butcher
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                                                        Attorneys for Plaintiff
  Camden, South Carolina
  July 13, 2020




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COUNTY OF CHARLESTON ·                    )   NINTH JUDICIAL CIRCUIT

ELIZABETH DE'ANNA SCANNELL,               )   CASE NO. 2020-CP-10-02959
                                                       2020-Nl-10-00059
                                          )
                      PLAINTIFF,          )
                                          )
               vs.                        )
                                          )
SOUTH CAROLINA DEPARTMENT OF              )
SOCIAL SERVICES (SCDSS), MEDICAL
UNIVERSITY OF SOUTH CAROLINA,
CYNTHIA BRADFORD, MOSETTA                             ACCEPTANCE OF SERVICE
CLARK, LOUCHETIA SIMMONS-
ROBINSON, JANE BELL, MICHAEL
LEACH, DONNA JOHNSON, MICHELLE
IRENE AMAYA, KELLY FINKE, MUSC
ADMINISTRATOR 1, MUSC
ADMINISTRATOR 2, MUSC
ADMINISTRATOR 3, AND MUSC
PUBLIC SAFETY SUPERVISOR ,
                                          )
                      DEFENDANTS.         )
                                          )


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Charleston, South Carolina

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                                          )
                      DEFENDANTS.         )
                                          )


         I, D. Jay Davis, Jr., hereby accept delivery of the Summons and Complaint in case

number 2020CP1002959 and the Notice of Intent, Affidavit, Interrogatories, and Summons

and Complaint in case number 2020Nl1000059, required by Rule 4( d), SCRCP on behalf of

the Defendants, Medical University of South Carolina. Donna Johnson, Michelle Irene Amaya,

Kelly Finke, MUSC Administrator 1, MUSC Administrator 2, MUSC Administrator 3 and MUSC

Public Safety Supervisor.




Charleston, South Carolina

Dated:    "7/2-z ,/'2,-o
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STATE OF SOUTH CAROLINA                     )       IN THE COURT OF COMMON PLEAS
                                            )
COUNTY OF CHARLESTON                        )       NINTH JUDICIAL CIRCUIT
                                            )
ELIZABETH DE'ANNA SCANNELL,                 )       CASE NO. 2020-CP-10-02959
                                            )
                                            )
                      PLAINTIFF,            )
                                            )
               vs.                          )
                                            )
SOUTH CAROLINA DEPARTMENT                   )
OF SOCIAL SERVICES (SCDSS),                 )
MEDICAL UNIVERSITY OF SOUTH                 )
CAROLINA, CYNTHIA BRADFORD,                 )
                                                    ANSWER ON BEHALF OF DEFENDANT
MOSETTA CLARK, LOUCHETIA                    )
                                                           DONNA JOHNSON
SIMMONS-ROBINSON, JANE BELL,                )
MICHAEL LEACH, DONNA                        )
JOHNSON, MICHELLE IRENE                     )
AMAYA, KELLY FINKE, MUSC                    )
ADMINISTRATOR 1, MUSC                       )
ADMINISTRATOR 2, MUSC                       )
ADMINISTRATOR 3, AND MUSC                   )
PUBLIC SAFETY SUPERVISOR ,                  )
                                            )
                                            )
                      DEFENDANTS.           )
                                            )
TO: ROBERT J. BUTCHER AND DEBORAH J. BUTCHER, ATTORNEYS FOR THE
PLAINTIFF:

       The Defendant Donna Johnson (hereinafter referred to as “Dr. Johnson” or “this

Defendant”), by and through her undersigned counsel, hereby responds to the allegations set

forth in the Complaint as follows:

       1.      Any allegation set forth in the Complaint not specifically admitted, modified, or

otherwise denied is hereby expressly denied and strict proof is demands thereof.

       2.      This Defendant admits the allegations contained in Paragraph 1 of the Complaint,

upon information and belief.



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        3.      The allegations contained in Paragraphs 2, 3, 4, 5, 6 and 7 of the Complaint are

directed parties other than this Defendant and therefore no response is required.

        4.      Answering the allegations contained in Paragraph 8 of the Complaint, this

Defendant admits that MUSC is a corporation organized and existing under the laws of the State

of South Carolina and that it conducts business in Charleston County, including the facility

where Plaintiff gave birth to A.D.S. Further, this Defendant admits that MUSC is a state agency

and assert that it is covered under the South Carolina Tort Claims Act and is entitled to all

protections, immunities, and limitations of liability afforded thereunder.

        5.      Answering the allegations contained in Paragraph 9 of the Complaint, this

Defendant admits only that she is a physician and professor employed by MUSC. This

Defendant lacks knowledge or information sufficient to form an opinion as to the truth of the

remaining allegations contained in this Paragraph and, therefore, denies the same and demands

strict proof thereof.

        6.      Answering the allegations contained in Paragraph 10 of the Complaint, this

Defendant admits only that Michelle Irene Amaya, M.D., M.P.H. is a physician and associate

professor employed by MUSC. This Defendant lacks knowledge or information sufficient to

form an opinion as to the truth of the remaining allegations contained in this Paragraph and,

therefore, denies the same and demands strict proof thereof.

        7.      Answering the allegations contained in Paragraph 11 of the Complaint, this

Defendant admits only that Kelly Finke, MSW is a Licensed Master Social Worker employed by

MUSC. This Defendant lacks knowledge or information sufficient to form an opinion as to the

truth of the remaining allegations contained in this Paragraph and, therefore, denies the same and

demands strict proof thereof.



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       8.      This Defendant lacks the knowledge or information sufficient to form an opinion

as to the truth of the allegations in Paragraph 12 of the Complaint regarding the residency and

citizenry of unnamed Defendants who are supposedly employed by MUSC, and therefore, denies

the same and demands strict proof thereof. Further responding, this Defendant denies these

alleged MUSC employees ordered or approved of putting Ms. Scannell into emergency

protective custody without cause. Finally, this Defendant lacks knowledge or information

sufficient to form an opinion as to the truth of the remaining allegations contained in Paragraph

12 and, therefore, denies the same and demands strict proof thereof.

       9.      Answering the allegations contained in Paragraph 13 of the Complaint, this

Defendant lacks knowledge or information sufficient to form an opinion as to the truth of the

allegations regarding an unnamed Defendant who is supposedly employed by this Defendant,

and therefore, denies the same and demands strict proof thereof.

       10.     The allegations contained in Paragraphs 14 and 15 of the Complaint call for legal

conclusions and do no warrant a response.

       11.     This Defendant denies the allegations contained in Paragraph 16 of the

Complaint, as stated, and demands strict proof thereof.

       12.     The Defendants would crave reference to Ms. Scannell MUSC IOP’s psychiatric

medical records in response to the allegations contained in Paragraphs 17, 18, 19 and 20 of the

Complaint. Any allegations inconsistent with those records or intended to allege liability or

damages against this Defendant are expressly denied.

       13.     This Defendant denies the allegations contained in Paragraph 21 of the Complaint

and demands strict proof thereof.




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          14.   This Defendant admits Plaintiff’s age, but otherwise is without knowledge or

information sufficient to answer the allegations contained in Paragraphs 22, 23, 24, 25, 26, 27,

28, 29, and 30 of the Complaint and, therefore, denies the same and demands strict proof thereof.

          15.   Answering the allegations contained in paragraph 31 of the Complaint, the

Defendants admits, upon information and belief, Plaintiff was diagnosed with placenta previa at

some point and referred to MUSC. Defendants is without knowledge or information sufficient to

answer the remaining allegations and, therefore, denies the same and demands strict proof

thereof.

          16.   This Defendant is without knowledge or information sufficient to answer the

details of the allegations contained in Paragraphs 32 through 61 of the Complaint, but admits

generally that Plaintiff was seen and evaluated on several occasions at MUSC by Dr. Head, Dr.

Johnson and others during the timeframe in question. Further answering, Defendants crave

reference to the Plaintiff’s medical records for their contents. Any allegations inconsistent with

those records or intended to allege liability or damages against this Defendant are expressly

denied.

          17.   The Defendants denies the allegations contained in Paragraph 62 of the

Complaint, as stated.

          18.   The Defendants would crave referenced to the MUSC medical records in response

to the allegations contained in Paragraphs 63, 64, 65, 66, 67, 68, 69, 70 and 71 of the Complaint.

Any allegations inconsistent with those records or intended to allege liability or damages against

this Defendant are expressly denied.

          19.   This Defendant admits Plaintiff did not want anyone to die during childbirth, but

denies the remaining allegations contained in Paragraph 72 of the Complaint, as alleged.



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       20.     This Defendant would crave reference to the MUSC medical records in answering

the allegations contained in Paragraphs 73, 74, 75, 76, 77, 78, 79, 80, 81, 82, 83, 84, 85, 86, 87,

88, 89, 90, 91, 92, 93, 94, 95, 96, 97, 98, 99, 100, 101, 102, 103, 104, 105, 106, 107, 108, 109

and 110 of the Complaint. This Defendant denies any allegation intended to imply Plaintiff

should have felt “reassured” with regards to her continued disregard for the medical providers’

recommendations. Any allegations inconsistent with those records or intended to allege liability

or damages against this Defendant are expressly denied.

       21.     Answering the allegations contained in Paragraph 111 of the Complaint, this

Defendant admits that a meeting was held by MUSC’s Ethics Committee to discuss the best

course of treatment for Plaintiff and her unborn child. This Defendant would crave reference to

the MUSC medical records regarding the details of their care and treatment. Any allegation

inconsistent with this response is denied.

       22.     This Defendant would crave reference to the Plaintiff’s medical records in

response to the allegations contained in Paragraph 112 of the Complaint. Any allegations

inconsistent with those records or intended to allege liability or damages against this Defendant

are expressly denied.

       23.     This Defendant denies the allegations contained in Paragraph 113 of the

Complaint, as stated, and demands strict proof thereof.

       24.     This Defendant would crave reference to the MUSC medical records in response

to the allegations contained in Paragraph 114 regarding the content of Dr. Navarro’s. This

Defendant lacks knowledge or information sufficient to form an opinion as to Ms. Scannell’s

mental state and therefore, denies the same and demands strict proof thereof.




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       25.     This Defendant is without knowledge or information sufficient to answer the

allegation contained in Paragraphs 115 of the Complaint, but crave reference to the Plaintiff’s

medical records for their contents. Any allegations inconsistent with those records or intended to

allege liability or damages against this Defendant are expressly denied.

       26.     This Defendant would crave reference to the Plaintiff’s medical records in

response to the allegations contained in Paragraph 116 of the Complaint. Any allegations

inconsistent with those records or intended to allege liability or damages against this Defendant

are expressly denied.

       27.     This Defendant is without knowledge or information sufficient to answer the

allegations contained in Paragraph 117 of the Complaint and therefore, denies the same and

demands strict proof thereof.

       28.     This Defendant would crave reference to the MUSC medical records in response

to the allegations contained in 118, 119, 120, 121, 122, 123, 124 and 125 of the Complaint. Any

allegations inconsistent with those records or intended to allege liability or damages against this

Defendant are expressly denied.

       29.     This Defendant would crave reference to the MUSC medical records in response

to the allegations contained in Paragraph 126 of the Complaint regarding the patient’s

expectations after her constant consultations with numerous medical staff in the weeks leading

up to her child’s birth. This Defendant does admit the child was healthy upon delivery due to the

work of the medical team. Any allegations inconsistent with these records or intended to allege

liability or damages against this Defendant are expressly denied.

       30.     This Defendant is without knowledge or information sufficient to answer the

allegations contained in Paragraphs 127, 128, 129, 130, 131, 132, 133, 134, 135, 136 and 137



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which reference records of outside individuals, but could crave reference to the MUSC medical

records regarding care and treatment by their staff members. Any allegations inconsistent with

those records or intended to allege liability or damages against this Defendant are expressly

denied.

          31.   This Defendant is without knowledge or information sufficient to answer the

allegations contained in Paragraph 138 regarding Ms. Scannell’s mental state and therefore,

denies the same and demands strict proof thereof. Further answering, this Defendant denies the

allegations regarding Ms. Scannell’s grievous suffering and demands strict proof thereof.

          32.   This Defendant would crave reference to the MUSC medical records in response

to the allegations contained in Paragraphs 139, 140, 141, 142, 143, 144, 145 and 146 of the

Complaint. Any allegations inconsistent with those records or intended to allege liability or

damages against this Defendant are expressly denied.

          33.   Answering the allegations contained in Paragraph 147 of the Complaint, this

Defendant admits there was approximately a 36 hour timeframe where Plaintiff did not see her

child, but denies the remaining allegations as alleged and demands strict proof thereof.

          34.   This Defendant would crave reference to the MUSC medical records in response

to the allegations contained in Paragraphs 148, 149, 150, 151 and 152 of the Complaint. Any

allegations inconsistent with those records or intended to allege liability or damages against this

Defendant are expressly denied.

          35.   This Defendant denies the allegations set forth in Paragraph 153 of the Complaint

as stated and demands strict proof thereof.

          36.   This Defendant would crave reference to the MUSC medical records in response

to the allegations contained in Paragraphs 154, 155, 156, 157, 158, 159, 160, 161, 162, 163, 164



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and 165 of the Complaint. Any allegations inconsistent with those records or intended to allege

liability or damages against this Defendant are expressly denied.

       37.     Answering the allegations contained in Paragraph 166, 167, 168 and 169 of the

Complaint, this Defendant admits that a probable cause hearing was held at Charleston County’s

Family Court and admits the child was ordered to be returned to the Plaintiff. This Defendant is

without knowledge or information sufficient to answer the allegations regarding specific

statements, testimony and details of the Court Order from said hearing and crave reference to the

transcript for its contents. Any allegations inconsistent with said transcript or intended to allege

liability or damages against this Defendant are expressly denied.         Defendant would crave

reference to the MUSC medical records regarding Plaintiff’s mental state.

       38.     The allegations contained in Paragraph 170 of the Complaint are directed parties

other than this Defendant and therefore no response is required.

       39.     This Defendant would crave reference to the MUSC medical records in response

to the allegations contained in Paragraphs 171, 172 and 173 of the Complaint. Any allegations

inconsistent with those records or intended to allege liability or damages against this Defendant

are expressly denied.

       40.     This Defendant denies the allegations set forth in Paragraph 174 of the Complaint

as stated and demands strict proof thereof.

       41.     The allegations contained in Paragraphs 175, 176 and 177 of the Complaint are

directed parties other than this Defendant and therefore no response is required.

       42.     This Defendant would crave reference to the MUSC medical records in response

to the allegations contained in Paragraphs 178, 179, 180 and 181 of the Complaint. Any




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allegations inconsistent with those records or intended to allege liability or damages against this

Defendant are expressly denied.

          43.   Answering the allegations contained in Paragraph 182 of the Complaint, this

Defendant admits Plaintiff was discharged from the hospital on or about July 17, 2018, but the

remaining allegations are directed at other parties and do not warrant a response. Any allegation

inconsistent with this response is denied.

          44.   This Defendant is without knowledge or information sufficient to answer the

allegations contained in Paragraphs 183 and 184 of the Complaint, but crave reference to the

Plaintiff’s medical records regarding the contents of her psychiatric evaluation by Dr. Guille and

communication Dr. Johnson had with Ms. Bradford. Any allegations inconsistent with those

records or intended to allege liability or damages against this Defendant are expressly denied.

          45.   The allegations contained in Paragraphs 185 and 186 of the Complaint are

directed parties other than this Defendant and therefore no response is required. To the extent

those allegations are directed at this Defendant or a response is required, they are expressly

denied.

          46.   This Defendant admits that she testified at some point regarding this matter, but

lacks knowledge or information sufficient to answer the detailed allegations contained in

Paragraph 187 of the Complaint and, therefore, demands strict proof thereof. Further responding,

this Defendant craves reference to the complete transcript of such testimony for its contents

therein. Any allegations inconsistent with that transcript or intention to allege liability or

damages against this Defendant are expressly denied.

          47.   The allegations contained in Paragraphs 188, 189, 190, 191 and 192 of the

Complaint are directed parties other than this Defendant and therefore no response is required.



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To the extent those allegations are directed at this Defendant or a response is required, they are

expressly denied.

       48.     This Defendant would crave reference to the MUSC responses to interrogatories

from the Charleston Legislative Delegations in response to the allegations contained in

Paragraph 193 of the Complaint, but denies this cut-and-paste excerpt should be viewed as an

adequate explanation of Plaintiff’s complex medical care and treatment leading up to the birth of

her child as detailed in the MUSC medical records. Any allegations inconsistent with this

response is expressly denied.

       49.     The allegations contained in Paragraphs 194, 195, 196, 197, 198, 199 and 200 of

the Complaint are directed parties other than this Defendant and therefore no response is

required. Any allegations inconsistent with those records or intended to allege liability or

damages against this Defendant are expressly denied.

       50.     This Defendant denies the allegations contained in Paragraph 201 of the

Complaint and demands strict proof thereof.

       51.     Answering the allegations contained in Paragraph 202 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       52.     The allegations contained in Paragraphs 203, 204, 205, 206, 207 and 208 of the

Complaint are directed parties other than this Defendant and therefore no response is required.

To the extent those allegations are directed at this Defendant or a response is required, they are

expressly denied.

       53.     Answering the allegations contained in Paragraph 209 of the Complaint, this

Defendant restates its answer contained in the above paragraphs as if stated verbatim herein.




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       54.     The allegations contained in Paragraphs 210, 211, 212, 213, 214, 215, 216, 217,

218, 219 and 220 of the Complaint are directed parties other than this Defendant and therefore

no response is required. To the extent those allegations are directed at this Defendant or a

response is required, they are expressly denied.

       55.     Answering the allegations contained in Paragraph 221 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       56.     This Defendant denies the allegations contained in Paragraphs 222, 223, 224, 225

and 226 of the Complaint, including all subparts, and demands strict proof thereof.

       57.     Answering the allegations contained in Paragraph 227 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       58.     This Defendant denies the allegations contained in Paragraph 228 of the

Complaint, including all subparts, and demands strict proof thereof.

       59.     The allegations set forth in Paragraphs 229 and 230 call for legal conclusions to

which no response is required.

       60.     This Defendant denies the allegations contained in Paragraphs 231, 232, 233, 234,

235, 236, 237, 238 and 239 of the Complaint, including all subparts, and demands strict proof

thereof.

       61.     Answering the allegations contained in Paragraph 240 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       62.     This Defendant denies the allegations contained in Paragraphs 241, 242, 243, 244

and 245 of the Complaint, including all subparts, and demands strict proof thereof.

       63.     Answering the allegations contained in Paragraph 246 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.



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       64.     The allegations set forth in Paragraphs 247, 248 and 249 call for legal conclusions

to which no response is required. Further responding, this Defendant asserts that such Codes do

not establish the applicable standard of care in this case.

       65.     This Defendant denies the allegations contained in Paragraph 250 of the

Complaint and demands strict proof thereof.

       66.     The allegations contained in Paragraphs 251 and 252 of the Complaint call for

legal conclusions and therefore no response is required. To the extent a response is required,

those allegations are denied and strict proof is demanded thereof.

       67.     This Defendant denies the allegations contained in Paragraphs 253, 254 and 255

of the Complaint and demands strict proof thereof.

       68.     Answering the allegations contained in Paragraph 256 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       69.     This Defendant is without knowledge or information sufficient to answer the

allegations in Paragraph 257 of the Complaint and, therefore, denies the same and demands strict

proof thereof. To the extent those allegations call for legal conclusions, no response is required.

       70.     This Defendant denies the allegations contained in Paragraphs 258, 259, 260 and

261 of the Complaint and demands strict proof thereof.

       71.     Answering the allegations contained in Paragraph 262 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       72.     This Defendant denies the allegations contained in Paragraph 263 of the

Complaint and demands strict proof thereof.




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       73.     This Defendant is without knowledge or information sufficient to answer the

allegations in Paragraph 264 of the Complaint and, therefore, denies the same and demands strict

proof thereof. To the extent those allegations call for legal conclusions, no response is required.

       74.     This Defendant denies the allegations contained in Paragraphs 265, 266, 267 and

268 of the Complaint and demands strict proof thereof.

       75.     Answering the allegations contained in Paragraph 269 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       76.     This Defendant denies the allegations contained in Paragraphs 270, 271, 272 and

273 of the Complaint and demands strict proof thereof.

       77.     Answering the allegations contained in Paragraph 274 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       78.     This Defendant is without knowledge or information sufficient to answer the

allegations in Paragraph 275 of the Complaint and, therefore, denies the same and demands strict

proof thereof. To the extent those allegations call for legal conclusions, no response is required.

       79.     This Defendant denies the allegations contained in Paragraphs 276, 277, 278, 279,

280, 281, 282, 283 and 284 of the Complaint and demands strict proof thereof.

       80.     Answering the allegations contained in Paragraph 285 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       81.     This Defendant is without knowledge or information sufficient to answer the

allegations in Paragraph 286 of the Complaint and, therefore, denies the same and demands strict

proof thereof. To the extent those allegations call for legal conclusions, no response is required.

       82.     This Defendant denies the allegations contained in Paragraphs 287, 288, 289, 290

and 291 of the Complaint and demands strict proof thereof.



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       83.     Answering the allegations contained in Paragraph 292 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       84.     This Defendant is without knowledge or information sufficient to answer the

allegations in Paragraph 293 of the Complaint and, therefore, denies the same and demands strict

proof thereof. To the extent those allegations call for legal conclusions, no response is required.

       85.     This Defendant denies the allegations contained in Paragraphs 294, 295, 296, 297

and 298 of the Complaint and demands strict proof thereof.

       86.     Answering the allegations contained in Paragraph 299 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       87.     The allegations contained in Paragraphs 300, 301, 302, 303, 304 and 305 of the

Complaint are directed parties other than this Defendant and therefore no response is required.

       88.     Answering the allegations contained in Paragraph 306 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       89.     This Defendant denies the allegations contained in Paragraph 307 of the

Complaint and demands strict proof thereof.

       90.     The allegations contained in Paragraph 308 of the Complaint call for legal

conclusions and therefore no response is required. To the extent a response is required, those

allegations are denied and strict proof is demanded thereof.

       91.     This Defendant denies the allegations contained in Paragraphs 309, 310, 311, 312

and 313 of the Complaint and demands strict proof thereof.

       92.     This Defendant denies Plaintiff’s Prayer for Relief in full.

                       FURTHER ANSWERING AND BY WAY OF A
                        FURTHER AND AFFIRMATIVE DEFENSE




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          93.   This Defendant is a governmental entity of the State of South Carolina as defined

under the South Carolina Tort Claims Act, S.C. Code Ann. § 15-78-10 et. seq., and thereby

asserts the defense of sovereign immunity pursuant to the terms of the aforesaid Tort Claims Act.

                        FURTHER ANSWERING AND BY WAY OF A
                         FURTHER AND AFFIRMATIVE DEFENSE

          94.   As an agency of the State of South Carolina, this case is subject to the South

Carolina Tort Claims Act, to include and not be limited to its limitations on liability. Further, as

to any violation of common law or state law, this Defendant assert the provisions of the South

Carolina Tort Claims Act, S.C. Code Ann. §15-78-10, et seq, and its pertinent parts which

include but are not limited to §§15-78-120; 15-78-60(5); 15-78-60(25); 15-78-60(20); and 15-78

100(c).

                        FURTHER ANSWERING AND BY WAY OF A
                         FURTHER AND AFFIRMATIVE DEFENSE

          95.   This Defendant plead that any award or assessment of punitive damages is barred

by the South Carolina Tort Claims Act, and would also violate the this Defendant’ constitutional

rights under the Fifth, Sixth and Fourteenth Amendments of the United States Constitution and

comparable provisions of the South Carolina Constitution. this Defendant move to strike any

such claim.

                           FURTHER ANSWERING AND BY WAY OF A
                            FURTHER AND AFFIRMATIVE DEFENSE

          96.   Plaintiff’s Complaint fails to state facts sufficient to constitute a cause of action

and therefore, should be dismissed pursuant to Rule 12(b)(6), SCRCP.

                           FURTHER ANSWERING AND FOR A
                         FURTHER AND AFFIRMATIVE DEFENSE




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          97.    Plaintiff has failed to state a proper claim under 42 U.S.C § 1983 by failing to

identify the deprivation of any valid right secured by the Constitution or laws of the United

States.

                            FURTHER ANSWERING AND FOR A
                          FURTHER AND AFFIRMATIVE DEFENSE

          98.    To the extent that punitive damages are sought by Plaintiff, Plaintiff is not entitled

to punitive damages vis-à-vis this Defendant because the alleged acts, omissions or failures to act

by this Defendant were not willful, wanton or reckless.

                           FURTHER ANSWERING AND BY WAY OF A
                            FURTHER AND AFFIRMATIVE DEFENSE

          99.    This Defendant would affirmatively state that at all times it and its employees

complied with the applicable standard of care.

                            FURTHER ANSWERING AND FOR A
                          FURTHER AND AFFIRMATIVE DEFENSE

          100.   These individual Defendants were state officials acting in an official capacity and

is entitled to immunity pursuant to the Eleventh Amendment of the Constitution of the United

States from suit for monetary damages.

                            FURTHER ANSWERING AND FOR A
                          FURTHER AND AFFIRMATIVE DEFENSE

          101.   Plaintiff has failed to state a proper claim under 42 U.S.C § 1985 by failing to

identify a conspiracy, an act in furtherance of the conspiracy, and/or an intent to deprive the

Plaintiff of equal protection of the law on part of this Defendant.

                            FURTHER ANSWERING AND FOR A
                          FURTHER AND AFFIRMATIVE DEFENSE

          102.   Plaintiff’s claim under 42 U.S.C § 1985 fail as a matter of law pursuant to the

intracorporate conspiracy doctrine.

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                           FURTHER ANSWERING AND FOR A
                         FURTHER AND AFFIRMATIVE DEFENSE

       103.    Certain of Plaintiff’s claims fail as a matter of law under S.C. Code Ann. § 15-78-

70(b) because Plaintiff has not shown that this Defendant’s actions or inactions constituted fraud,

malice, an intent to harm, or a crime involving moral turpitude.

                          FURTHER ANSWERING AND BY WAY OF A
                           FURTHER AND AFFIRMATIVE DEFENSE

       104.    A claim for punitive damages and an award of punitive damages would violate

those clauses of the Constitutions of the United States and South Carolina related to privileges

and immunities, due process and equal protection and this Defendant would further assert the

protections, defenses, and statutory rights set forth in S.C. Code Ann. §§ 15-32-510, 15-32-520,

15-32-530, 15-32-540, et. seq.

                          FURTHER ANSWERING AND BY WAY OF A
                           FURTHER AND AFFIRMATIVE DEFENSE

       105.    There was no negligence, gross negligence, recklessness, or wantonness on the

part of this Defendant which proximately caused or contributed to Plaintiff’s alleged injuries.

                           FURTHER ANSWERING AND FOR A
                         FURTHER AND AFFIRMATIVE DEFENSE

       106.    Plaintiff’s claims may be barred in whole or in part by applicable statutes of

limitation or statutes of repose.

                        FURTHER ANSWERING AND BY WAY OF A
                         FURTHER AND AFFIRMATIVE DEFENSE

       107.    Plaintiff did not have an “impairment,” real or perceived, under 42 U.S.C.

§12102(1) and 42 U.S.C. §12102(3)(A) and therefore her claims under the Americans with

Disabilities Act should be dismissed.

                        FURTHER ANSWERING AND BY WAY OF A

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                         FURTHER AND AFFIRMATIVE DEFENSE

       108.    This Defendant did not coerce, intimidate, threaten, or interfere with Plaintiff’s

exercise or enjoyment of any right granted or protected by the Americans with Disabilities Act,

and therefore her claims under that Act should be dismissed.

                        FURTHER ANSWERING AND BY WAY OF A
                         FURTHER AND AFFIRMATIVE DEFENSE

       109.    42 U.S.C. §12202 of the Americans with Disabilities Act is unconstitutional and

therefore this Defendant is protected from legal action arising under the Act by the Eleventh

Amendment of the United States Constitution.

                          FURTHER ANSWERING AND BY WAY OF A
                           FURTHER AND AFFIRMATIVE DEFENSE

       110.    This Defendant reserve any additional affirmative defenses as may be revealed or

available to it during the course of their investigation or discovery in this case.



                                               YOUNG CLEMENT RIVERS, LLP


                                               By: s/D. Jay Davis, Jr.
                                               D. Jay Davis, Jr.
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                                               Attorneys for Defendant Donna Johnson

Charleston, South Carolina

Dated: September 21, 2020




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STATE OF SOUTH CAROLINA            )                IN THE COURT OF COMMON PLEAS
                                   )
COUNTY OF CHARLESTON               )                NINTH JUDICIAL CIRCUIT
                                   )
ELIZABETH DE'ANNA SCANNELL,        )                CASE NO. 2020-CP-10-02959
                                   )
                                   )
                  PLAINTIFF,       )
                                   )
            vs.                    )
                                   )
SOUTH CAROLINA DEPARTMENT          )
OF SOCIAL SERVICES (SCDSS),        )
MEDICAL UNIVERSITY OF SOUTH        )
CAROLINA, CYNTHIA BRADFORD,        )
                                                    ANSWER ON BEHALF OF DEFENDANT
MOSETTA CLARK, LOUCHETIA           )
                                                             KELLY FINKE
SIMMONS-ROBINSON, JANE BELL,       )
MICHAEL LEACH, DONNA               )
JOHNSON, MICHELLE IRENE            )
AMAYA, KELLY FINKE, this Defendant )
ADMINISTRATOR 1, this Defendant    )
ADMINISTRATOR 2, this Defendant    )
ADMINISTRATOR 3, AND this          )
Defendant PUBLIC SAFETY            )
SUPERVISOR ,                       )
                                   )
                  DEFENDANTS.      )
                                   )
TO: ROBERT J. BUTCHER AND DEBORAH J. BUTCHER, ATTORNEYS FOR THE
PLAINTIFF:

       The Defendant Kelly Finke (hereinafter referred to as “Ms. Finke” or “this Defendant”),

by and through her undersigned counsel, hereby responds to the allegations set forth in the

Complaint as follows:

       1.     Any allegation set forth in the Complaint not specifically admitted, modified, or

otherwise denied is hereby expressly denied and strict proof is demands thereof.

       2.     This Defendant admits the allegations contained in Paragraph 1 of the Complaint,

upon information and belief.



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        3.      The allegations contained in Paragraphs 2, 3, 4, 5, 6 and 7 of the Complaint are

directed parties other than this Defendant and therefore no response is required.

        4.      Answering the allegations contained in Paragraph 8 of the Complaint, this

Defendant admits that MUSC is a corporation organized and existing under the laws of the State

of South Carolina and that it conducts business in Charleston County, including the facility

where Plaintiff gave birth to A.D.S. Further, this Defendant admits that MUSC is a state agency

and assert that it is covered under the South Carolina Tort Claims Act and is entitled to all

protections, immunities, and limitations of liability afforded thereunder.

        5.      Answering the allegations contained in Paragraph 9 of the Complaint, this

Defendant admits only that Dr. Johnson is a physician and professor employed by MUSC. This

Defendant lacks knowledge or information sufficient to form an opinion as to the truth of the

remaining allegations contained in this Paragraph and, therefore, denies the same and demands

strict proof thereof.

        6.      Answering the allegations contained in Paragraph 10 of the Complaint, this

Defendant admits only that Michelle Irene Amaya, M.D., M.P.H. is a physician and associate

professor employed by MUSC. This Defendant lacks knowledge or information sufficient to

form an opinion as to the truth of the remaining allegations contained in this Paragraph and,

therefore, denies the same and demands strict proof thereof.

        7.      Answering the allegations contained in Paragraph 11 of the Complaint, this

Defendant admits only that she is a Licensed Master Social Worker employed by MUSC. This

Defendant lacks knowledge or information sufficient to form an opinion as to the truth of the

remaining allegations contained in this Paragraph and, therefore, denies the same and demands

strict proof thereof.



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       8.      This Defendant lacks the knowledge or information sufficient to form an opinion

as to the truth of the allegations in Paragraph 12 of the Complaint regarding the residency and

citizenry of unnamed Defendants who are supposedly employed by MUSC, and therefore, denies

the same and demands strict proof thereof. Further responding, this Defendant denies these

alleged MUSC employees ordered or approved of putting Ms. Scannell into emergency

protective custody without cause. Finally, this Defendant lacks knowledge or information

sufficient to form an opinion as to the truth of the remaining allegations contained in Paragraph

12 and, therefore, denies the same and demands strict proof thereof.

       9.      Answering the allegations contained in Paragraph 13 of the Complaint, this

Defendant lacks knowledge or information sufficient to form an opinion as to the truth of the

allegations regarding an unnamed Defendant who is supposedly employed by this Defendant,

and therefore, denies the same and demands strict proof thereof.

       10.     The allegations contained in Paragraphs 14 and 15 of the Complaint call for legal

conclusions and do no warrant a response.

       11.     This Defendant denies the allegations contained in Paragraph 16 of the

Complaint, as stated, and demands strict proof thereof.

       12.     The Defendants would crave reference to Ms. Scannell MUSC IOP’s psychiatric

medical records in response to the allegations contained in Paragraphs 17, 18, 19 and 20 of the

Complaint. Any allegations inconsistent with those records or intended to allege liability or

damages against this Defendant are expressly denied.

       13.     This Defendant denies the allegations contained in Paragraph 21 of the Complaint

and demands strict proof thereof.




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          14.   This Defendant admits Plaintiff’s age, but otherwise is without knowledge or

information sufficient to answer the allegations contained in Paragraphs 22, 23, 24, 25, 26, 27,

28, 29, and 30 of the Complaint and, therefore, denies the same and demands strict proof thereof.

          15.   Answering the allegations contained in paragraph 31 of the Complaint, the

Defendants admits, upon information and belief, Plaintiff was diagnosed with placenta previa at

some point and referred to MUSC. Defendants is without knowledge or information sufficient to

answer the remaining allegations and, therefore, denies the same and demands strict proof

thereof.

          16.   This Defendant is without knowledge or information sufficient to answer the

details of the allegations contained in Paragraphs 32 through 61 of the Complaint, but admits

generally that Plaintiff was seen and evaluated on several occasions at MUSC by Dr. Head, Dr.

Johnson and others during the timeframe in question. Further answering, Defendants crave

reference to the Plaintiff’s medical records for their contents. Any allegations inconsistent with

those records or intended to allege liability or damages against this Defendant are expressly

denied.

          17.   The Defendants denies the allegations contained in Paragraph 62 of the

Complaint, as stated.

          18.   The Defendants would crave referenced to the MUSC medical records in response

to the allegations contained in Paragraphs 63, 64, 65, 66, 67, 68, 69, 70 and 71 of the Complaint.

Any allegations inconsistent with those records or intended to allege liability or damages against

this Defendant are expressly denied.

          19.   This Defendant admits Plaintiff did not want anyone to die during childbirth, but

denies the remaining allegations contained in Paragraph 72 of the Complaint, as alleged.



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       20.     This Defendant would crave reference to the MUSC medical records in answering

the allegations contained in Paragraphs 73, 74, 75, 76, 77, 78, 79, 80, 81, 82, 83, 84, 85, 86, 87,

88, 89, 90, 91, 92, 93, 94, 95, 96, 97, 98, 99, 100, 101, 102, 103, 104, 105, 106, 107, 108, 109

and 110 of the Complaint. This Defendant denies any allegation intended to imply Plaintiff

should have felt “reassured” with regards to her continued disregard for the medical providers’

recommendations. Any allegations inconsistent with those records or intended to allege liability

or damages against this Defendant are expressly denied.

       21.     Answering the allegations contained in Paragraph 111 of the Complaint, this

Defendant admits that a meeting was held by MUSC’s Ethics Committee to discuss the best

course of treatment for Plaintiff and her unborn child. This Defendant would crave reference to

the MUSC medical records regarding the details of their care and treatment. Any allegation

inconsistent with this response is denied.

       22.     This Defendant would crave reference to the Plaintiff’s medical records in

response to the allegations contained in Paragraph 112 of the Complaint. Any allegations

inconsistent with those records or intended to allege liability or damages against this Defendant

are expressly denied.

       23.     This Defendant denies the allegations contained in Paragraph 113 of the

Complaint, as stated, and demands strict proof thereof.

       24.     This Defendant would crave reference to the MUSC medical records in response

to the allegations contained in Paragraph 114 regarding the content of Dr. Navarro’s. This

Defendant lacks knowledge or information sufficient to form an opinion as to Ms. Scannell’s

mental state and therefore, denies the same and demands strict proof thereof.




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       25.     This Defendant is without knowledge or information sufficient to answer the

allegation contained in Paragraphs 115 of the Complaint, but crave reference to the Plaintiff’s

medical records for their contents. Any allegations inconsistent with those records or intended to

allege liability or damages against this Defendant are expressly denied.

       26.     This Defendant would crave reference to the Plaintiff’s medical records in

response to the allegations contained in Paragraph 116 of the Complaint. Any allegations

inconsistent with those records or intended to allege liability or damages against this Defendant

are expressly denied.

       27.     This Defendant is without knowledge or information sufficient to answer the

allegations contained in Paragraph 117 of the Complaint and therefore, denies the same and

demands strict proof thereof.

       28.     This Defendant would crave reference to the MUSC medical records in response

to the allegations contained in 118, 119, 120, 121, 122, 123, 124 and 125 of the Complaint. Any

allegations inconsistent with those records or intended to allege liability or damages against this

Defendant are expressly denied.

       29.     This Defendant would crave reference to the MUSC medical records in response

to the allegations contained in Paragraph 126 of the Complaint regarding the patient’s

expectations after her constant consultations with numerous medical staff in the weeks leading

up to her child’s birth. This Defendant does admit the child was healthy upon delivery due to the

work of the medical team. Any allegations inconsistent with these records or intended to allege

liability or damages against this Defendant are expressly denied.

       30.     This Defendant is without knowledge or information sufficient to answer the

allegations contained in Paragraphs 127, 128, 129, 130, 131, 132, 133, 134, 135, 136 and 137



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which reference records of outside individuals, but could crave reference to the MUSC medical

records regarding care and treatment by their staff members. Any allegations inconsistent with

those records or intended to allege liability or damages against this Defendant are expressly

denied.

          31.   This Defendant is without knowledge or information sufficient to answer the

allegations contained in Paragraph 138 regarding Ms. Scannell’s mental state and therefore,

denies the same and demands strict proof thereof. Further answering, this Defendant denies the

allegations regarding Ms. Scannell’s grievous suffering and demands strict proof thereof.

          32.   This Defendant would crave reference to the MUSC medical records in response

to the allegations contained in Paragraphs 139, 140, 141, 142, 143, 144, 145 and 146 of the

Complaint. Any allegations inconsistent with those records or intended to allege liability or

damages against this Defendant are expressly denied.

          33.   Answering the allegations contained in Paragraph 147 of the Complaint, this

Defendant admits there was approximately a 36 hour timeframe where Plaintiff did not see her

child, but denies the remaining allegations as alleged and demands strict proof thereof.

          34.   This Defendant would crave reference to the MUSC medical records in response

to the allegations contained in Paragraphs 148, 149, 150, 151 and 152 of the Complaint. Any

allegations inconsistent with those records or intended to allege liability or damages against this

Defendant are expressly denied.

          35.   This Defendant denies the allegations set forth in Paragraph 153 of the Complaint

as stated and demands strict proof thereof.

          36.   This Defendant would crave reference to the MUSC medical records in response

to the allegations contained in Paragraphs 154, 155, 156, 157, 158, 159, 160, 161, 162, 163, 164



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and 165 of the Complaint. Any allegations inconsistent with those records or intended to allege

liability or damages against this Defendant are expressly denied.

       37.     Answering the allegations contained in Paragraph 166, 167, 168 and 169 of the

Complaint, this Defendant admits that a probable cause hearing was held at Charleston County’s

Family Court and admits the child was ordered to be returned to the Plaintiff. This Defendant is

without knowledge or information sufficient to answer the allegations regarding specific

statements, testimony and details of the Court Order from said hearing and crave reference to the

transcript for its contents. Any allegations inconsistent with said transcript or intended to allege

liability or damages against this Defendant are expressly denied.         Defendant would crave

reference to the MUSC medical records regarding Plaintiff’s mental state.

       38.     The allegations contained in Paragraph 170 of the Complaint are directed parties

other than this Defendant and therefore no response is required.

       39.     This Defendant would crave reference to the MUSC medical records in response

to the allegations contained in Paragraphs 171, 172 and 173 of the Complaint. Any allegations

inconsistent with those records or intended to allege liability or damages against this Defendant

are expressly denied.

       40.     This Defendant denies the allegations set forth in Paragraph 174 of the Complaint

as stated and demands strict proof thereof.

       41.     The allegations contained in Paragraphs 175, 176 and 177 of the Complaint are

directed parties other than this Defendant and therefore no response is required.

       42.     This Defendant would crave reference to the MUSC medical records in response

to the allegations contained in Paragraphs 178, 179, 180 and 181 of the Complaint. Any




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allegations inconsistent with those records or intended to allege liability or damages against this

Defendant are expressly denied.

          43.   Answering the allegations contained in Paragraph 182 of the Complaint, this

Defendant admits Plaintiff was discharged from the hospital on or about July 17, 2018, but the

remaining allegations are directed at other parties and do not warrant a response. Any allegation

inconsistent with this response is denied.

          44.   This Defendant is without knowledge or information sufficient to answer the

allegations contained in Paragraphs 183 and 184 of the Complaint, but crave reference to the

Plaintiff’s medical records regarding the contents of her psychiatric evaluation by Dr. Guille and

communication Dr. Johnson had with Ms. Bradford. Any allegations inconsistent with those

records or intended to allege liability or damages against this Defendant are expressly denied.

          45.   The allegations contained in Paragraphs 185 and 186 of the Complaint are

directed parties other than this Defendant and therefore no response is required. To the extent

those allegations are directed at this Defendant or a response is required, they are expressly

denied.

          46.   This Defendant admits that Dr. Johnson testified at some point regarding this

matter, but lacks knowledge or information sufficient to answer the detailed allegations

contained in Paragraph 187 of the Complaint and, therefore, demands strict proof thereof.

Further responding, this Defendant craves reference to the complete transcript of such testimony

for its contents therein. Any allegations inconsistent with that transcript or intention to allege

liability or damages against this Defendant are expressly denied.

          47.   The allegations contained in Paragraphs 188, 189, 190, 191 and 192 of the

Complaint are directed parties other than this Defendant and therefore no response is required.



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To the extent those allegations are directed at this Defendant or a response is required, they are

expressly denied.

       48.     This Defendant would crave reference to the MUSC responses to interrogatories

from the Charleston Legislative Delegations in response to the allegations contained in

Paragraph 193 of the Complaint, but denies this cut-and-paste excerpt should be viewed as an

adequate explanation of Plaintiff’s complex medical care and treatment leading up to the birth of

her child as detailed in the MUSC medical records. Any allegations inconsistent with this

response is expressly denied.

       49.     The allegations contained in Paragraphs 194, 195, 196, 197, 198, 199 and 200 of

the Complaint are directed parties other than this Defendant and therefore no response is

required. Any allegations inconsistent with those records or intended to allege liability or

damages against this Defendant are expressly denied.

       50.     This Defendant denies the allegations contained in Paragraph 201 of the

Complaint and demands strict proof thereof.

       51.     Answering the allegations contained in Paragraph 202 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       52.     The allegations contained in Paragraphs 203, 204, 205, 206, 207 and 208 of the

Complaint are directed parties other than this Defendant and therefore no response is required.

To the extent those allegations are directed at this Defendant or a response is required, they are

expressly denied.

       53.     Answering the allegations contained in Paragraph 209 of the Complaint, this

Defendant restates its answer contained in the above paragraphs as if stated verbatim herein.




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       54.     The allegations contained in Paragraphs 210, 211, 212, 213, 214, 215, 216, 217,

218, 219 and 220 of the Complaint are directed parties other than this Defendant and therefore

no response is required. To the extent those allegations are directed at this Defendant or a

response is required, they are expressly denied.

       55.     Answering the allegations contained in Paragraph 221 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       56.     This Defendant denies the allegations contained in Paragraphs 222, 223, 224, 225

and 226 of the Complaint, including all subparts, and demands strict proof thereof.

       57.     Answering the allegations contained in Paragraph 227 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       58.     This Defendant denies the allegations contained in Paragraph 228 of the

Complaint, including all subparts, and demands strict proof thereof.

       59.     The allegations set forth in Paragraphs 229 and 230 call for legal conclusions to

which no response is required.

       60.     This Defendant denies the allegations contained in Paragraphs 231, 232, 233, 234,

235, 236, 237, 238 and 239 of the Complaint, including all subparts, and demands strict proof

thereof.

       61.     Answering the allegations contained in Paragraph 240 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       62.     This Defendant denies the allegations contained in Paragraphs 241, 242, 243, 244

and 245 of the Complaint, including all subparts, and demands strict proof thereof.

       63.     Answering the allegations contained in Paragraph 246 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.



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       64.     The allegations set forth in Paragraphs 247, 248 and 249 call for legal conclusions

to which no response is required. Further responding, this Defendant asserts that such Codes do

not establish the applicable standard of care in this case.

       65.     This Defendant denies the allegations contained in Paragraph 250 of the

Complaint and demands strict proof thereof.

       66.     The allegations contained in Paragraphs 251 and 252 of the Complaint call for

legal conclusions and therefore no response is required. To the extent a response is required,

those allegations are denied and strict proof is demanded thereof.

       67.     This Defendant denies the allegations contained in Paragraphs 253, 254 and 255

of the Complaint and demands strict proof thereof.

       68.     Answering the allegations contained in Paragraph 256 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       69.     This Defendant is without knowledge or information sufficient to answer the

allegations in Paragraph 257 of the Complaint and, therefore, denies the same and demands strict

proof thereof. To the extent those allegations call for legal conclusions, no response is required.

       70.     This Defendant denies the allegations contained in Paragraphs 258, 259, 260 and

261 of the Complaint and demands strict proof thereof.

       71.     Answering the allegations contained in Paragraph 262 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       72.     This Defendant denies the allegations contained in Paragraph 263 of the

Complaint and demands strict proof thereof.




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       73.     This Defendant is without knowledge or information sufficient to answer the

allegations in Paragraph 264 of the Complaint and, therefore, denies the same and demands strict

proof thereof. To the extent those allegations call for legal conclusions, no response is required.

       74.     This Defendant denies the allegations contained in Paragraphs 265, 266, 267 and

268 of the Complaint and demands strict proof thereof.

       75.     Answering the allegations contained in Paragraph 269 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       76.     This Defendant denies the allegations contained in Paragraphs 270, 271, 272 and

273 of the Complaint and demands strict proof thereof.

       77.     Answering the allegations contained in Paragraph 274 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       78.     This Defendant is without knowledge or information sufficient to answer the

allegations in Paragraph 275 of the Complaint and, therefore, denies the same and demands strict

proof thereof. To the extent those allegations call for legal conclusions, no response is required.

       79.     This Defendant denies the allegations contained in Paragraphs 276, 277, 278, 279,

280, 281, 282, 283 and 284 of the Complaint and demands strict proof thereof.

       80.     Answering the allegations contained in Paragraph 285 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       81.     This Defendant is without knowledge or information sufficient to answer the

allegations in Paragraph 286 of the Complaint and, therefore, denies the same and demands strict

proof thereof. To the extent those allegations call for legal conclusions, no response is required.

       82.     This Defendant denies the allegations contained in Paragraphs 287, 288, 289, 290

and 291 of the Complaint and demands strict proof thereof.



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       83.     Answering the allegations contained in Paragraph 292 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       84.     This Defendant is without knowledge or information sufficient to answer the

allegations in Paragraph 293 of the Complaint and, therefore, denies the same and demands strict

proof thereof. To the extent those allegations call for legal conclusions, no response is required.

       85.     This Defendant denies the allegations contained in Paragraphs 294, 295, 296, 297

and 298 of the Complaint and demands strict proof thereof.

       86.     Answering the allegations contained in Paragraph 299 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       87.     The allegations contained in Paragraphs 300, 301, 302, 303, 304 and 305 of the

Complaint are directed parties other than this Defendant and therefore no response is required.

       88.     Answering the allegations contained in Paragraph 306 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       89.     This Defendant denies the allegations contained in Paragraph 307 of the

Complaint and demands strict proof thereof.

       90.     The allegations contained in Paragraph 308 of the Complaint call for legal

conclusions and therefore no response is required. To the extent a response is required, those

allegations are denied and strict proof is demanded thereof.

       91.     This Defendant denies the allegations contained in Paragraphs 309, 310, 311, 312

and 313 of the Complaint and demands strict proof thereof.

       92.     This Defendant denies Plaintiff’s Prayer for Relief in full.

                       FURTHER ANSWERING AND BY WAY OF A
                        FURTHER AND AFFIRMATIVE DEFENSE




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          93.   This Defendant is a governmental entity of the State of South Carolina as defined

under the South Carolina Tort Claims Act, S.C. Code Ann. § 15-78-10 et. seq., and thereby

asserts the defense of sovereign immunity pursuant to the terms of the aforesaid Tort Claims Act.

                        FURTHER ANSWERING AND BY WAY OF A
                         FURTHER AND AFFIRMATIVE DEFENSE

          94.   As an agency of the State of South Carolina, this case is subject to the South

Carolina Tort Claims Act, to include and not be limited to its limitations on liability. Further, as

to any violation of common law or state law, this Defendant assert the provisions of the South

Carolina Tort Claims Act, S.C. Code Ann. §15-78-10, et seq, and its pertinent parts which

include but are not limited to §§15-78-120; 15-78-60(5); 15-78-60(25); 15-78-60(20); and 15-78

100(c).

                        FURTHER ANSWERING AND BY WAY OF A
                         FURTHER AND AFFIRMATIVE DEFENSE

          95.   This Defendant plead that any award or assessment of punitive damages is barred

by the South Carolina Tort Claims Act, and would also violate the this Defendant’ constitutional

rights under the Fifth, Sixth and Fourteenth Amendments of the United States Constitution and

comparable provisions of the South Carolina Constitution. this Defendant move to strike any

such claim.

                           FURTHER ANSWERING AND BY WAY OF A
                            FURTHER AND AFFIRMATIVE DEFENSE

          96.   Plaintiff’s Complaint fails to state facts sufficient to constitute a cause of action

and therefore, should be dismissed pursuant to Rule 12(b)(6), SCRCP.

                           FURTHER ANSWERING AND FOR A
                         FURTHER AND AFFIRMATIVE DEFENSE




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          97.    Plaintiff has failed to state a proper claim under 42 U.S.C § 1983 by failing to

identify the deprivation of any valid right secured by the Constitution or laws of the United

States.

                            FURTHER ANSWERING AND FOR A
                          FURTHER AND AFFIRMATIVE DEFENSE

          98.    To the extent that punitive damages are sought by Plaintiff, Plaintiff is not entitled

to punitive damages vis-à-vis this Defendant because the alleged acts, omissions or failures to act

by this Defendant were not willful, wanton or reckless.

                           FURTHER ANSWERING AND BY WAY OF A
                            FURTHER AND AFFIRMATIVE DEFENSE

          99.    This Defendant would affirmatively state that at all times it and its employees

complied with the applicable standard of care.

                            FURTHER ANSWERING AND FOR A
                          FURTHER AND AFFIRMATIVE DEFENSE

          100.   These individual Defendants were state officials acting in an official capacity and

is entitled to immunity pursuant to the Eleventh Amendment of the Constitution of the United

States from suit for monetary damages.

                            FURTHER ANSWERING AND FOR A
                          FURTHER AND AFFIRMATIVE DEFENSE

          101.   Plaintiff has failed to state a proper claim under 42 U.S.C § 1985 by failing to

identify a conspiracy, an act in furtherance of the conspiracy, and/or an intent to deprive the

Plaintiff of equal protection of the law on part of this Defendant.

                            FURTHER ANSWERING AND FOR A
                          FURTHER AND AFFIRMATIVE DEFENSE

          102.   Plaintiff’s claim under 42 U.S.C § 1985 fail as a matter of law pursuant to the

intracorporate conspiracy doctrine.

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                           FURTHER ANSWERING AND FOR A
                         FURTHER AND AFFIRMATIVE DEFENSE

       103.    Certain of Plaintiff’s claims fail as a matter of law under S.C. Code Ann. § 15-78-

70(b) because Plaintiff has not shown that this Defendant’s actions or inactions constituted fraud,

malice, an intent to harm, or a crime involving moral turpitude.

                          FURTHER ANSWERING AND BY WAY OF A
                           FURTHER AND AFFIRMATIVE DEFENSE

       104.    A claim for punitive damages and an award of punitive damages would violate

those clauses of the Constitutions of the United States and South Carolina related to privileges

and immunities, due process and equal protection and this Defendant would further assert the

protections, defenses, and statutory rights set forth in S.C. Code Ann. §§ 15-32-510, 15-32-520,

15-32-530, 15-32-540, et. seq.

                          FURTHER ANSWERING AND BY WAY OF A
                           FURTHER AND AFFIRMATIVE DEFENSE

       105.    There was no negligence, gross negligence, recklessness, or wantonness on the

part of this Defendant which proximately caused or contributed to Plaintiff’s alleged injuries.

                           FURTHER ANSWERING AND FOR A
                         FURTHER AND AFFIRMATIVE DEFENSE

       106.    Plaintiff’s claims may be barred in whole or in part by applicable statutes of

limitation or statutes of repose.

                        FURTHER ANSWERING AND BY WAY OF A
                         FURTHER AND AFFIRMATIVE DEFENSE

       107.    Plaintiff did not have an “impairment,” real or perceived, under 42 U.S.C.

§12102(1) and 42 U.S.C. §12102(3)(A) and therefore her claims under the Americans with

Disabilities Act should be dismissed.

                        FURTHER ANSWERING AND BY WAY OF A

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                         FURTHER AND AFFIRMATIVE DEFENSE

       108.    This Defendant did not coerce, intimidate, threaten, or interfere with Plaintiff’s

exercise or enjoyment of any right granted or protected by the Americans with Disabilities Act,

and therefore her claims under that Act should be dismissed.

                        FURTHER ANSWERING AND BY WAY OF A
                         FURTHER AND AFFIRMATIVE DEFENSE

       109.    42 U.S.C. §12202 of the Americans with Disabilities Act is unconstitutional and

therefore this Defendant is protected from legal action arising under the Act by the Eleventh

Amendment of the United States Constitution.

                          FURTHER ANSWERING AND BY WAY OF A
                           FURTHER AND AFFIRMATIVE DEFENSE

       110.    This Defendant reserve any additional affirmative defenses as may be revealed or

available to it during the course of their investigation or discovery in this case.



                                               YOUNG CLEMENT RIVERS, LLP


                                               By: s/D. Jay Davis, Jr.
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                                               Attorneys for Defendant Kelly Finke

Charleston, South Carolina

Dated: September 21, 2020




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STATE OF SOUTH CAROLINA            )                IN THE COURT OF COMMON PLEAS
                                   )
COUNTY OF CHARLESTON               )                NINTH JUDICIAL CIRCUIT
                                   )
ELIZABETH DE'ANNA SCANNELL,        )                CASE NO. 2020-CP-10-02959
                                   )
                                   )
                  PLAINTIFF,       )
                                   )
            vs.                    )
                                   )
SOUTH CAROLINA DEPARTMENT          )
OF SOCIAL SERVICES (SCDSS),        )
MEDICAL UNIVERSITY OF SOUTH        )
CAROLINA, CYNTHIA BRADFORD,        )
                                                    ANSWER ON BEHALF OF DEFENDANT
MOSETTA CLARK, LOUCHETIA           )
                                                        MICHELLE IRENE AMAYA
SIMMONS-ROBINSON, JANE BELL,       )
MICHAEL LEACH, DONNA               )
JOHNSON, MICHELLE IRENE            )
AMAYA, KELLY FINKE, this Defendant )
ADMINISTRATOR 1, this Defendant    )
ADMINISTRATOR 2, this Defendant    )
ADMINISTRATOR 3, AND this          )
Defendant PUBLIC SAFETY            )
SUPERVISOR ,                       )
                                   )
                  DEFENDANTS.      )
                                   )
TO: ROBERT J. BUTCHER AND DEBORAH J. BUTCHER, ATTORNEYS FOR THE
PLAINTIFF:

       The Defendant Michelle Irene Amaya (hereinafter referred to as “Dr. Amaya” or “this

Defendant”), by and through her undersigned counsel, hereby responds to the allegations set

forth in the Complaint as follows:

       1.      Any allegation set forth in the Complaint not specifically admitted, modified, or

otherwise denied is hereby expressly denied and strict proof is demands thereof.

       2.      This Defendant admits the allegations contained in Paragraph 1 of the Complaint,

upon information and belief.



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        3.      The allegations contained in Paragraphs 2, 3, 4, 5, 6 and 7 of the Complaint are

directed parties other than this Defendant and therefore no response is required.

        4.      Answering the allegations contained in Paragraph 8 of the Complaint, this

Defendant admits that MUSC is a corporation organized and existing under the laws of the State

of South Carolina and that it conducts business in Charleston County, including the facility

where Plaintiff gave birth to A.D.S. Further, this Defendant admits that MUSC is a state agency

and assert that it is covered under the South Carolina Tort Claims Act and is entitled to all

protections, immunities, and limitations of liability afforded thereunder.

        5.      Answering the allegations contained in Paragraph 9 of the Complaint, this

Defendant admits only that Dr. Johnson is a physician and professor employed by MUSC. This

Defendant lacks knowledge or information sufficient to form an opinion as to the truth of the

remaining allegations contained in this Paragraph and, therefore, denies the same and demands

strict proof thereof.

        6.      Answering the allegations contained in Paragraph 10 of the Complaint, this

Defendant admits only that she is a physician and associate professor employed by MUSC. This

Defendant lacks knowledge or information sufficient to form an opinion as to the truth of the

remaining allegations contained in this Paragraph and, therefore, denies the same and demands

strict proof thereof.

        7.      Answering the allegations contained in Paragraph 11 of the Complaint, this

Defendant admits only that Kelly Finke, MSW is a Licensed Master Social Worker employed by

MUSC. This Defendant lacks knowledge or information sufficient to form an opinion as to the

truth of the remaining allegations contained in this Paragraph and, therefore, denies the same and

demands strict proof thereof.



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       8.      This Defendant lacks the knowledge or information sufficient to form an opinion

as to the truth of the allegations in Paragraph 12 of the Complaint regarding the residency and

citizenry of unnamed Defendants who are supposedly employed by MUSC, and therefore, denies

the same and demands strict proof thereof. Further responding, this Defendant denies these

alleged MUSC employees ordered or approved of putting Ms. Scannell into emergency

protective custody without cause. Finally, this Defendant lacks knowledge or information

sufficient to form an opinion as to the truth of the remaining allegations contained in Paragraph

12 and, therefore, denies the same and demands strict proof thereof.

       9.      Answering the allegations contained in Paragraph 13 of the Complaint, this

Defendant lacks knowledge or information sufficient to form an opinion as to the truth of the

allegations regarding an unnamed Defendant who is supposedly employed by this Defendant,

and therefore, denies the same and demands strict proof thereof.

       10.     The allegations contained in Paragraphs 14 and 15 of the Complaint call for legal

conclusions and do no warrant a response.

       11.     This Defendant denies the allegations contained in Paragraph 16 of the

Complaint, as stated, and demands strict proof thereof.

       12.     The Defendants would crave reference to Ms. Scannell MUSC IOP’s psychiatric

medical records in response to the allegations contained in Paragraphs 17, 18, 19 and 20 of the

Complaint. Any allegations inconsistent with those records or intended to allege liability or

damages against this Defendant are expressly denied.

       13.     This Defendant denies the allegations contained in Paragraph 21 of the Complaint

and demands strict proof thereof.




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          14.   This Defendant admits Plaintiff’s age, but otherwise is without knowledge or

information sufficient to answer the allegations contained in Paragraphs 22, 23, 24, 25, 26, 27,

28, 29, and 30 of the Complaint and, therefore, denies the same and demands strict proof thereof.

          15.   Answering the allegations contained in paragraph 31 of the Complaint, the

Defendants admits, upon information and belief, Plaintiff was diagnosed with placenta previa at

some point and referred to MUSC. Defendants is without knowledge or information sufficient to

answer the remaining allegations and, therefore, denies the same and demands strict proof

thereof.

          16.   This Defendant is without knowledge or information sufficient to answer the

details of the allegations contained in Paragraphs 32 through 61 of the Complaint, but admits

generally that Plaintiff was seen and evaluated on several occasions at MUSC by Dr. Head, Dr.

Johnson and others during the timeframe in question. Further answering, Defendants crave

reference to the Plaintiff’s medical records for their contents. Any allegations inconsistent with

those records or intended to allege liability or damages against this Defendant are expressly

denied.

          17.   The Defendants denies the allegations contained in Paragraph 62 of the

Complaint, as stated.

          18.   The Defendants would crave referenced to the MUSC medical records in response

to the allegations contained in Paragraphs 63, 64, 65, 66, 67, 68, 69, 70 and 71 of the Complaint.

Any allegations inconsistent with those records or intended to allege liability or damages against

this Defendant are expressly denied.

          19.   This Defendant admits Plaintiff did not want anyone to die during childbirth, but

denies the remaining allegations contained in Paragraph 72 of the Complaint, as alleged.



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       20.     This Defendant would crave reference to the MUSC medical records in answering

the allegations contained in Paragraphs 73, 74, 75, 76, 77, 78, 79, 80, 81, 82, 83, 84, 85, 86, 87,

88, 89, 90, 91, 92, 93, 94, 95, 96, 97, 98, 99, 100, 101, 102, 103, 104, 105, 106, 107, 108, 109

and 110 of the Complaint. This Defendant denies any allegation intended to imply Plaintiff

should have felt “reassured” with regards to her continued disregard for the medical providers’

recommendations. Any allegations inconsistent with those records or intended to allege liability

or damages against this Defendant are expressly denied.

       21.     Answering the allegations contained in Paragraph 111 of the Complaint, this

Defendant admits that a meeting was held by MUSC’s Ethics Committee to discuss the best

course of treatment for Plaintiff and her unborn child. This Defendant would crave reference to

the MUSC medical records regarding the details of their care and treatment. Any allegation

inconsistent with this response is denied.

       22.     This Defendant would crave reference to the Plaintiff’s medical records in

response to the allegations contained in Paragraph 112 of the Complaint. Any allegations

inconsistent with those records or intended to allege liability or damages against this Defendant

are expressly denied.

       23.     This Defendant denies the allegations contained in Paragraph 113 of the

Complaint, as stated, and demands strict proof thereof.

       24.     This Defendant would crave reference to the MUSC medical records in response

to the allegations contained in Paragraph 114 regarding the content of Dr. Navarro’s. This

Defendant lacks knowledge or information sufficient to form an opinion as to Ms. Scannell’s

mental state and therefore, denies the same and demands strict proof thereof.




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       25.     This Defendant is without knowledge or information sufficient to answer the

allegation contained in Paragraphs 115 of the Complaint, but crave reference to the Plaintiff’s

medical records for their contents. Any allegations inconsistent with those records or intended to

allege liability or damages against this Defendant are expressly denied.

       26.     This Defendant would crave reference to the Plaintiff’s medical records in

response to the allegations contained in Paragraph 116 of the Complaint. Any allegations

inconsistent with those records or intended to allege liability or damages against this Defendant

are expressly denied.

       27.     This Defendant is without knowledge or information sufficient to answer the

allegations contained in Paragraph 117 of the Complaint and therefore, denies the same and

demands strict proof thereof.

       28.     This Defendant would crave reference to the MUSC medical records in response

to the allegations contained in 118, 119, 120, 121, 122, 123, 124 and 125 of the Complaint. Any

allegations inconsistent with those records or intended to allege liability or damages against this

Defendant are expressly denied.

       29.     This Defendant would crave reference to the MUSC medical records in response

to the allegations contained in Paragraph 126 of the Complaint regarding the patient’s

expectations after her constant consultations with numerous medical staff in the weeks leading

up to her child’s birth. This Defendant does admit the child was healthy upon delivery due to the

work of the medical team. Any allegations inconsistent with these records or intended to allege

liability or damages against this Defendant are expressly denied.

       30.     This Defendant is without knowledge or information sufficient to answer the

allegations contained in Paragraphs 127, 128, 129, 130, 131, 132, 133, 134, 135, 136 and 137



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which reference records of outside individuals, but could crave reference to the MUSC medical

records regarding care and treatment by their staff members. Any allegations inconsistent with

those records or intended to allege liability or damages against this Defendant are expressly

denied.

          31.   This Defendant is without knowledge or information sufficient to answer the

allegations contained in Paragraph 138 regarding Ms. Scannell’s mental state and therefore,

denies the same and demands strict proof thereof. Further answering, this Defendant denies the

allegations regarding Ms. Scannell’s grievous suffering and demands strict proof thereof.

          32.   This Defendant would crave reference to the MUSC medical records in response

to the allegations contained in Paragraphs 139, 140, 141, 142, 143, 144, 145 and 146 of the

Complaint. Any allegations inconsistent with those records or intended to allege liability or

damages against this Defendant are expressly denied.

          33.   Answering the allegations contained in Paragraph 147 of the Complaint, this

Defendant admits there was approximately a 36 hour timeframe where Plaintiff did not see her

child, but denies the remaining allegations as alleged and demands strict proof thereof.

          34.   This Defendant would crave reference to the MUSC medical records in response

to the allegations contained in Paragraphs 148, 149, 150, 151 and 152 of the Complaint. Any

allegations inconsistent with those records or intended to allege liability or damages against this

Defendant are expressly denied.

          35.   This Defendant denies the allegations set forth in Paragraph 153 of the Complaint

as stated and demands strict proof thereof.

          36.   This Defendant would crave reference to the MUSC medical records in response

to the allegations contained in Paragraphs 154, 155, 156, 157, 158, 159, 160, 161, 162, 163, 164



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and 165 of the Complaint. Any allegations inconsistent with those records or intended to allege

liability or damages against this Defendant are expressly denied.

       37.     Answering the allegations contained in Paragraph 166, 167, 168 and 169 of the

Complaint, this Defendant admits that a probable cause hearing was held at Charleston County’s

Family Court and admits the child was ordered to be returned to the Plaintiff. This Defendant is

without knowledge or information sufficient to answer the allegations regarding specific

statements, testimony and details of the Court Order from said hearing and crave reference to the

transcript for its contents. Any allegations inconsistent with said transcript or intended to allege

liability or damages against this Defendant are expressly denied.         Defendant would crave

reference to the MUSC medical records regarding Plaintiff’s mental state.

       38.     The allegations contained in Paragraph 170 of the Complaint are directed parties

other than this Defendant and therefore no response is required.

       39.     This Defendant would crave reference to the MUSC medical records in response

to the allegations contained in Paragraphs 171, 172 and 173 of the Complaint. Any allegations

inconsistent with those records or intended to allege liability or damages against this Defendant

are expressly denied.

       40.     This Defendant denies the allegations set forth in Paragraph 174 of the Complaint

as stated and demands strict proof thereof.

       41.     The allegations contained in Paragraphs 175, 176 and 177 of the Complaint are

directed parties other than this Defendant and therefore no response is required.

       42.     This Defendant would crave reference to the MUSC medical records in response

to the allegations contained in Paragraphs 178, 179, 180 and 181 of the Complaint. Any




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allegations inconsistent with those records or intended to allege liability or damages against this

Defendant are expressly denied.

          43.   Answering the allegations contained in Paragraph 182 of the Complaint, this

Defendant admits Plaintiff was discharged from the hospital on or about July 17, 2018, but the

remaining allegations are directed at other parties and do not warrant a response. Any allegation

inconsistent with this response is denied.

          44.   This Defendant is without knowledge or information sufficient to answer the

allegations contained in Paragraphs 183 and 184 of the Complaint, but crave reference to the

Plaintiff’s medical records regarding the contents of her psychiatric evaluation by Dr. Guille and

communication Dr. Johnson had with Ms. Bradford. Any allegations inconsistent with those

records or intended to allege liability or damages against this Defendant are expressly denied.

          45.   The allegations contained in Paragraphs 185 and 186 of the Complaint are

directed parties other than this Defendant and therefore no response is required. To the extent

those allegations are directed at this Defendant or a response is required, they are expressly

denied.

          46.   This Defendant admits that Dr. Johnson testified at some point regarding this

matter, but lacks knowledge or information sufficient to answer the detailed allegations

contained in Paragraph 187 of the Complaint and, therefore, demands strict proof thereof.

Further responding, this Defendant craves reference to the complete transcript of such testimony

for its contents therein. Any allegations inconsistent with that transcript or intention to allege

liability or damages against this Defendant are expressly denied.

          47.   The allegations contained in Paragraphs 188, 189, 190, 191 and 192 of the

Complaint are directed parties other than this Defendant and therefore no response is required.



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To the extent those allegations are directed at this Defendant or a response is required, they are

expressly denied.

       48.     This Defendant would crave reference to the MUSC responses to interrogatories

from the Charleston Legislative Delegations in response to the allegations contained in

Paragraph 193 of the Complaint, but denies this cut-and-paste excerpt should be viewed as an

adequate explanation of Plaintiff’s complex medical care and treatment leading up to the birth of

her child as detailed in the MUSC medical records. Any allegations inconsistent with this

response is expressly denied.

       49.     The allegations contained in Paragraphs 194, 195, 196, 197, 198, 199 and 200 of

the Complaint are directed parties other than this Defendant and therefore no response is

required. Any allegations inconsistent with those records or intended to allege liability or

damages against this Defendant are expressly denied.

       50.     This Defendant denies the allegations contained in Paragraph 201 of the

Complaint and demands strict proof thereof.

       51.     Answering the allegations contained in Paragraph 202 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       52.     The allegations contained in Paragraphs 203, 204, 205, 206, 207 and 208 of the

Complaint are directed parties other than this Defendant and therefore no response is required.

To the extent those allegations are directed at this Defendant or a response is required, they are

expressly denied.

       53.     Answering the allegations contained in Paragraph 209 of the Complaint, this

Defendant restates its answer contained in the above paragraphs as if stated verbatim herein.




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       54.     The allegations contained in Paragraphs 210, 211, 212, 213, 214, 215, 216, 217,

218, 219 and 220 of the Complaint are directed parties other than this Defendant and therefore

no response is required. To the extent those allegations are directed at this Defendant or a

response is required, they are expressly denied.

       55.     Answering the allegations contained in Paragraph 221 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       56.     This Defendant denies the allegations contained in Paragraphs 222, 223, 224, 225

and 226 of the Complaint, including all subparts, and demands strict proof thereof.

       57.     Answering the allegations contained in Paragraph 227 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       58.     This Defendant denies the allegations contained in Paragraph 228 of the

Complaint, including all subparts, and demands strict proof thereof.

       59.     The allegations set forth in Paragraphs 229 and 230 call for legal conclusions to

which no response is required.

       60.     This Defendant denies the allegations contained in Paragraphs 231, 232, 233, 234,

235, 236, 237, 238 and 239 of the Complaint, including all subparts, and demands strict proof

thereof.

       61.     Answering the allegations contained in Paragraph 240 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       62.     This Defendant denies the allegations contained in Paragraphs 241, 242, 243, 244

and 245 of the Complaint, including all subparts, and demands strict proof thereof.

       63.     Answering the allegations contained in Paragraph 246 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.



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       64.     The allegations set forth in Paragraphs 247, 248 and 249 call for legal conclusions

to which no response is required. Further responding, this Defendant asserts that such Codes do

not establish the applicable standard of care in this case.

       65.     This Defendant denies the allegations contained in Paragraph 250 of the

Complaint and demands strict proof thereof.

       66.     The allegations contained in Paragraphs 251 and 252 of the Complaint call for

legal conclusions and therefore no response is required. To the extent a response is required,

those allegations are denied and strict proof is demanded thereof.

       67.     This Defendant denies the allegations contained in Paragraphs 253, 254 and 255

of the Complaint and demands strict proof thereof.

       68.     Answering the allegations contained in Paragraph 256 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       69.     This Defendant is without knowledge or information sufficient to answer the

allegations in Paragraph 257 of the Complaint and, therefore, denies the same and demands strict

proof thereof. To the extent those allegations call for legal conclusions, no response is required.

       70.     This Defendant denies the allegations contained in Paragraphs 258, 259, 260 and

261 of the Complaint and demands strict proof thereof.

       71.     Answering the allegations contained in Paragraph 262 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       72.     This Defendant denies the allegations contained in Paragraph 263 of the

Complaint and demands strict proof thereof.




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       73.     This Defendant is without knowledge or information sufficient to answer the

allegations in Paragraph 264 of the Complaint and, therefore, denies the same and demands strict

proof thereof. To the extent those allegations call for legal conclusions, no response is required.

       74.     This Defendant denies the allegations contained in Paragraphs 265, 266, 267 and

268 of the Complaint and demands strict proof thereof.

       75.     Answering the allegations contained in Paragraph 269 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       76.     This Defendant denies the allegations contained in Paragraphs 270, 271, 272 and

273 of the Complaint and demands strict proof thereof.

       77.     Answering the allegations contained in Paragraph 274 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       78.     This Defendant is without knowledge or information sufficient to answer the

allegations in Paragraph 275 of the Complaint and, therefore, denies the same and demands strict

proof thereof. To the extent those allegations call for legal conclusions, no response is required.

       79.     This Defendant denies the allegations contained in Paragraphs 276, 277, 278, 279,

280, 281, 282, 283 and 284 of the Complaint and demands strict proof thereof.

       80.     Answering the allegations contained in Paragraph 285 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       81.     This Defendant is without knowledge or information sufficient to answer the

allegations in Paragraph 286 of the Complaint and, therefore, denies the same and demands strict

proof thereof. To the extent those allegations call for legal conclusions, no response is required.

       82.     This Defendant denies the allegations contained in Paragraphs 287, 288, 289, 290

and 291 of the Complaint and demands strict proof thereof.



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       83.     Answering the allegations contained in Paragraph 292 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       84.     This Defendant is without knowledge or information sufficient to answer the

allegations in Paragraph 293 of the Complaint and, therefore, denies the same and demands strict

proof thereof. To the extent those allegations call for legal conclusions, no response is required.

       85.     This Defendant denies the allegations contained in Paragraphs 294, 295, 296, 297

and 298 of the Complaint and demands strict proof thereof.

       86.     Answering the allegations contained in Paragraph 299 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       87.     The allegations contained in Paragraphs 300, 301, 302, 303, 304 and 305 of the

Complaint are directed parties other than this Defendant and therefore no response is required.

       88.     Answering the allegations contained in Paragraph 306 of the Complaint, this

Defendant restates its answers contained in the above paragraphs as if stated verbatim herein.

       89.     This Defendant denies the allegations contained in Paragraph 307 of the

Complaint and demands strict proof thereof.

       90.     The allegations contained in Paragraph 308 of the Complaint call for legal

conclusions and therefore no response is required. To the extent a response is required, those

allegations are denied and strict proof is demanded thereof.

       91.     This Defendant denies the allegations contained in Paragraphs 309, 310, 311, 312

and 313 of the Complaint and demands strict proof thereof.

       92.     This Defendant denies Plaintiff’s Prayer for Relief in full.

                       FURTHER ANSWERING AND BY WAY OF A
                        FURTHER AND AFFIRMATIVE DEFENSE




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          93.   This Defendant is a governmental entity of the State of South Carolina as defined

under the South Carolina Tort Claims Act, S.C. Code Ann. § 15-78-10 et. seq., and thereby

asserts the defense of sovereign immunity pursuant to the terms of the aforesaid Tort Claims Act.

                        FURTHER ANSWERING AND BY WAY OF A
                         FURTHER AND AFFIRMATIVE DEFENSE

          94.   As an agency of the State of South Carolina, this case is subject to the South

Carolina Tort Claims Act, to include and not be limited to its limitations on liability. Further, as

to any violation of common law or state law, this Defendant assert the provisions of the South

Carolina Tort Claims Act, S.C. Code Ann. §15-78-10, et seq, and its pertinent parts which

include but are not limited to §§15-78-120; 15-78-60(5); 15-78-60(25); 15-78-60(20); and 15-78

100(c).

                        FURTHER ANSWERING AND BY WAY OF A
                         FURTHER AND AFFIRMATIVE DEFENSE

          95.   This Defendant plead that any award or assessment of punitive damages is barred

by the South Carolina Tort Claims Act, and would also violate the this Defendant’ constitutional

rights under the Fifth, Sixth and Fourteenth Amendments of the United States Constitution and

comparable provisions of the South Carolina Constitution. this Defendant move to strike any

such claim.

                           FURTHER ANSWERING AND BY WAY OF A
                            FURTHER AND AFFIRMATIVE DEFENSE

          96.   Plaintiff’s Complaint fails to state facts sufficient to constitute a cause of action

and therefore, should be dismissed pursuant to Rule 12(b)(6), SCRCP.

                           FURTHER ANSWERING AND FOR A
                         FURTHER AND AFFIRMATIVE DEFENSE




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          97.    Plaintiff has failed to state a proper claim under 42 U.S.C § 1983 by failing to

identify the deprivation of any valid right secured by the Constitution or laws of the United

States.

                            FURTHER ANSWERING AND FOR A
                          FURTHER AND AFFIRMATIVE DEFENSE

          98.    To the extent that punitive damages are sought by Plaintiff, Plaintiff is not entitled

to punitive damages vis-à-vis this Defendant because the alleged acts, omissions or failures to act

by this Defendant were not willful, wanton or reckless.

                           FURTHER ANSWERING AND BY WAY OF A
                            FURTHER AND AFFIRMATIVE DEFENSE

          99.    This Defendant would affirmatively state that at all times it and its employees

complied with the applicable standard of care.

                            FURTHER ANSWERING AND FOR A
                          FURTHER AND AFFIRMATIVE DEFENSE

          100.   These individual Defendants were state officials acting in an official capacity and

is entitled to immunity pursuant to the Eleventh Amendment of the Constitution of the United

States from suit for monetary damages.

                            FURTHER ANSWERING AND FOR A
                          FURTHER AND AFFIRMATIVE DEFENSE

          101.   Plaintiff has failed to state a proper claim under 42 U.S.C § 1985 by failing to

identify a conspiracy, an act in furtherance of the conspiracy, and/or an intent to deprive the

Plaintiff of equal protection of the law on part of this Defendant.

                            FURTHER ANSWERING AND FOR A
                          FURTHER AND AFFIRMATIVE DEFENSE

          102.   Plaintiff’s claim under 42 U.S.C § 1985 fail as a matter of law pursuant to the

intracorporate conspiracy doctrine.

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                           FURTHER ANSWERING AND FOR A
                         FURTHER AND AFFIRMATIVE DEFENSE

       103.    Certain of Plaintiff’s claims fail as a matter of law under S.C. Code Ann. § 15-78-

70(b) because Plaintiff has not shown that this Defendant’s actions or inactions constituted fraud,

malice, an intent to harm, or a crime involving moral turpitude.

                          FURTHER ANSWERING AND BY WAY OF A
                           FURTHER AND AFFIRMATIVE DEFENSE

       104.    A claim for punitive damages and an award of punitive damages would violate

those clauses of the Constitutions of the United States and South Carolina related to privileges

and immunities, due process and equal protection and this Defendant would further assert the

protections, defenses, and statutory rights set forth in S.C. Code Ann. §§ 15-32-510, 15-32-520,

15-32-530, 15-32-540, et. seq.

                          FURTHER ANSWERING AND BY WAY OF A
                           FURTHER AND AFFIRMATIVE DEFENSE

       105.    There was no negligence, gross negligence, recklessness, or wantonness on the

part of this Defendant which proximately caused or contributed to Plaintiff’s alleged injuries.

                           FURTHER ANSWERING AND FOR A
                         FURTHER AND AFFIRMATIVE DEFENSE

       106.    Plaintiff’s claims may be barred in whole or in part by applicable statutes of

limitation or statutes of repose.

                        FURTHER ANSWERING AND BY WAY OF A
                         FURTHER AND AFFIRMATIVE DEFENSE

       107.    Plaintiff did not have an “impairment,” real or perceived, under 42 U.S.C.

§12102(1) and 42 U.S.C. §12102(3)(A) and therefore her claims under the Americans with

Disabilities Act should be dismissed.

                        FURTHER ANSWERING AND BY WAY OF A

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                         FURTHER AND AFFIRMATIVE DEFENSE

       108.    This Defendant did not coerce, intimidate, threaten, or interfere with Plaintiff’s

exercise or enjoyment of any right granted or protected by the Americans with Disabilities Act,

and therefore her claims under that Act should be dismissed.

                        FURTHER ANSWERING AND BY WAY OF A
                         FURTHER AND AFFIRMATIVE DEFENSE

       109.    42 U.S.C. §12202 of the Americans with Disabilities Act is unconstitutional and

therefore this Defendant is protected from legal action arising under the Act by the Eleventh

Amendment of the United States Constitution.

                          FURTHER ANSWERING AND BY WAY OF A
                           FURTHER AND AFFIRMATIVE DEFENSE

       110.    This Defendant reserve any additional affirmative defenses as may be revealed or

available to it during the course of their investigation or discovery in this case.



                                               YOUNG CLEMENT RIVERS, LLP


                                               By: s/D. Jay Davis, Jr.
                                               D. Jay Davis, Jr.
                                               James E. Scott, IV
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                                               Attorneys for Defendant Michelle Amaya

Charleston, South Carolina

Dated: September 21, 2020




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STATE OF SOUTH CAROLINA                      )       IN THE COURT OF COMMON PLEAS
                                             )
COUNTY OF CHARLESTON                         )       NINTH JUDICIAL CIRCUIT
                                             )
ELIZABETH DE'ANNA SCANNELL,                  )       CASE NO. 2020-CP-10-02959
                                             )
                                             )
                      PLAINTIFF,             )
                                             )
               vs.                           )
                                             )
SOUTH CAROLINA DEPARTMENT                    )
OF SOCIAL SERVICES (SCDSS),                  )       ANSWER ON BEHALF OF DEFENDANT
MEDICAL UNIVERSITY OF SOUTH                  )         MEDICAL UNIVERSITY OF SOUTH
CAROLINA, CYNTHIA BRADFORD,                  )       CAROLINA, MUSC ADMINISTRATOR 1,
MOSETTA CLARK, LOUCHETIA                     )         MUSC ADMINISTRATOR 2, MUSC
SIMMONS-ROBINSON, JANE BELL,                 )          ADMINISTRATOR 3, AND MUSC
MICHAEL LEACH, DONNA                         )          PUBLIC SAFETY SUPERVISOR
JOHNSON, MICHELLE IRENE                      )
AMAYA, KELLY FINKE, MUSC                     )
ADMINISTRATOR 1, MUSC                        )
ADMINISTRATOR 2, MUSC                        )
ADMINISTRATOR 3, AND MUSC                    )
PUBLIC SAFETY SUPERVISOR ,                   )
                                             )
                      DEFENDANTS.            )
                                             )

TO: ROBERT J. BUTCHER AND DEBORAH J. BUTCHER, ATTORNEYS FOR THE
PLAINTIFF:

       The Defendants, Medical University of South Carolina, MUSC Administrator 1, MUSC

Administrator 2, MUSC Administrator 3, and MUSC Public Safety Supervisor (hereinafter

referred to as “MUSC Defendants” or “these Defendants”), by and through their undersigned

counsel, hereby respond to the allegations set forth in the Complaint as follows:

       1.      Any allegation set forth in the Complaint not specifically admitted, modified, or

otherwise denied is hereby expressly denied and strict proof is demanded thereof.

       2.      These Defendants admit the allegations contained in Paragraph 1 of the

Complaint, upon information and belief.

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       3.      The allegations contained in Paragraphs 2, 3, 4, 5, 6 and 7 of the Complaint are

directed parties other than MUSC Defendants and therefore no response is required.

       4.      Answering the allegations contained in Paragraph 8 of the Complaint, these

Defendants admit that MUSC is a corporation organized and existing under the laws of the State

of South Carolina and that it conducts business in Charleston County, including the facility

where Plaintiff gave birth to A.D.S. Further, these Defendants admit that MUSC is a state agency

and assert that it is covered under the South Carolina Tort Claims Act and is entitled to all

protections, immunities, and limitations of liability afforded thereunder.

       5.      Answering the allegations contained in Paragraph 9 of the Complaint, these

Defendants admit only that Donna Johnson, M.D. is a physician and professor employed by

MUSC. MUSC Defendants lack knowledge or information sufficient to form an opinion as to the

truth of the remaining allegations contained in this Paragraph and, therefore, deny the same and

demand strict proof thereof.

       6.      Answering the allegations contained in Paragraph 10 of the Complaint, these

Defendants admit only that Michelle Irene Amaya, M.D., M.P.H. is a physician and associate

professor employed by MUSC Defendants. MUSC Defendants lack knowledge or information

sufficient to form an opinion as to the truth of the remaining allegations contained in this

Paragraph and, therefore, deny the same and demand strict proof thereof.

       7.      Answering the allegations contained in Paragraph 11 of the Complaint, these

Defendants admit only that Kelly Finke, MSW is a Licensed Master Social Worker employed by

MUSC. MUSC Defendants lack knowledge or information sufficient to form an opinion as to the

truth of the remaining allegations contained in this Paragraph and, therefore, deny the same and

demand strict proof thereof.



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       8.      These Defendants lack the knowledge or information sufficient to form an

opinion as to the truth of the allegations in Paragraph 12 of the Complaint regarding the

residency and citizenry of unnamed Defendants who are supposedly employed by MUSC, and

therefore, deny the same and demand strict proof thereof. Further responding, MUSC Defendants

deny these alleged MUSC employees ordered or approved of putting Ms. Scannell into

emergency protective custody without cause. Finally, MUSC Defendants lack knowledge or

information sufficient to form an opinion as to the truth of the remaining allegations contained in

Paragraph 12 and, therefore, deny the same and demand strict proof thereof.

       9.      Answering the allegations contained in Paragraph 13 of the Complaint, these

Defendants lack knowledge or information sufficient to form an opinion as to the truth of the

allegations regarding an unnamed Defendant who is supposedly employed by MUSC

Defendants, and therefore, deny the same and demand strict proof thereof.

       10.     The allegations contained in Paragraphs 14 and 15 of the Complaint call for legal

conclusions and do no warrant a response.

       11.     These Defendants deny the allegations contained in Paragraph 16 of the

Complaint, as stated, and demand strict proof thereof.

       12.     The Defendants would crave reference to Ms. Scannell MUSC IOP’s psychiatric

medical records in response to the allegations contained in Paragraphs 17, 18, 19 and 20 of the

Complaint. Any allegations inconsistent with those records or intended to allege liability or

damages against these Defendants are expressly denied.

       13.     These Defendants deny the allegations contained in Paragraph 21 of the

Complaint and demand strict proof thereof.




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          14.   These Defendants admit Plaintiff’s age, but otherwise are without knowledge or

information sufficient to answer the allegations contained in Paragraphs 22, 23, 24, 25, 26, 27,

28, 29, and 30 of the Complaint and, therefore, deny the same and demand strict proof thereof.

          15.   Answering the allegations contained in paragraph 31 of the Complaint, the

Defendants admit, upon information and belief, Plaintiff was diagnosed with placenta previa at

some point and referred to MUSC. Defendants are without knowledge or information sufficient

to answer the remaining allegations and, therefore, deny the same and demand strict proof

thereof.

          16.   These Defendants are without knowledge or information sufficient to answer the

details of the allegations contained in Paragraphs 32 through 61 of the Complaint, but admit

generally that Plaintiff was seen and evaluated on several occasions at MUSC by Dr. Head, Dr.

Johnson and others during the timeframe in question. Further answering, Defendants crave

reference to the Plaintiff’s medical records for their contents. Any allegations inconsistent with

those records or intended to allege liability or damages against these Defendants are expressly

denied.

          17.   The Defendants deny the allegations contained in Paragraph 62 of the Complaint,

as stated.

          18.   The Defendants would crave referenced to the MUSC medical records in response

to the allegations contained in Paragraphs 63, 64, 65, 66, 67, 68, 69, 70 and 71 of the Complaint.

Any allegations inconsistent with those records or intended to allege liability or damages against

these Defendants are expressly denied.

          19.   These Defendants admit Plaintiff did not want anyone to die during childbirth, but

deny the remaining allegations contained in Paragraph 72 of the Complaint, as alleged.



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       20.     These Defendants would crave reference to the MUSC medical records in

answering the allegations contained in Paragraphs 73, 74, 75, 76, 77, 78, 79, 80, 81, 82, 83, 84,

85, 86, 87, 88, 89, 90, 91, 92, 93, 94, 95, 96, 97, 98, 99, 100, 101, 102, 103, 104, 105, 106, 107,

108, 109 and 110 of the Complaint. These Defendants deny any allegation intended to imply

Plaintiff should have felt “reassured” with regards to her continued disregard for the medical

providers’ recommendations. Any allegations inconsistent with those records or intended to

allege liability or damages against these Defendants are expressly denied.

       21.     Answering the allegations contained in Paragraph 111 of the Complaint, these

Defendants admit that a meeting was held by MUSC’s Ethics Committee to discuss the best

course of treatment for Plaintiff and her unborn child. These Defendants would crave reference

to the MUSC medical records regarding the details of their care and treatment. Any allegation

inconsistent with this response is denied.

       22.     These Defendants would crave reference to the Plaintiff’s medical records in

response to the allegations contained in Paragraph 112 of the Complaint. Any allegations

inconsistent with those records or intended to allege liability or damages against these

Defendants are expressly denied.

       23.     These Defendants deny the allegations contained in Paragraph 113 of the

Complaint, as stated, and demand strict proof thereof.

       24.     These Defendants would crave reference to the MUSC medical records in

response to the allegations contained in Paragraph 114 regarding the content of Dr. Navarro’s.

These Defendants lack knowledge or information sufficient to form an opinion as to Ms.

Scannell’s mental state and therefore, deny the same and demand strict proof thereof.




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       25.     These Defendants are without knowledge or information sufficient to answer the

allegation contained in Paragraphs 115 of the Complaint, but crave reference to the Plaintiff’s

medical records for their contents. Any allegations inconsistent with those records or intended to

allege liability or damages against these Defendants are expressly denied.

       26.     These Defendants would crave reference to the Plaintiff’s medical records in

response to the allegations contained in Paragraph 116 of the Complaint. Any allegations

inconsistent with those records or intended to allege liability or damages against these

Defendants are expressly denied.

       27.     These Defendants are without knowledge or information sufficient to answer the

allegations contained in Paragraph 117 of the Complaint and therefore, deny the same and

demand strict proof thereof.

       28.     These Defendants would crave reference to the MUSC medical records in

response to the allegations contained in 118, 119, 120, 121, 122, 123, 124 and 125 of the

Complaint. Any allegations inconsistent with those records or intended to allege liability or

damages against these Defendants are expressly denied.

       29.     These Defendants would crave reference to the MUSC medical records in

response to the allegations contained in Paragraph 126 of the Complaint regarding the patient’s

expectations after her constant consultations with numerous medical staff in the weeks leading

up to her child’s birth. Defendants do admit the child was healthy upon delivery due to the work

of the medical team. Any allegations inconsistent with these records or intended to allege

liability or damages against these Defendants are expressly denied.

       30.     These Defendants are without knowledge or information sufficient to answer the

allegations contained in Paragraphs 127, 128, 129, 130, 131, 132, 133, 134, 135, 136 and 137



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which reference records of outside individuals, but could crave reference to the MUSC medical

records regarding care and treatment by their staff members. Any allegations inconsistent with

those records or intended to allege liability or damages against these Defendants are expressly

denied.

          31.   These Defendants are without knowledge or information sufficient to answer the

allegations contained in Paragraph 138 regarding Ms. Scannell’s mental state and therefore, deny

the same and demand strict proof thereof. Further answering, these Defendants deny the

allegations regarding Ms. Scannell’s grievous suffering and demand strict proof thereof.

          32.   These Defendants would crave reference to the MUSC medical records in

response to the allegations contained in Paragraphs 139, 140, 141, 142, 143, 144, 145 and 146 of

the Complaint. Any allegations inconsistent with those records or intended to allege liability or

damages against these Defendants are expressly denied.

          33.   Answering the allegations contained in Paragraph 147 of the Complaint, these

Defendants admit there was approximately a 36 hour timeframe where Plaintiff did not see her

child, but deny the remaining allegations as alleged and demand strict proof thereof.

          34.   These Defendants would crave reference to the MUSC medical records in

response to the allegations contained in Paragraphs 148, 149, 150, 151 and 152 of the Complaint.

Any allegations inconsistent with those records or intended to allege liability or damages against

these Defendants are expressly denied.

          35.   These Defendants deny the allegations set forth in Paragraph 153 of the

Complaint as stated and demand strict proof thereof.

          36.   These Defendants would crave reference to the MUSC medical records in

response to the allegations contained in Paragraphs 154, 155, 156, 157, 158, 159, 160, 161, 162,



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163, 164 and 165 of the Complaint. Any allegations inconsistent with those records or intended

to allege liability or damages against these Defendants are expressly denied.

       37.     Answering the allegations contained in Paragraph 166, 167, 168 and 169 of the

Complaint, these Defendants admit that a probable cause hearing was held at Charleston

County’s Family Court and admit the child was ordered to be returned to the Plaintiff. These

Defendants are without knowledge or information sufficient to answer the allegations regarding

specific statements, testimony and details of the Court Order from said hearing and crave

reference to the transcript for its contents. Any allegations inconsistent with said transcript or

intended to allege liability or damages against these Defendants are expressly denied. Defendant

would crave reference to the MUSC medical records regarding Plaintiff’s mental state.

       38.     The allegations contained in Paragraph 170 of the Complaint are directed parties

other than these Defendants and therefore no response is required.

       39.     These Defendants would crave reference to the MUSC medical records in

response to the allegations contained in Paragraphs 171, 172 and 173 of the Complaint. Any

allegations inconsistent with those records or intended to allege liability or damages against these

Defendants are expressly denied.

       40.     These Defendants deny the allegations set forth in Paragraph 174 of the

Complaint as stated and demand strict proof thereof.

       41.     The allegations contained in Paragraphs 175, 176 and 177 of the Complaint are

directed parties other than these Defendants and therefore no response is required.

       42.     These Defendants would crave reference to the MUSC medical records in

response to the allegations contained in Paragraphs 178, 179, 180 and 181 of the Complaint.




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Any allegations inconsistent with those records or intended to allege liability or damages against

these Defendants are expressly denied.

          43.   Answering the allegations contained in Paragraph 182 of the Complaint, these

Defendants admit Plaintiff was discharged from the hospital on or about July 17, 2018, but the

remaining allegations are directed at other parties and do not warrant a response. Any allegation

inconsistent with this response is denied.

          44.   These Defendants are without knowledge or information sufficient to answer the

allegations contained in Paragraphs 183 and 184 of the Complaint, but crave reference to the

Plaintiff’s medical records regarding the contents of her psychiatric evaluation by Dr. Guille and

communication Dr. Johnson had with Ms. Bradford. Any allegations inconsistent with those

records or intended to allege liability or damages against these Defendants are expressly denied.

          45.   The allegations contained in Paragraphs 185 and 186 of the Complaint are

directed parties other than these Defendants and therefore no response is required. To the extent

those allegations are directed at these Defendants or a response is required, they are expressly

denied.

          46.   These Defendants admit Dr. Johnson testified at some point regarding this matter,

but lack knowledge or information sufficient to answer the detailed allegations contained in

Paragraph 187 of the Complaint and, therefore, demand strict proof thereof. Further responding,

these Defendants crave reference to the complete transcript of such testimony for its contents

therein. Any allegations inconsistent with that transcript or intention to allege liability or

damages against these Defendants are expressly denied.

          47.   The allegations contained in Paragraphs 188, 189, 190, 191 and 192 of the

Complaint are directed parties other than these Defendants and therefore no response is required.



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To the extent those allegations are directed at these Defendants or a response is required, they are

expressly denied.

       48.     These Defendants would crave reference to the MUSC responses to

interrogatories from the Charleston Legislative Delegations in response to the allegations

contained in Paragraph 193 of the Complaint, but deny this cut-and-paste excerpt should be

viewed as an adequate explanation of Plaintiff’s complex medical care and treatment leading up

to the birth of her child as detailed in the MUSC medical records. Any allegations inconsistent

with this response is expressly denied.

       49.     The allegations contained in Paragraphs 194, 195, 196, 197, 198, 199 and 200 of

the Complaint are directed parties other than these Defendants and therefore no response is

required. Any allegations inconsistent with those records or intended to allege liability or

damages against these Defendants are expressly denied.

       50.     These Defendants deny the allegations contained in Paragraph 201 of the

Complaint and demand strict proof thereof.

       51.     Answering the allegations contained in Paragraph 202 of the Complaint, these

Defendants restate their answers contained in the above paragraphs as if stated verbatim herein.

       52.     The allegations contained in Paragraphs 203, 204, 205, 206, 207 and 208 of the

Complaint are directed parties other than these Defendants and therefore no response is required.

To the extent those allegations are directed at these Defendants or a response is required, they are

expressly denied.

       53.     Answering the allegations contained in Paragraph 209 of the Complaint, these

Defendants restate their answers contained in the above paragraphs as if stated verbatim herein.




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       54.       The allegations contained in Paragraphs 210, 211, 212, 213, 214, 215, 216, 217,

218, 219 and 220 of the Complaint are directed parties other than these Defendants and therefore

no response is required. To the extent those allegations are directed at these Defendants or a

response is required, they are expressly denied.

       55.       Answering the allegations contained in Paragraph 221 of the Complaint, these

Defendants restate their answers contained in the above paragraphs as if stated verbatim herein.

       56.       These Defendants deny the allegations contained in Paragraphs 222, 223, 224,

225 and 226 of the Complaint, including all subparts, and demand strict proof thereof.

       57.       Answering the allegations contained in Paragraph 227 of the Complaint, these

Defendants restate their answers contained in the above paragraphs as if stated verbatim herein.

       58.       These Defendants deny the allegations contained in Paragraph 228 of the

Complaint, including all subparts, and demand strict proof thereof.

       59.       The allegations set forth in Paragraphs 229 and 230 call for legal conclusions to

which no response is required.

       60.       These Defendants deny the allegations contained in Paragraphs 231, 232, 233,

234, 235, 236, 237, 238 and 239 of the Complaint, including all subparts, and demand strict

proof thereof.

       61.       Answering the allegations contained in Paragraph 240 of the Complaint, these

Defendants restate their answers contained in the above paragraphs as if stated verbatim herein

       62.       These Defendants deny the allegations contained in Paragraphs 241, 242, 243,

244 and 245 of the Complaint, including all subparts, and demand strict proof thereof.

       63.       Answering the allegations contained in Paragraph 246 of the Complaint, these

Defendants restate their answers contained in the above paragraphs as if stated verbatim herein.



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       64.     The allegations set forth in Paragraphs 247, 248 and 249 call for legal conclusions

to which no response is required. Further responding, these Defendants asserts that such Codes

do not establish the applicable standard of care in this case.

       65.     These Defendants deny the allegations contained in Paragraph 250 of the

Complaint and demand strict proof thereof.

       66.     The allegations contained in Paragraphs 251 and 252 of the Complaint call for

legal conclusions and therefore no response is required. To the extent a response is required,

those allegations are denied and strict proof is demanded thereof.

       67.     These Defendants deny the allegations contained in Paragraphs 253, 254 and 255

of the Complaint and demand strict proof thereof.

       68.     Answering the allegations contained in Paragraph 256 of the Complaint, these

Defendants restate their answers contained in the above paragraphs as if stated verbatim herein.

       69.     These Defendants are without knowledge or information sufficient to answer the

allegations in Paragraph 257 of the Complaint and, therefore, deny the same and demand strict

proof thereof. To the extent those allegations call for legal conclusions, no response is required.

       70.     These Defendants deny the allegations contained in Paragraphs 258, 259, 260 and

261 of the Complaint and demand strict proof thereof.

       71.     Answering the allegations contained in Paragraph 262 of the Complaint, these

Defendants restate their answers contained in the above paragraphs as if stated verbatim herein.

       72.     These Defendants deny the allegations contained in Paragraph 263 of the

Complaint and demand strict proof thereof.




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       73.     These Defendants are without knowledge or information sufficient to answer the

allegations in Paragraph 264 of the Complaint and, therefore, deny the same and demand strict

proof thereof. To the extent those allegations call for legal conclusions, no response is required.

       74.     These Defendants deny the allegations contained in Paragraphs 265, 266, 267 and

268 of the Complaint and demand strict proof thereof.

       75.     Answering the allegations contained in Paragraph 269 of the Complaint, these

Defendants restate their answers contained in the above paragraphs as if stated verbatim herein.

       76.     These Defendants deny the allegations contained in Paragraphs 270, 271, 272 and

273 of the Complaint and demand strict proof thereof.

       77.     Answering the allegations contained in Paragraph 274 of the Complaint, these

Defendants restate their answers contained in the above paragraphs as if stated verbatim herein.

       78.     These Defendants are without knowledge or information sufficient to answer the

allegations in Paragraph 275 of the Complaint and, therefore, deny the same and demand strict

proof thereof. To the extent those allegations call for legal conclusions, no response is required.

       79.     These Defendants deny the allegations contained in Paragraphs 276, 277, 278,

279, 280, 281, 282, 283 and 284 of the Complaint and demand strict proof thereof.

       80.     Answering the allegations contained in Paragraph 285 of the Complaint, these

Defendants restate their answers contained in the above paragraphs as if stated verbatim herein.

       81.     These Defendants are without knowledge or information sufficient to answer the

allegations in Paragraph 286 of the Complaint and, therefore, deny the same and demand strict

proof thereof. To the extent those allegations call for legal conclusions, no response is required.

       82.     These Defendants deny the allegations contained in Paragraphs 287, 288, 289,

290 and 291 of the Complaint and demand strict proof thereof.



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       83.     Answering the allegations contained in Paragraph 292 of the Complaint, these

Defendants restate their answers contained in the above paragraphs as if stated verbatim herein.

       84.     These Defendants are without knowledge or information sufficient to answer the

allegations in Paragraph 293 of the Complaint and, therefore, deny the same and demand strict

proof thereof. To the extent those allegations call for legal conclusions, no response is required.

       85.     These Defendants deny the allegations contained in Paragraphs 294, 295, 296,

297 and 298 of the Complaint and demand strict proof thereof.

       86.     Answering the allegations contained in Paragraph 299 of the Complaint, these

Defendants restate their answers contained in the above paragraphs as if stated verbatim herein.

       87.     The allegations contained in Paragraphs 300, 301, 302, 303, 304 and 305 of the

Complaint are directed parties other than these Defendants and therefore no response is required.

       88.     Answering the allegations contained in Paragraph 306 of the Complaint, these

Defendants restate their answers contained in the above paragraphs as if stated verbatim herein.

       89.     These Defendants deny the allegations contained in Paragraph 307 of the

Complaint and demand strict proof thereof.

       90.     The allegations contained in Paragraph 308 of the Complaint call for legal

conclusions and therefore no response is required. To the extent a response is required, those

allegations are denied and strict proof is demanded thereof.

       91.     These Defendants deny the allegations contained in Paragraphs 309, 310, 311,

312 and 313 of the Complaint and demand strict proof thereof.

       92.     These Defendants deny Plaintiff’s Prayer for Relief in full.

                       FURTHER ANSWERING AND BY WAY OF A
                        FURTHER AND AFFIRMATIVE DEFENSE




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          93.   MUSC Defendants is a governmental entity of the State of South Carolina as

defined under the South Carolina Tort Claims Act, S.C. Code Ann. § 15-78-10 et. seq., and

thereby asserts the defense of sovereign immunity pursuant to the terms of the aforesaid Tort

Claims Act.

                        FURTHER ANSWERING AND BY WAY OF A
                         FURTHER AND AFFIRMATIVE DEFENSE

          94.   As an agency of the State of South Carolina, this case is subject to the South

Carolina Tort Claims Act, to include and not be limited to its limitations on liability. Further, as

to any violation of common law or state law, these Defendants assert the provisions of the South

Carolina Tort Claims Act, S.C. Code Ann. §15-78-10, et seq, and its pertinent parts which

include but are not limited to §§15-78-120; 15-78-60(5); 15-78-60(25); 15-78-60(20); and 15-78

100(c).

                        FURTHER ANSWERING AND BY WAY OF A
                         FURTHER AND AFFIRMATIVE DEFENSE

          95.   MUSC Defendants plead that any award or assessment of punitive damages is

barred by the South Carolina Tort Claims Act, and would also violate the MUSC Defendants’

constitutional rights under the Fifth, Sixth and Fourteenth Amendments of the United States

Constitution and comparable provisions of the South Carolina Constitution. MUSC Defendants

move to strike any such claim.

                           FURTHER ANSWERING AND BY WAY OF A
                            FURTHER AND AFFIRMATIVE DEFENSE

          96.   Plaintiff’s Complaint fails to state facts sufficient to constitute a cause of action

and therefore, should be dismissed pursuant to Rule 12(b)(6), SCRCP.

                           FURTHER ANSWERING AND FOR A
                         FURTHER AND AFFIRMATIVE DEFENSE



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          97.    Plaintiff has failed to state a proper claim under 42 U.S.C § 1983 by failing to

identify the deprivation of any valid right secured by the Constitution or laws of the United

States.

                            FURTHER ANSWERING AND FOR A
                          FURTHER AND AFFIRMATIVE DEFENSE

          98.    To the extent that punitive damages are sought by Plaintiff, Plaintiff is not entitled

to punitive damages vis-à-vis these Defendants because the alleged acts, omissions or failures to

act by these Defendants were not willful, wanton or reckless.

                           FURTHER ANSWERING AND BY WAY OF A
                            FURTHER AND AFFIRMATIVE DEFENSE

          99.    MUSC Defendants would affirmatively state that at all times it and its employees

complied with the applicable standard of care.

                            FURTHER ANSWERING AND FOR A
                          FURTHER AND AFFIRMATIVE DEFENSE

          100.   These individual Defendants were state officials acting in an official capacity and

is entitled to immunity pursuant to the Eleventh Amendment of the Constitution of the United

States from suit for monetary damages. Furthermore, these government officials were

performing discretionary functions that did not violate a clearly established constitutional right,

and therefore they are immune from suit under 42 U.S.C. § 1983.

                            FURTHER ANSWERING AND FOR A
                          FURTHER AND AFFIRMATIVE DEFENSE

          101.   MUSC did not create or implement policies or standards in a manner that

amounted to deliberate indifference towards the known constitutional rights of the Plaintiff and,

therefore, this action should be dismissed. Furthermore, MUSC adequately trained its employees

and therefore is not subject to liability in this matter.



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                           FURTHER ANSWERING AND FOR A
                         FURTHER AND AFFIRMATIVE DEFENSE

       102.    To the extent plaintiff’s claims are based on the doctrine of respondeat superior,

such claims are barred because the doctrine of respondeat superior is not a basis for recovery

under 42 U.S.C. § 1983.

                           FURTHER ANSWERING AND FOR A
                         FURTHER AND AFFIRMATIVE DEFENSE

       103.     Plaintiff has failed to state a proper claim under 42 U.S.C § 1985 by failing to

identify a conspiracy, an act in furtherance of the conspiracy, and/or an intent to deprive the

Plaintiff of equal protection of the law on part of this Defendant.

                           FURTHER ANSWERING AND FOR A
                         FURTHER AND AFFIRMATIVE DEFENSE

       104.     Plaintiff’s claim under 42 U.S.C § 1985 fail as a matter of law pursuant to the

intracorporate conspiracy doctrine.

                           FURTHER ANSWERING AND FOR A
                         FURTHER AND AFFIRMATIVE DEFENSE

       105.    Certain of Plaintiff’s claims fail as a matter of law under S.C. Code Ann. § 15-78-

70(b) because Plaintiff has not shown that this Defendant’s actions or inactions constituted fraud,

malice, an intent to harm, or a crime involving moral turpitude.

                          FURTHER ANSWERING AND BY WAY OF A
                           FURTHER AND AFFIRMATIVE DEFENSE

       106.    A claim for punitive damages and an award of punitive damages would violate

those clauses of the Constitutions of the United States and South Carolina related to privileges

and immunities, due process and equal protection and these Defendants would further assert the

protections, defenses, and statutory rights set forth in S.C. Code Ann. §§ 15-32-510, 15-32-520,

15-32-530, 15-32-540, et. seq.

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                          FURTHER ANSWERING AND BY WAY OF A
                           FURTHER AND AFFIRMATIVE DEFENSE

       107.    There was no negligence, gross negligence, recklessness, or wantonness on the

part of these Defendants which proximately caused or contributed to Plaintiff’s alleged injuries.

                           FURTHER ANSWERING AND FOR A
                         FURTHER AND AFFIRMATIVE DEFENSE

       108.    Plaintiff’s claims may be barred in whole or in part by applicable statutes of

limitation or statutes of repose.

                        FURTHER ANSWERING AND BY WAY OF A
                         FURTHER AND AFFIRMATIVE DEFENSE

       109.    Plaintiff did not have an “impairment,” real or perceived, under 42 U.S.C.

§12102(1) and 42 U.S.C. §12102(3)(A) and therefore her claims under the Americans with

Disabilities Act should be dismissed.

                        FURTHER ANSWERING AND BY WAY OF A
                         FURTHER AND AFFIRMATIVE DEFENSE

       110.    MUSC Defendants did not coerce, intimidate, threaten, or interfere with

Plaintiff’s exercise or enjoyment of any right granted or protected by the Americans with

Disabilities Act, and therefore her claims under that Act should be dismissed.

                        FURTHER ANSWERING AND BY WAY OF A
                         FURTHER AND AFFIRMATIVE DEFENSE

       111.    42 U.S.C. §12202 of the Americans with Disabilities Act is unconstitutional and

therefore MUSC Defendants are protected from legal action arising under the Act by the

Eleventh Amendment of the United States Constitution.

                          FURTHER ANSWERING AND BY WAY OF A
                           FURTHER AND AFFIRMATIVE DEFENSE




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       112.    MUSC Defendants reserve any additional affirmative defenses as may be revealed

or available to it during the course of their investigation or discovery in this case.



                                               YOUNG CLEMENT RIVERS, LLP


                                               By: s/D. Jay Davis, Jr.
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Charleston, South Carolina

Dated: September 21, 2020




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   STATE OF SOUTH CAROLINA                            IN THE COURT OF COMMON PLEAS

   COUNTY OF CHARLESTON                               FOR THE NINTH JUDICIAL CIRCUIT

   Elizabeth De’Anna Scannell,                             C/A No. 2020CP1002959
                                     Plaintiff,
                                                      PLAINTIFF’S NOTICE OF FILING
   v.                                                  OF ACCEPTANCE OF SERVICE
                                                       FOR THE SCDSS DEFENDANTS
   South Carolina Department of Social
   Services (SCDSS), Medical University of
   South Carolina, Cynthia Bradford,
   Mosetta Clark, Louchetia Simmons-
   Robinson, Jane Bell, Michael Leach,
   Donna Johnson, Michelle Irene Amaya,
   Kelly Finke, MUSC Administrator 1,
   MUSC Administrator 2, MUSC
   Administrator 3, and MUSC Public Safety
   Supervisor,

                                  Defendants.

         Plaintiff asks the Court and all parties to take notice that the following Defendants

  have accepted service of process of the Summons and Complaint: Defendants South

  Carolina Department of Social Services (SCDSS), Cynthia Bradford, Mosetta Clark,

  Louchetia Simmons-Robinson, Jane Bell, and Michael Leach.


                     [SIGNATURE FOLLOWS THE NEXT PAGE]




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                                                  Respectfully Submitted,

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  November 12, 2020




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STATE OF SOUTH CAROLINA                     )
                                            )        IN TH COURT OF COMMON PLEAS
COUNTY OF CHARLESTON                        )


Elizabeth De’Anna Scannell,                 )
                                            )           Civil Action No. 2020-CP-10-2959
              Plaintiff,                    )
                                            )
v.                                          )
                                            )
South Carolina Department of Social         )            ACCEPTANCE OF SERVICE
Services (SCDSS), Medical University of     )
South Carolina, Cynthia Bradford, Mosetta   )
Clark, Louchetia Simmons-Robinson,          )
Jane Bell, Michael Leach, Donna Johnson,    )
Michelle Irene Amaya, Kelly Finke, MUSC     )
Administrator 1, MUSC Administrator 2,      )
MUSC Administrator 3, and MUSC              )
Public Safety Supervisor,                   )
                                            )
            Defendants.                     )
___________________________________         )


       I hereby accept service of the Summons and Complaint served upon me, as counsel for the
Defendants South Carolina Department of Social Services, Michael Leach, Cynthia Bradford,
Mosetta Clark, Louchetia Simmons-Robinson, and Jane Bell, on this 10th day of November 2020.
I hereby represent that I have been authorized by the South Carolina Department of Social
Services, Michael Leach, Cynthia Bradford, Mosetta Clark, Louchetia Simmons-Robinson, and
Jane Bell to accept service of this process.


                                            LINDEMANN & DAVIS, P.A.

                                            BY:      s/ Andrew F. Lindemann
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                                            Counsel for Defendants South Carolina Department
                                            of Social Services, Cynthia Bradford, Mosetta Clark,
                                            Louchetia Simmons-Robinson, Jane Bell, and
                                            Michael Leach
